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                          Transcript of the Testimony of:

                                  AARON GILBERT


                 ROBERT SCOT BUILDING VENTURE, LLC, et al.

                                            vs.

                CREATIVE WEALTH MEDIA FINANCE CORP., et al.



                                   December 5, 2023

                                        Volume 1
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         ··     ·   · ·UNITED
                         · ·   STATES DISTRICT COURT
         ··     ·   · SOUTHERN
                       · ·      DISTRICT OF FLORIDA
         ··     ·   · CASE
                       · · NO.: 23-cv-80282-ROSENBERG

         RO
          BERT SCOT BUILDING VENTURE                               LLC;
         An
          d RSBV Pathway LLC,

         · · · ·Plaintiffs,
                 ·
         · -vs-

         CR
          EATIVE WEALTH MEDIA                        FINANCE         CORP;
         An
          d JASON CLOTH,

         · · · ·Defendants.
                 ·
         ·_______________________________________/


         ··     ·   ·REMOTE
                      ·     DEPOSITION OF AARON GILBERT
         ··     ·   · · Volume
                        · · ·  1 (Pages 1 - 149)


         ··     ·   ·   · Tuesday,
                           · ·      December 5, 2023
         ··     ·   ·   · · 1:03
                             · · ·
                                 p.m. - 4:37 p.m.
         ··     ·   ·   · · LOCATION:
                             · · ·· Via Zoom
         ··     ·   ·   · · ·Miami,
                               · · · Florida




         ··     ·   ·   ·Stenographically
                          · ·             Reported                            By:
         ··     ·   ·   · · ·Theresa
                               · · · Rust, RPR




         ·Job     No.:      336517
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    ·1 APPEARANCES:
    · · (All
         ·   appearances                     via     Zoom.)
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    24

    25


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    ·1    Thereupon, the following proceedings be
    ·2    at 1:03 p.m.:
    ·3    · · · ·
                THE
                  · STENOGRAPHER:
                          · Raise your right hand
    ·4    · ·please.
              ·
    ·5    · · · ·
                Do· you swear that the testimony y
    ·6    · ·about
              ·    to give will be the truth, the
    ·7    · ·truth,
              ·     and nothing but the truth?
    ·8    · · · ·
                THE
                  · WITNESS:
                       · I do.
    ·9    · · · ·
                THE
                  · STENOGRAPHER:
                          · Thank you.
    10    THEREUPON:
    11    · · · · · · ·
                      AARON
                        · · ·
                            GILBERT
    12    Was called as a witness and, having bee
    13    sworn and responding "I do," was examin
    14    testified as follows:
    15    · · · · · ·
                    DIRECT
                      · · · EXAMINATION
    16    BY MS. LEEKER:
    17    · ·Q.
              ·
              · Would
                ·     you please state and spell
    18    name for the record.
    19    · ·A.
              ·
              · Aaron
                ·     L. Gilbert, A-a-r-o-n, L, o
    20    the middle name, L-y-o-n, Gilbert, G-i-
    21    · ·Q.
              ·
              · Have
                ·    you ever had your deposition
    22    before, Mr. Gilbert?
    23    · ·A.
              ·
              · I
                · have.
    24    · ·Q.
              ·
              · How
                ·   many times?
    25    · ·A.
              ·
              · Probably
                ·        four or five.


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    ·1    · ·Q.
              ·
              · And
                ·   when was the most recent time
    ·2    had your deposition taken?
    ·3    · ·A.
              ·
              · Last
                ·    September in Ontario.
    ·4    · ·Q.
              ·
              · What
                ·    was the nature of that depos
    ·5    · ·A.
              ·
              · It
                ·  was another case regarding Cre
    ·6    Wealth.
    ·7    · ·Q.
              ·
              · And
                ·   Creative Wealth was the defen
    ·8    that action?
    ·9    · ·A.
              ·
              · Correct.
                ·
    10    · ·Q.
              ·
              · And
                ·   what about the time before th
    11    was it and what was the nature of the a
    12    · ·A.
              ·
              · It
                ·  was -- I'm not sure how that's
    13    but that was -- it was regarding a secu
    14    commission issue, which I don't think I
    15    talk about, but it was also involving C
    16    Wealth.
    17    · ·Q.
              ·
              · When
                ·    approximately was that?
    18    · ·A.
              ·
              · That
                ·    was earlier this -- that was
    19    February, I think
                         · February
                             it was. or·March.
                                        Don't
    20    hold me to that, but it was last year.
    21    · ·Q.
              ·
              · Okay.
                ·  · And so that was the last two
    22    · ·What
              ·   about the time before that, whe
    23    what was the nature?
    24    · ·A.
              ·
              · I'm
                ·   not ·
                        sure.
                          I'm not even sure at thi
    25    time.


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    ·1    · ·Q.
              ·
              · Okay.
                ·  · So there was about approximat
    ·2    other two or three additional depositio
    ·3    right?
    ·4    · ·A.
              ·
              · Uh-huh.
                ·   · It was all around Creative
    ·5    related stuff.
    ·6    · ·Q.
              ·
              · So
                ·  each time you were deposed, it
    ·7    involved Creative Wealth; is that right
    ·8    · ·A.
              ·
              · Yes.
                ·
    ·9    · ·Q.
              ·
              · Okay.
                ·  · And would you -- is it safe t
    10    that each time you've been deposed, it'
    11    the last five years, approximately?
    12    · ·A.
              ·
              · Yeah.
                ·  · There was another issue with
    13    company that I was involved in many yea
    14    had deposed -- I was deposed on that, b
    15    nothing to do with ·
                             this
                               Verymatter.
                                    separate.
    16    · · · ·
                MS.
                  · MCCORD:
                       · This is Cameron McCord fo
    17    · ·Aaron
              ·    Gilbert.
    18    · · · ·
                I ·
                  understand you want to make sur
    19    · ·how
              ·  his deposition is going to be ta
    20    · ·the
              ·  process is, but, you know, we we
    21    · ·that
              ·   this deposition is solely about
    22    · ·in
              · this lawsuit.
                       · So I don't think that the
    23    · ·any
              ·  reason to go into the background
    24    · ·does
              ·   he know how a deposition works.
    25    · · · ·
                MS.
                  · LEEKER:
                       · Right.
                             · These are just


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    ·1    · ·standard.
              ·    · I just want to know, how he -
    ·2    · ·he's
              ·   --
    ·3    · · · ·
                THE
                  · WITNESS:
                       · If it's standard --
    ·4    · · · ·
                MS.
                  · LEEKER:
                       · I'm not asking details --
    ·5    · · · ·
                THE
                  · WITNESS:
                       · I've never been asked th
    ·6    · ·type
              ·   of questions
                            · Sobefore.
                                 if they're
    ·7    · ·standard,
              ·        they're newly standard bec
    ·8    · ·never
              ·    had them asked to me before.
    ·9    BY MS. LEEKER:
    10    · ·Q.
              ·
              · Okay.
                ·  · It's going to be a pretty qui
    11    deposition.
                 · Just let me get through the que
    12    · ·A.
              ·
              · You
                ·   got it.
    13    · ·Q.
              ·
              · Okay.
                ·  · So, obviously, I know you've
    14    deposed before.
                   · I'm going to say just a coupl
    15    things.
    16    · ·My
              · name is Kelsey
                            · I Leeker.
                                represent the
    17    plaintiffs in this action, which is Rob
    18    Building Venture, LLC and RSBV Pathway,
    19    · ·And,
              ·   you know, as I'm asking you que
    20    today, you know, there's a transcript b
    21    It's happened a couple of times already
    22    going to try my best not to
                                    · If
                                       talk
                                         you over y
    23    could also do the same for me, to make
    24    possible for our court reporter, Theres
    25    would be great.


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    ·1     · ·Do
               · you understand -- do you understa
    ·2     far?
    ·3     · ·A.
               ·
               · I
                 · do.
                    · Thank you.
    ·4     · ·Q.
               ·
               · Okay.
                 ·  · The testimony that you are gi
    ·5     here today is under oath, as if you are
    ·6     courtroom, and everything that you're s
    ·7     the penalty of·perjury.
                          Do you understand that?
    ·8     · ·A.
               ·
               · I
                 · do.
    ·9     · ·Q.
               ·
               · And
                 ·   if at any time today you woul
    10     take a break or your counsel would like
    11     break, please just
                         · As long
                               ask. as there's no
    12     question pending, we can take a break a
    13     · ·Do
               · you understand?
    14     · ·A.
               ·
               · Okay.
                 ·
    15     · ·Q.
               ·
               · And
                 ·   as you know, there's no video
    16     today, and so we'll need to take a reco
    17     So anything that you nod or shake your
    18     recorded.
                · So if you could just verbalize y
    19     responses to all my questions, that wou
    20     · ·Do
               · you understand that?
    21     · ·A.
               ·
               · Understood.
                 ·
    22     · ·Q.
               ·
               · Okay.
                 ·  · Are you suffering from any me
    23     or psychological conditions today that
    24     you from giving testimony here?
    25     · ·A.
               ·
               · No.
                 ·


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    ·1     · ·Q.
               ·
               · And
                 ·   have you taken any prescripti
    ·2     nonprescription medication in the last
    ·3     could prevent you from giving lucid tes
    ·4     · ·A.
               ·
               · No.
                 ·
    ·5     · ·Q.
               ·
               · Did
                 ·   you review any documents in p
    ·6     for your deposition today?
    ·7     · ·A.
               ·
               · No.
                 ·
    ·8     · ·Q.
               ·
               · Did
                 ·   you speak with anyone in prep
    ·9     for your testimony here today?
    10     · ·A.
               ·
               · My
                 ·  counsel, Cam and Adam, just to
    11     exactly which projects we're speaking o
    12     · ·Q.
               ·
               · Thank
                 ·     you.
                       · That's another thing I wou
    13     like to ·say.
                     I don't need any -- I don't wa
    14     information about communications with y
    15     Your attorney will likely object today
    16     anything that might get even close to c
    17     you've had with your attorney.
    18     · ·But
               ·  don't give me any privileged com
    19     that you've had with your
                                · Do you
                                     attorney.
    20     understand?
    21     · ·A.
               ·
               · The
                 ·   answer would be
                                  · Ifno
                                       mythen.
                                          answers
    22     are not part of that, then no, I haven'
    23     someone else.
    24     · ·Q.
               ·
               · Well,
                 ·     the answer is yes, you spok
    25     someone, but you spoke to your attorney


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    ·1     don't need to give me any information o
    ·2     substance, though.
    ·3     · ·A.
               ·
               · All
                 ·   right.
    ·4     · ·Q.
               ·
               · Thank
                 ·     you very much.
    ·5     · ·So
               · Mr. Gilbert, what do you do for a
    ·6     · ·A.
               ·
               · Right
                 ·     now, I'm functioning as an
    ·7     and consultant in the entertainment spa
    ·8     previously ran a studio called BRON for
    ·9     years, which was a company active in th
    10     animation gaming world.
    11     · ·Q.
               ·
               · And
                 ·   the parent entity is BRON Med
    12     is that right?
    13     · ·A.
               ·
               · That's
                 ·      right.
    14     · ·Q.
               ·
               · And
                 ·   then when you say BRON, are y
    15     referring to BRON Media Corp., just in
    16     of the subentities?
    17     · ·A.
               ·
               · I
                 · think all of the ·
                                    subentities.
                                      It's like
    18     a -- I have -- I had a role across all
    19     of companies.
    20     · ·Q.
               ·
               · Okay.
                 ·  · So what is the difference --
    21     let's go through a couple of them.
    22     · ·What
               ·   is BRON ·
                           Studios?
                             What was the role of B
    23     Studios?
    24     · ·A.
               ·
               · BRON
                 ·    Studios was our main company
    25     brand, main company that was the produc


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    ·1     television.
    ·2     · ·Q.
               ·
               · And
                 ·   what was your role at BRON St
    ·3     specifically?
    ·4     · ·A.
               ·
               · I
                 · was a CEO of the company and al
    ·5     producer on most of the BRON Studios' r
    ·6     projects up until the last few years, j
    ·7     ended up bringing other people to do th
    ·8     couldn't put that
                           · But
                              time
                                 I in.
                                   was the producer
    ·9     for many years, then oversaw the group
    10     · ·Q.
               ·
               · And
                 ·   separately, what is BRON Digi
    11     · ·A.
               ·
               · BRON
                 ·    Digital was an arm of the co
    12     launched in the spring of 2020 amidst C
    13     answer to our BRON Animation Group not
    14     function at the time because all of our
    15     able to come into the facilities.
    16     · ·So
               · we ended up building a digital ar
    17     Digital, which was a remote staff using
    18     technology called ·Underline.
                              So BRON Digital was a
    19     production company, a producer digital
    20     gaming assets.
    21     · ·Q.
               ·
               · And
                 ·   is there a third entity under
    22     umbrella?
                · Was it the BRON Digital that you
    23     mentioned or BRON Animation?
    24     · ·A.
               ·
               · There's
                 ·       a· There's
                            few.    also BRON Ventu
    25     BRON Ventures was a company that held o


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    ·1     a number of other companies that we had
    ·2     participation in one, and there's anoth
    ·3     called BRON Releasing, which was the sa
    ·4     company.
    ·5     · ·And
               ·  then there's other kind of hold
    ·6     rights and other across the group of co
    ·7     the main operating companies were BRON
    ·8     Digital, BRON Releasing, and BRON Ventu
    ·9     · ·Q.
               ·
               · Thank
                 ·     you.
                       · Just so kind of close the
    10     on this, is it okay if I refer generall
    11     group of entities as BRON?
    12     · ·A.
               ·
               · Yes.
                 ·
    13     · ·Q.
               ·
               · Okay.
                 ·  · And you cofounded BRON in 201
    14     that right?
    15     · ·A.
               ·
               · That's
                 ·      correct.
    16     · ·Q.
               ·
               · Who
                 ·   is your cofounder?
    17     · ·A.
               ·
               · My
                 ·  wife and partner, Brenda, Bren
    18     Gilbert.
    19     · ·Q.
               ·
               · Is
                 ·  she still involved in BRON?
    20     · ·A.
               ·
               · No.
                 · · There's nobody involved in BRO
    21     now.
             · The company has no staff.
    22     · ·Q.
               ·
               · Thank
                 ·     you.
                       · That's a great clarificati
    23     · ·So
               · when did BRON --
                                · Why
                                  well,
                                      is why?
                                          BRON no
    24     longer -- does it not have staff anymor
    25     · ·A.
               ·
               · Well,
                 ·     we went into bankruptcy pro


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    ·1     July of this year and had a what's call
    ·2     lender that was on board with us to cov
    ·3     associated with that process, i.e. of w
    ·4     what became a sales process of all the
    ·5     company.
                · We got rid of almost everybody in
    ·6     company, aside from a few individuals.
    ·7     · ·After
               ·    the first few weeks, several w
    ·8     that, we got rid of almost everybody in
    ·9     except for those who were helping to de
    10     finish shows, complete productions, et
    11     the rest of the team· And
                                 was then
                                     let go.
                                          eventuall
    12     it just became evident that we had to l
    13     go from BRON because of how the Court h
    14     going.
    15     · ·So
               · there's technically nobody workin
    16     right now, and there's a half dozen con
    17     to help with delivery of content and cl
    18     moving assets, but technically there's
    19     employed by BRON right now.
    20     · ·Q.
               ·
               · So
                 ·  anyone that's working with BRO
    21     technically classified as a contractor;
    22     right?
    23     · ·A.
               ·
               · Correct.
                 ·    · And hired by a third-party,
    24     by BRON.
    25     · ·Q.
               ·
               · So
                 ·  from --


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    ·1     · ·A.
               ·
               · Or
                 ·  paid for by a third-party.
                                   · Not by BRON.
    ·2     Excuse me.
    ·3     · ·Q.
               ·
               · I
                 · understand.
                         · Thank you.
    ·4     · ·So
               · from 2010 to approximately July o
    ·5     when BRON entered bankruptcy, what was
    ·6     BRON?
    ·7     · ·A.
               ·
               · I
                 · was the CEO.
    ·8     · ·Q.
               ·
               · And
                 ·   what was your -- you've touch
    ·9     a little bit, but what was your day-to-
    10     BRON?
    11     · ·A.
               ·
               · That
                 ·    would change ·every
                                    But I day.
                                          oversaw
    12     production.
                  · I oversaw the team in productio
    13     oversaw the team· in
                             I oversaw
                                sales. the team in
    14     venture companies.
                      · I oversaw the finance group
    15     oversaw every aspect of the company.
    16     · ·There's
               ·      various level of people that
    17     report to me from business affairs to c
    18     people to HR to marketing
                                 · So and
                                      I was
                                          so on.
    19     leading -- I led the company, the group
    20     I have obviously a lot of team members
    21     that, but I oversaw the group of compan
    22     entirety of the company's existence.
    23     · ·Q.
               ·
               · And
                 ·   what did you do prior to 2010
    24     living?
    25     · ·A.
               ·
               · Prior
                 ·     to 2010 I ran another compa


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    ·1     company.
                · I was in music licensing company
    ·2     number of years, and before that I work
    ·3     management and music publishing for a l
    ·4     · ·Q.
               ·
               · What
                 ·    was the name of the music co
    ·5     · ·A.
               ·
               · BOXX
                 ·    Entertainment.
    ·6     · ·Q.
               ·
               · And
                 ·   what entity are you working t
    ·7     now, if any, in your advisory capacity?
    ·8     · ·A.
               ·
               · None.
                 ·  · Just myself.
    ·9     · ·Q.
               ·
               · What
                 ·    is Epic Studios?
    10     · ·A.
               ·
               · Epic
                 ·    Studios or Epic Story Media,
    11     be clear?
    12     · ·Q.
               ·
               · Well,
                 ·     let's do
                             · Start
                                 both.
                                     with Epic
    13     Studios.
    14     · ·A.
               ·
               · Epic
                 ·    Studios is a third-party com
    15     creates and owns and manages what's cal
    16     Underline engine.
                     · They're the owners of Fortn
    17     the producers behind it, and it's a mas
    18     company.
                · About a quarter billion people pl
    19     game everyone
                       · So
                          month.
                            that's Epic Studios.
    20     · ·Epic
               ·   Story Media is a company led by
    21     that BRON Ventures had an
                                  · Weinterest
                                       owned 25in.
    22     percent of the company and was on of th
    23     that we had interest
                          · Toronto-based
                                 in.      family
    24     entertainment company.
    25     · ·Q.
               ·
               · Does
                 ·    Epic Studios have any affili


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    ·1     Creative Wealth?
    ·2     · ·A.
               ·
               · No.
                 ·
    ·3     · ·Q.
               ·
               · What's
                 ·      the other company?
    ·4     · ·A.
               ·
               · Epic
                 ·    Story Media.
    ·5     · ·Q.
               ·
               · Does
                 ·    Epic Story Media have any af
    ·6     with Creative Wealth?
    ·7     · ·A.
               ·
               · No.
                 · · Not correctly,
                                · They
                                     no.
                                       have -- they
    ·8     were financiers.
                     · Creative Wealth Media Financ
    ·9     involved as financiers on two propertie
    10     Story Media was ·
                           producing.
                             One is called Hailey t
    11     Hero Hearts, one is called
                                    · So
                                       Bubbles
                                         the   Hote
    12     Creative Wealth has a direct deal with
    13     financier, but they're not involved wit
    14     corporately.
                  · Then BRON had its interest in
    15     company corporately.
    16     · ·Q.
               ·
               · Where
                 ·     is Epic Story Media located
    17     · ·A.
               ·
               · They're
                 ·       in Toronto.
    18     · ·Q.
               ·
               · Do
                 ·  you know the address, specific
    19     · ·A.
               ·
               · They're
                 ·       actually inside the Creat
    20     offices.
                · They rented space there from Crea
    21     Wealth for the last several
                                · I'm not
                                        years.
                                          privy to
    22     whatever the deal they had between -- w
    23     Like me, I don't know how they worked t
    24     paid for what, but they did sublease wi
    25     Wealth in Toronto.


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    ·1     · ·Q.
               ·
               · But
                 ·   the only affiliation was the
    ·2     subleasing.
                  · There wasn't any -- and the fin
    ·3     the projects; is that right?
    ·4     · ·A.
               ·
               · That's
                 ·      correct.
    ·5     · ·Q.
               ·
               · There's
                 ·       no overlap in the corpora
    ·6     structure?
    ·7     · ·A.
               ·
               · No.
                 · · Correct.
    ·8     · ·Q.
               ·
               · Okay.
                 ·  · Are you an officer of Creativ
    ·9     Wealth?
    10     · ·A.
               ·
               · No.
                 ·
    11     · ·Q.
               ·
               · Are
                 ·   you a director of Creative We
    12     · ·A.
               ·
               · No.
                 ·
    13     · ·Q.
               ·
               · Do
                 ·  you have any role at Creative
    14     all?
    15     · ·A.
               ·
               · No.
                 ·
    16     · ·Q.
               ·
               · Okay.
                 ·  · I'm going to bring up the fir
    17     document.
                · What I'm going to do to show you
    18     documents to start because I'm going to
    19     screen, if that doesn't work or if that
    20     can find a different way to do it.
    21     · ·I·did e-mail the document, as I'd li
    22     review it, but this has worked for me i
    23     Zoom depositions.
                     · So we'll try this first.
    24     · ·Okay.
               · · Let me know if you can see it?
    25     · ·A.
               ·
               · Yes.
                 ·


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    ·1     · ·Q.
               ·
               · And
                 ·   once you've had a chance to t
    ·2     look.
              · And at any time you want me to scro
    ·3     pages, zoom, not zoom, just let me know
    ·4     · ·A.
               ·
               · You
                 ·   can scroll
                             · Isdown.
                                  there something
    ·5     specific you want me to look to?
    ·6     · ·Q.
               ·
               · Well,
                 ·     first I want to ask you hav
    ·7     seen this document?
    ·8     · ·A.
               ·
               · No.
                 ·
    ·9     · ·Q.
               ·
               · Okay.
                 ·  · Can you tell me what it is, j
    10     from looking· Have
                         at it?
                              you seen a complaint,
    11     civil complaint before?
    12     · ·A.
               ·
               · I
                 · have.
                     · Yeah.
                          · I'm familiar with what
    13     is.
    14     · ·Q.
               ·
               · Okay.
                 ·  · So this document says United
    15     District Court Southern District
                                      · Robert
                                             of Flo
    16     Scot Building Venture LLC and RSBV Path
    17     Creative Wealth Media Finance, Corp. an
    18     · ·Are
               ·  you aware that my clients, Rober
    19     Building Venture and RSBV Pathway filed
    20     against Creative Wealth?
    21     · ·A.
               ·
               · I
                 · knew Robert
                            · I did.
                                didn't know under
    22     what company· Now
                         names.
                             I'm seeing that, but I
    23     Robert had done
                       · Yes.
                            so.
    24     · ·Q.
               ·
               · Are
                 ·   you generally familiar with t
    25     allegations that my clients have agains


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    ·1     Wealth and Jason Cloth?
    ·2     · ·A.
               ·
               · I
                 · think high· Yeah.
                               level.
                                  · I know what
    ·3     they're talking about with Robert and h
    ·4     Sandy, both the various discussions the
    ·5     just say, with Jason
                            · I don't
                                 and CW.
                                      think I would
    ·6     know everything that's being alleged, b
    ·7     definitely in the know of, sort of, the
    ·8     here.
              · Yes.
    ·9     · ·Q.
               ·
               · Okay.
                 ·  · Thank you.
    10     · · · ·
                 MS.
                   · LEEKER:
                        · So Madam Court Reporter,
    11     · ·going
               ·    to go ahead and mark this docu
    12     · ·Exhibit
               ·      1 for the ·
                                deposition.
                                  And then I will
    13     · ·e-mail
               ·     you these after, but for now
    14     · ·complaint
               ·        will be marked as Exhibit
    15     · · · ·
                 (Exhibit
                   ·      1 was marked.)
    16     BY MS. LEEKER:
    17     · ·Q.
               ·
               · So
                 ·  just for the sake of clarity,
    18     refer to Creative Wealth or CW, is it o
    19     understand that to mean Creative Wealth
    20     Finance, Corp.?
    21     · ·A.
               ·
               · Sure.
                 ·
    22     · ·Q.
               ·
               · So
                 ·  unless I specify a different e
    23     that's going to be the entity that I'm
    24     Okay?
    25     · ·A.
               ·
               · Yes.
                 ·


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    ·1     · ·Q.
               ·
               · Okay.
                 ·  · So we're going to go to -- we
    ·2     know what, first, actually, do you pers
    ·3     individual by the name of Jason Cloth?
    ·4     · ·A.
               ·
               · I
                 · do.
    ·5     · ·Q.
               ·
               · And
                 ·   when was the first time that
    ·6     Mr. Cloth?
    ·7     · ·A.
               ·
               · I
                 · think it was around -- I don't
    ·8     exactly, but I think it was around 2014
    ·9     there.
    10     · ·Q.
               ·
               · This
                 ·    actually brings me to anothe
    11     I know that you've been ·
                                   deposed
                                     But I would
                                            before.
    12     like to reiterate that I never· want
                                           If   you
    13     I ask you a question and you don't know
    14     don't know is a perfectly okay answer.
    15     · ·I·will say that I am entitled to you
    16     estimate, so in the sense that you just
    17     know, I'm not sure, but I would estimat
    18     first met in 2014, that's a perfectly o
    19     But as long as there's, you know -- it'
    20     estimate and not just a guess.
    21     · ·Do
               · you understand that?
    22     · ·A.
               ·
               · Uh-huh.
                 ·
    23     · ·Q.
               ·
               · Okay.
                 ·  · Thank you.
                            · So you first met Jaso
    24     Cloth in approximately 2014; is that ri
    25     · ·A.
               ·
               · Yes.
                 ·


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    ·1     · ·Q.
               ·
               · And
                 ·   in what context did you meet?
    ·2     · ·A.
               ·
               · Introduced
                 ·          through a mutual frien
    ·3     lawyer, that had done some work with Ja
    ·4     introduced as Jason being somebody who
    ·5     to get involved in the film business as
    ·6     · ·Q.
               ·
               · And
                 ·   what was that lawyer's name?
    ·7     · ·A.
               ·
               · Chris
                 ·     Taylor.
    ·8     · ·Q.
               ·
               · And
                 ·   did you meet in person, over
    ·9     over e-mail?
    10     · ·A.
               ·
               · First
                 ·     time we met was
                                    · Yeah.
                                        by phone.
    11     · ·Q.
               ·
               · And
                 ·   after you first met, what was
    12     nature of your relationship
                                     · Did
                                        going
                                           you forwa
    13     go into business together?
    14     · ·A.
               ·
               · Not
                 ·   immediately.
                           · We started talking
    15     through projects and opportunities, and
    16     some point in time after some dialogue,
    17     committed to get involved with his firs
    18     us, and that first project, we got to a
    19     third and ·
                     soYeah.
                         on.
    20     · ·Q.
               ·
               · And
                 ·   approximately what year would
    21     was it when Jason Cloth first got invol
    22     of your projects?
    23     · ·A.
               ·
               · It
                 ·  would have been 2014.
    24     · ·Q.
               ·
               · Okay.
                 ·  · And are you familiar with the
    25     named Robert Harris?


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    ·1     · ·A.
               ·
               · I
                 · am, yes.
    ·2     · ·Q.
               ·
               · And
                 ·   when did you first become acq
    ·3     with Robert Harris?
    ·4     · ·A.
               ·
               · Let
                 ·   me think about that for a sec
    ·5     Probably would have been probably 2021,
    ·6     guess.
               · And forgive me, I'm not 100 percen
    ·7     I would have met him -- I think it woul
    ·8     2021.
              · Yeah.
    ·9     · ·Q.
               ·
               · Approximately
                 ·           · And
                                2021.
                                   how did you firs
    10     meet Robert Harris?
    11     · ·A.
               ·
               · He
                 ·  reached out to me with his col
    12     Sandy Schmidt to talk to me about what
    13     with the investments they had made thro
    14     Wealth.
               · They were having trouble getting s
    15     answers, and we're hoping I could help
    16     · ·Q.
               ·
               · So
                 ·  at the time that you first cam
    17     contact with Robert Harris, he had alre
    18     money with Creative Wealth; is that rig
    19     · ·A.
               ·
               · Yes.
                 ·
    20     · ·Q.
               ·
               · Okay.
                 ·  · And on that initial call, was
    21     Cloth on the call, as well, or just Rob
    22     Sandy Schmidt?
    23     · ·A.
               ·
               · Just
                 ·    Robert and
                              · I've
                                 Sandy.
                                     never been on
    24     a call with Robert and Jason.
    25     · ·Q.
               ·
               · Have
                 ·    you ever been on a call with


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    ·1     Harris, Jason Cloth, and other people,
    ·2     additional people?
    ·3     · ·A.
               ·
               · Not
                 ·   that I can recall.
    ·4     · ·Q.
               ·
               · After
                 ·     that initial call with Robe
    ·5     and Sandy Schmidt, how many times, if y
    ·6     how many times have you spoken to Rober
    ·7     the phone?
    ·8     · ·A.
               ·
               · I
                 · would guess maybe three to five
    ·9     don't recall ·
                        exactly.
                          We've met in person one t
    10     in Los Angeles,· He
                            as and
                               well.
                                   Sandy visited me
    11     my offices.
    12     · ·Q.
               ·
               · Thank
                 ·     you.
    13     · ·So
               · I'd like to go to page 9 of the c
    14     which was marked as
                             · I'd
                               Exhibit
                                   like 1.
                                         to direct
    15     your attention to paragraph 59, and I'm
    16     ahead and just read this into the recor
    17     · ·Paragraph
               ·        59 of the complaint states
    18     around February 24, 2021, defendant Clo
    19     following written representations to Ha
    20     principal of· one,
                         RSBVP:
                              that the Fables loans
    21     Bubbles loans, and HHH loans would be r
    22     worst-case scenario, by the third quart
    23     two, that there was zero risk associate
    24     Fables loans, Bubbles loans, and HHH lo
    25     three, that the MM loan would be repaid


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    ·1     late summer of 2021 at
                                · Do
                                   the
                                     you
                                       latest.
                                         see that?
    ·2     · ·A.
               ·
               · I
                 · do.
    ·3     · ·Q.
               ·
               · Is
                 ·  it okay -- well, do you unders
    ·4     to mean Hayley and the Hero Hearts?
    ·5     · ·A.
               ·
               · I
                 · do.
    ·6     · ·Q.
               ·
               · Okay.
                 ·  · And do you understand MM to m
    ·7     Monkey Man?
    ·8     · ·A.
               ·
               · Say
                 ·   it again, pardon me.
    ·9     · ·Q.
               ·
               · Do
                 ·  you understand MM to stand for
    10     Man?
    11     · ·A.
               ·
               · I
                 · do.
    12     · ·Q.
               ·
               · Okay.
                 ·  · So it won't be confusing if I
    13     to those sometimes as HHH and sometimes
    14     · ·A.
               ·
               · That's
                 ·      fine.
    15     · ·Q.
               ·
               · Okay.
                 ·  · What role did BRON play in th
    16     three projects:
                    · Fables, Bubbles, and Hayley a
    17     Hero Hearts?
    18     · ·A.
               ·
               · Different
                 ·         ·role.
                            We talked about it
    19     earlier.
                · Bubbles and Hayley and the Hero H
    20     Epic Story Media productions that they
    21     producer of, and BRON was playing more
    22     producer/seller role with them; whereas
    23     were the producer of it and also oversa
    24     everything to do with CP, consumer prod
    25     sales, et cetera.


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    ·1     · ·So
               · Fables was through our company, B
    ·2     that was launched in spring
                                 · And the
                                        of 2020.
                                           other
    ·3     two were Epic Story Media projects.
    ·4     · ·Q.
               ·
               · So
                 ·  you said --
                             · Sookay.
                                  Bubbles and HHH
    ·5     were Epic and Fables was BRON.
    ·6     · ·What
               ·   about Monkey
                           · What
                                Man?
                                  was BRON's role
    ·7     with Monkey Man?
    ·8     · ·A.
               ·
               · BRON
                 ·    was the producer of Monkey M
    ·9     · ·Q.
               ·
               · And
                 ·   then going back to paragraph
    10     reading that paragraph, were you aware
    11     clients allege that Jason Cloth made th
    12     to Robert Harris?
    13     · ·A.
               ·
               · No,
                 ·   I was· And
                            not.I don't understand
    14     because those -- all of those shows, ex
    15     Monkey Man, were still ·
                                  inSo production.
                                        I'm not
    16     sure how they would have delivered and
    17     in that timeline.
                     · They were all still in prod
    18     in '21.
    19     · ·Q.
               ·
               · Okay.
                 ·  · Thank you.
                            · We'll get to the cont
    20     of those statements in ·
                                  just
                                    I'm going
                                        a moment.
                                              to
    21     stop sharing my screen for
                                  · I'mone
                                        going
                                           moment.
                                              to
    22     pull up this second
                             · Okay.
                                document.
    23     · ·Let
               ·  me know once you've had a chance
    24     this document
                    · Let .
                          me blow it up a little bi
    25     There we go.


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    ·1     · ·A.
               ·
               · Yes.
                 · · I see it.
    ·2     · ·Q.
               ·
               · Have
                 ·    you ever seen this document
    ·3     · ·A.
               ·
               · No.
                 ·
    ·4     · ·Q.
               ·
               · It
                 ·  looks -- well, so the top is d
    ·5     February 24,
                      · It's
                         2021.
                             an e-mail communicatio
    ·6     Jason Cloth to Robert
                             · Do you
                                  Harris.
                                      see that?
    ·7     · ·A.
               ·
               · I
                 · do.
    ·8     · ·Q.
               ·
               · The
                 ·   bottom e-mail states, hi, Jas
    ·9     you tell me the expected payout dates f
    10     following?
                 · Give me worst
                               · And
                                  case.
                                     then it lists
    11     Fables, Hayley and the Hero· Hearts,
                                        Says    Bub
    12     thanks, Robert
                        · Do
                          Harris.
                             you see that?
    13     · ·A.
               ·
               · Yes.
                 ·
    14     · ·Q.
               ·
               · Okay.
                 ·  · And then Jason Cloth responds
    15     case, third ·
                       QDo
                         2021.
                           you see that?
    16     · ·A.
               ·
               · I
                 · do.
    17     · ·Q.
               ·
               · Okay.
                 ·  · Were you aware that will Jaso
    18     represented that the payout dates for F
    19     and the Hero Hearts, and Bubbles would
    20     third quarter of 2021?
    21     · ·A.
               ·
               · No.
                 ·
    22     · · · ·
                 MS.
                   · LEEKER:
                        · Before we continue, Madam
    23     · ·Court
               ·    Reporter, I would like to mark
    24     · ·Exhibit
               ·      2, if we can.
    25     · · · ·
                 (Exhibit
                   ·      2 was marked.)


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    ·1     BY MS. LEEKER:
    ·2     · ·Q.
               ·
               · Did
                 ·   you at any time prior to Febr
    ·3     2021, tell Jason Cloth that the expecte
    ·4     for Fables, Hayley and the Hero Hearts,
    ·5     would happen by the third quarter of 20
    ·6     · ·A.
               ·
               · No.
                 ·
    ·7     · ·Q.
               ·
               · Are
                 ·   you aware of anyone at BRON e
    ·8     stating that the expected payout dates
    ·9     HHH, and Bubbles would happen by the th
    10     2021?
    11     · ·A.
               ·
               · I'm
                 ·   not.
    12     · ·Q.
               ·
               · And
                 ·   why is it that you would not
    13     that?
    14     · ·A.
               ·
               · Because
                 ·       those shows were still in
    15     production at that
                          · So the
                               time.
                                   sales process
    16     wouldn't have started.
    17     · ·Q.
               ·
               · And
                 ·   I do not have film experience
    18     TV experience that
                            · You'll
                               you have.
                                     have to explai
    19     it to me, but why would that mean that
    20     dates could not be in the third quarter
    21     · ·A.
               ·
               · These
                 ·     were projects that were fun
    22     outside of a broadcaster distribution
                                       · They    p
    23     were funded with private
                               · So in
                                     capital.
                                       order to go
    24     to market to sell, you have to have the
    25     certain level of· maturity.
                             You have to be able to


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    ·1     present them and either show a segment
    ·2     or hopefully show the whole movie or se
    ·3     sort of promotional
                             · But
                               materials.
                                   none of those
    ·4     projects were at that place at that tim
    ·5     · ·Q.
               ·
               · Pull
                 ·    up another ·document.
                                  Let me know once
    ·6     you've reviewed
                       · I'll
                            it.
                              start at the bottom a
    ·7     scroll up and give you a chance.
    ·8     · ·If
               · you can see the first e-mail in t
    ·9     the same one as the· last
                                Let me
                                     chain.
                                       know once yo
    10     have reviewed.
    11     · ·A.
               ·
               · Yes.
                 ·
    12     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · So this is an e-mail
    13     · ·chain
               ·    dated the same date, February
    14     · ·between
               ·      Robert Harris and Jason Clot
    15     · · · ·
                 I'd
                   · like to go ahead and mark thi
    16     · ·as
               · Exhibit 3.
    17     · · · ·
                 (Exhibit
                   ·      3 was marked.)
    18     BY MS. LEEKER:
    19     · ·Q.
               ·
               · So
                 ·  at 11:28 at the bottom of this
    20     Bates number 1675, Jason Cloth says, at
    21     given what I'm seeing and hearing -- we
    22     start.
    23     · ·At
               · 11:28, Robert Harris says, would
    24     there is zero risk on these
                                  · Do you
                                        projects?
                                           see
    25     where it says
                       · It's
                          that?
                              a little bit smooshed


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    ·1     · ·A.
               ·
               · Yes.
                 ·
    ·2     · ·Q.
               ·
               · And
                 ·   in response, Jason Cloth stat
    ·3     11:30 a.m., at this point, given what I
    ·4     hearing, ·
                    zero.
                      And I don't say that lightly
    ·5     · ·Do
               · you see that?
    ·6     · ·A.
               ·
               · I
                 · do.
    ·7     · ·Q.
               ·
               · Did
                 ·   you at any time before Februa
    ·8     2021, tell Jason Cloth that investing i
    ·9     and Bubbles had, quote, zero risk?
    10     · ·A.
               ·
               · Never.
                 ·
    11     · ·Q.
               ·
               · Are
                 ·   you aware of anyone at BRON e
    12     stating that investing in Fables, HHH,
    13     would be, quote, zero risk?
    14     · ·A.
               ·
               · No
                 ·  one said that.
    15     · ·Q.
               ·
               · Would
                 ·     you -- why would you have n
    16     are you so sure you wouldn't have said
    17     · ·A.
               ·
               · Because
                 ·       there's no such thing as
    18     and those projects were in production a
    19     process -- actually, we're talking just
    20     Fatherhood and Monkey Man, right now?
    21     · ·Q.
               ·
               · No.
                 · · If you go to the bottom, this
    22     Fables, Hayley and the Hero Hearts, and
    23     · ·A.
               ·
               · Okay.
                 ·  · I see fatherhood mentioned.
    24     didn't realize that, and I'm not sure h
    25     involved in Fatherhood.
                         · Is he an investor in tha


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    ·1     film, as well?
    ·2     · ·Q.
               ·
               · So
                 ·  you'll see that is later on in
    ·3     discussion.
                  · When he says -- when Jason Clot
    ·4     given what I've been seeing and hearing
    ·5     at 11:30.
    ·6     · ·And
               ·  then after that, Robert Harris s
    ·7     when do you expect Fatherhood and Monke
    ·8     out?
             · You'll see the response to that, as
    ·9     · ·So
               · just when he says zero risk, we'r
    10     talking about HHH, Bubbles,
                                   · Do you
                                        and see
                                            Fables.
    11     that?
    12     · ·A.
               ·
               · Yes.
                 · · That would never have been sa
    13     anybody in my group.
    14     · ·Q.
               ·
               · And
                 ·   why is that?
    15     · ·A.
               ·
               · Because
                 ·       as I said, there's no suc
    16     zero risk, and those projects were just
    17     sales process, or maybe not even at tha
    18     time, and very, very difficult to marke
    19     COVID, so we never would ·have
                                      Nor would
                                          said that
    20     we even in a non-COVID world, you know.
    21     · ·Q.
               ·
               · Okay.
                 ·  · And then as you pointed out,
    22     in that conversation, Robert Harris ask
    23     you expect Fatherhood and Monkey
                                        · Do Man to
    24     you see that?
    25     · ·A.
               ·
               · I
                 · do.


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    ·1     · ·Q.
               ·
               · Fatherhood
                 ·          is not involved in thi
    ·2     litigation, but Monkey Man is, just for
    ·3     information.
    ·4     · ·And
               ·  so then Jason Cloth, at 11:50, r
    ·5     Monkey Man late summer
                               · Door
                                    you
                                      sooner.
                                        see that?
    ·6     · ·A.
               ·
               · I
                 · do.
    ·7     · ·Q.
               ·
               · Did
                 ·   you at any time before Februa
    ·8     2021 tell Jason Cloth that Monkey Man w
    ·9     in late summer of 2021?
    10     · ·A.
               ·
               · Probably
                 ·        and ·it
                               I think
                                  did. it paid out
    11     in August of 2021, I believe, but I wou
    12     double-check the
                        · But
                            date.
                              I believe it was Aug
    13     2021 that Monkey Man paid out.
    14     · ·Q.
               ·
               · Why
                 ·   is Monkey Man different than
    15     other projects?
    16     · ·A.
               ·
               · It
                 ·  was a different
                                 · It
                                    project.
                                      was sold.
    17     It had already been sold to Netflix and
    18     meeting and that was made, and we were
    19     Netflix ·
                   sale.
                     That's what we were putting in
    20     at the facility to bring forward the mo
    21     Monkey Man· And
                       sale.
                           the film itself has
    22     unfortunately taken forever ·to
                                         It's
                                           get deli
    23     not done yet, and it's being literally
    24     now.
             · I think this month.
    25     · ·But
               ·  at that time, the sales were mad


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    ·1     could bring forward
                             · And
                               the as
                                   sales.
                                      I said, I
    ·2     believe it was August of 2021 when Crea
    ·3     was -- was paid all the monies that the
    ·4     through, and Jason had signed
                                     · There's
                                          off on th
    ·5     documentation to show that.
    ·6     · ·Q.
               ·
               · So
                 ·  in other words, Monkey Man was
    ·7     along in the production than the other
    ·8     that we're just discussing.
    ·9     · ·A.
               ·
               · Yes.
                 · · Or not further
                                  · It
                                     along.
                                       had a sale
    10     made, and the sale was able to be funde
    11     · ·Q.
               ·
               · You're
                 ·      talking about the sale to
    12     · ·A.
               ·
               · Correct.
                 ·
    13     · ·Q.
               ·
               · And
                 ·   for Fables, Haley and the Her
    14     and Bubbles, there had been no sale yet
    15     right?
    16     · ·A.
               ·
               · That's
                 ·      correct.
    17     · ·Q.
               ·
               · Okay.
                 ·  · I'm going to take this off th
    18     screen.
    19     · ·Mr.
               ·  Gilbert, are you familiar with t
    20     green lit or green light?
    21     · ·A.
               ·
               · Yes.
                 ·
    22     · ·Q.
               ·
               · What
                 ·    does the term green lit mean
    23     the context of the film and television
    24     · ·A.
               ·
               · Essentially,
                 ·            just means like once
    25     different pieces of a value stack on a


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    ·1     signed ·
                  off.
                    So in other words, like once th
    ·2     creative plan, the production plan, the
    ·3     executives, the financing, once everyth
    ·4     agreed and approved, then you would get
    ·5     light.
               · In other words, just an approval t
    ·6     towards closing and go make your show.
    ·7     · ·So
               · green light would be all the diff
    ·8     aspects of a departments around a show
    ·9     that they're prepared and happy to go f
    10     That's what green light would be.
    11     · ·Q.
               ·
               · And
                 ·   who green lights a show, typi
    12     · ·A.
               ·
               · Well,
                 ·     there's two sides
                                   · Internally
                                         of it.
    13     at BRON, we would, you know, have a pro
    14     would sign off or creative team would s
    15     finance group would sign off, and I wou
    16     sign off, and our sales group would hav
    17     · ·Ultimately,
               ·          if it was something that
    18     Wealth was involved in, project would g
    19     they would also have ·to
                                 Andsign
                                     overoff.
                                          the
    20     years, it happened a few times that Cre
    21     didn't want to move forward
                                    · But,
                                        on a projec
    22     usually, once we had done all the work
    23     BRON and submitted it, it was approved
    24     · ·But
               ·  technically it wasn't officially
    25     until -- if CW was involved in that par


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    ·1     until they also approved going forward.
    ·2     · ·Q.
               ·
               · Because
                 ·       Creative Wealth was finan
    ·3     project; is that right?
    ·4     · ·A.
               ·
               · That's
                 ·      correct.
    ·5     · ·Q.
               ·
               · So
                 ·  is it different when a televis
    ·6     project is green lit from when a motion
    ·7     green lit?
    ·8     · ·A.
               ·
               · No.
                 · · Technically, it's -- if it's g
    ·9     lit, meaning the approved license are i
    10     sales and broadcast rates are in place,
    11     same premise is ·involved.
                            Like from VA marketing,
    12     Creative is to sign off, and then a fin
    13     whether that's coming through TV broadc
    14     streamer or whether it's coming through
    15     money, all that has to get signed off.
    16     · ·There's
               ·      no difference in a green lig
    17     from one to the
                        · You
                           other.
                              need to check all th
    18     boxes before you go forward.
    19     · ·Q.
               ·
               · And
                 ·   in the context of a televisio
    20     a -- is it correct to say that a TV sho
    21     for a set number of seasons or for a se
    22     · ·A.
               ·
               · It
                 ·  could happen, if that was a co
    23     from a broadcaster.
                       · If a broadcaster made a tw
    24     or three-year commitment, that could ab
    25     happen.
               · Yes.


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    ·1     · ·Q.
               ·
               · What's
                 ·      an example of a broadcaste
    ·2     · ·A.
               ·
               · HBO,
                 ·    Netflix, ABC, NBC,
                                     · Anyone
                                          anybody.
    ·3     like that.
                 · A streamer or broadcaster in any
    ·4     instances, they could green light somet
    ·5     multiple seasons.
                     · Yes.
    ·6     · ·Q.
               ·
               · Have
                 ·    you ever had a television sh
    ·7     green lit for more than one season prio
    ·8     made?
    ·9     · ·A.
               ·
               · Yes.
                 ·
    10     · ·Q.
               ·
               · How
                 ·   many seasons?
    11     · ·A.
               ·
               · Two.
                 · · And that was for a dramatic s
    12     that we did in partnership with Europea
    13     · ·Q.
               ·
               · What
                 ·    was the series called?
    14     · ·A.
               ·
               · It
                 ·  was called Kin, K-i-n.
    15     · ·Q.
               ·
               · Have
                 ·    you had any other instances
    16     television show was green lit for more
    17     season?
    18     · ·A.
               ·
               · Not
                 ·   directly, no.
    19     · ·Q.
               ·
               · And
                 ·   what were the circumstances s
    20     Kin's -- what was the circumstances tha
    21     being green lit for more than one seaso
    22     · ·A.
               ·
               · We
                 ·  had a big cast together, inclu
    23     star, Charlie Cox, and he ·
                                     plays
                                       Big star
                                            daredev
    24     in place, and the Irish Commission Broa
    25     to do a two-year commitment, and we had


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    ·1     to AMC and it was a competitive sale an
    ·2     groups that were at
                             · And
                               the part
                                   table.
                                        of the sal
    ·3     process, AMC committed to two seasons,
    ·4     we wanted.
                 · So that's what happened in that
    ·5     · ·Q.
               ·
               · In
                 ·  other words, part of the negot
    ·6     what made AMC competitive is that it ha
    ·7     green light it for two seasons; is that
    ·8     · ·A.
               ·
               · That's
                 ·      correct.
    ·9     · ·Q.
               ·
               · Are
                 ·   you familiar with a project c
    10     Pathway?
    11     · ·A.
               ·
               · Sure.
                 ·
    12     · ·Q.
               ·
               · What
                 ·    is The Pathway?
    13     · ·A.
               ·
               · Pathway
                 ·       was a basketball show tha
    14     developed and put together with a very
    15     producer named Jim
                          · JimStern.
                                Stern is probably o
    16     of the top guys in that docu
                                     · He sports
                                           does  wor
    17     very famous Last Chance U football and
    18     series on Netflix.
                      · Also done Yao Ming and Mich
    19     Jordon and other kind of huge sports do
    20     He's a very well-known guy.
    21     · ·So
               · we ended up, our company and his,
    22     his company is·Endgame.
                          We brought in Endgame, w
    23     together to develop the show, working w
    24     League.
               · The G League is the developmental
    25     part of the NBA.


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    ·1     · ·And
               ·  the G League, at the time, had l
    ·2     new program called The Pathway Program,
    ·3     they built the team called Team Ignite,
    ·4     bunch of, you know, high school graduat
    ·5     meaning kids that hadn't gone
                                     · They
                                          into coll
    ·6     came straight from high school or strai
    ·7     Europe to play on Team Ignite.
    ·8     · ·And
               ·  Team Ignite is essentially devel
    ·9     inside The Pathway Program that the G L
    10     doing where the G League is basically a
    11     the NBA, farm league ·for
                                 So athe
                                      lotNBA.
                                          of those
    12     players have two-way contracts with the
    13     NBA team would have an interest in cert
    14     teams
    15     · ·So
               · we, during COVID, put forth creat
    16     to basically follow these kids as they
    17     first year as
                       · You
                          a pro.
                             know, these are 18,
    18     19-year-old kids, first ·year
                                    They as
                                         followed
                                            a pro.
    19     them to -- Last Chance U does, when I s
    20     the court.
                 · Saw them at training.
                                · Also did some
    21     background of who they are and families
    22     you.
             · Package that all up to try to make
    23     it.
    24     · ·We
               · had four kids from Team Ignite th
    25     drafted in the 2021 draft, I think it w


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    ·1     including Jalen Green went number two o
    ·2     had a really great group
                               · And of
                                     that
                                        kids.
                                          series
    ·3     was packaged up to be sold as an ongoin
    ·4     · ·Q.
               ·
               · So
                 ·  you touched on this a little b
    ·5     what was the timing
                            · When
                                of this?
                                   did you first
    ·6     start discussing this project?
    ·7     · ·A.
               ·
               · I
                 · don't remember the exact date,
    ·8     happened like during
                           · So it
                                COVID.
                                   would have been
    ·9     around, I think it's the spring of 2020
    10     that would have· And
                            started.
                                -- is that
                                         · Let
                                            right?
    11     me think about
                       · Trying
                           that. to think if they we
    12     in.
    13     · ·They
               ·   were in the bubble at -- the NB
    14     had a bubble where they were playing al
    15     games during COVID, and the G League ha
    16     thing.
               · Forgive· I
                          me.
                            can't recall if that was
    17     spring of 2020 or spring of 2021.
    18     · ·Q.
               ·
               · Time
                 ·    did not make any sense durin
    19     time period so I can understand.
    20     · ·A.
               ·
               · Understood.
                 ·
    21     · ·Q.
               ·
               · And
                 ·   you're saying G League, as in
    22     league as in Dave?
    23     · ·A.
               ·
               · G
                 · League as in ·
                                Gatorade.
                                  Gatorade is the
    24     main sponsor of the league.
    25     · ·Q.
               ·
               · Okay.
                 ·  · Thank you very much.


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    ·1     · ·A.
               ·
               · It
                 ·  used to be called the D League
    ·2     Gatorade came on board as a sponsor.
    ·3     · ·Q.
               ·
               · Clever.
                 ·   · Are you aware that Mr. Harr
    ·4     through one of his entities, invested i
    ·5     The Pathway?
    ·6     · ·A.
               ·
               · I
                 · am.
    ·7     · ·Q.
               ·
               · Are
                 ·   you aware that Mr. Harris' in
    ·8     in the project was over $6 million?
    ·9     · ·A.
               ·
               · I
                 · am.
                    · He told me as much.
    10     · ·Q.
               ·
               · Are
                 ·   you aware that Mr. Cloth told
    11     Harris that Pathway had been green lit
    12     seasons prior to Mr. Harris investing i
    13     · ·A.
               ·
               · No.
                 ·
    14     · · · ·
                 MR.
                   · BAZIAN:
                        · Objection to form.
    15     BY MS. LEEKER:
    16     · ·Q.
               ·
               · So
                 ·  take a look at this
                                     · Let
                                         document.
                                           me
    17     know once you've reviewed.
    18     · ·A.
               ·
               · Read
                 ·    it.
    19     · ·Q.
               ·
               · Have
                 ·    you seen this e-mail before
    20     Mr. Harris and Mr. Cloth?
    21     · ·A.
               ·
               · No.
                 ·
    22     · ·Q.
               ·
               · Do
                 ·  you see that it's dated May 13
    23     · ·A.
               ·
               · I
                 · do.
    24     · ·Q.
               ·
               · And
                 ·   unless there's no objection,
    25     going to --


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    ·1     · ·A.
               ·
               · I'm
                 ·   sorry.
                       · That answers our earlier
    ·2     question.
                · This would have been spring of 2
    ·3     · · · ·
                 MS.
                   · LEEKER:
                        · Right.
    ·4     · · · ·
                 If· there's no objection, I'm goin
    ·5     · ·this
               ·   document as Exhibit 4.
    ·6     · · · ·
                 (Exhibit
                   ·      4 was marked.)
    ·7     BY MS. LEEKER:
    ·8     · ·Q.
               ·
               · And
                 ·   I'm going to direct your atte
    ·9     this e-mail at the top actually
                                         · It
                                            from Ja
    10     says, hi, Robert.
                     · Thanks for investing.
                                    · I'm really
    11     excited about the show and
                                    · See
                                       its below
                                            prospect
    12     for responses.
    13     · ·And
               ·  then in the bottom e-mail, you'l
    14     they're all the same color, but it look
    15     have been -- it looks like some of them
    16     as questions and some are phrased as re
    17     · ·Do
               · you see that?
    18     · ·A.
               ·
               · Yes.
                 ·
    19     · ·Q.
               ·
               · So
                 ·  about three paragraphs down in
    20     bottom e-mail it says seasons two throu
    21     for sure be released and you will be ab
    22     the bank and loan against the
                                      · And
                                          future st
    23     then there's a ·
                          question.
                            Is that stream typicall
    24     paid upfront, or is it due at the begin
    25     season?
               · Once green lit, can it be cancelle


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    ·1     · ·Do
               · you see that?
    ·2     · ·A.
               ·
               · I
                 · do.
    ·3     · ·Q.
               ·
               · Underneath
                 ·          that states, the show
    ·4     green lit for five seasons, parentheses
    ·5     really like that --
    ·6     · ·A.
               ·
               · That's
                 ·      written by Jason?
    ·7     · ·Q.
               ·
               · I
                 · can represent to you that Jason
    ·8     testified that that was ·
                                   written
                                     That line,
                                            by him.
    ·9     the show has been green lit for five se
    10     been written by
                        · Not
                           Jason.
                              everything in the
    11     paragraph ·
                     above.
                       Do you see that?
    12     · ·A.
               ·
               · I
                 · do.
                    · And I've never said that nor
    13     aware of that.
    14     · ·Q.
               ·
               · Okay.
                 ·  · So I'll ask the question but
    15     for that.
    16     · ·So
               · have you ever represented to Mr.
    17     you ever represent to Mr. Cloth, prior
    18     2021, that the show, Pathway, was green
    19     seasons?
    20     · ·A.
               ·
               · No.
                 ·
    21     · ·Q.
               ·
               · And
                 ·   are you aware of anyone at BR
    22     representing to Mr. Cloth that The Path
    23     lit for five sentence?
    24     · ·A.
               ·
               · Absolutely
                 ·          not.
    25     · ·Q.
               ·
               · And
                 ·   why is it that you're so conf


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    ·1     you would not have said that it was gre
    ·2     five seasons?
    ·3     · · · ·
                 MR.
                   · BAZIAN:
                        · Objection to form.
    ·4     · · · ·
                 MS.
                   · LEEKER:
                        · You can answer.
    ·5     · ·A.
               ·
               · Very
                 ·    confident in saying that bec
    ·6     hadn't even started the sales
                                     · We hadn't
                                          process y
    ·7     got out the buyers
                         · We had
                               yet.
                                  some very loose
    ·8     conversations with a few different grou
    ·9     targeted TNT as where we wanted to appr
    10     show.
    11     · ·But
               ·  at that point in time, again, I
    12     to look at the dates of when everything
    13     filmed.
               · But at that point in time, we woul
    14     gone to any of the broadcasters
                                    · There formall
    15     would have been some early discussions,
    16     nothing that was agreed upon or formal
    17     No.
    18     BY MS. LEEKER:
    19     · ·Q.
               ·
               · So
                 ·  at that time in May 2021, was
    20     Pathway green lit for any seasons?
    21     · ·A.
               ·
               · No.
                 · · The business model behind that
    22     same as what Jim Stern had done with La
    23     which was a very successful
                               · I thinkshow.
                                         did four,
    24     five, six seasons on Netflix.
    25     · ·Premise
               ·      there was to create the firs


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    ·1     and while we're editing the first seaso
    ·2     at that point in time and work with the
    ·3     any changes needed on the delivery of t
    ·4     season, but of course to also have succ
    ·5     and hopefully go turn it into a second,
    ·6     season thereafter.
                      · But we hadn't begun that pr
    ·7     at this time formally.
    ·8     · ·Q.
               ·
               · You
                 ·   touched on this in one of you
    ·9     answers, but just ·
                             toIt clarify.
                                   was -- were you
    10     shooting the first season in -- at this
    11     approximately May 2021?
    12     · ·A.
               ·
               · I
                 · think· I'm
                          so. pretty sure we would
    13     been at that point in time because I th
    14     in the bubble in March·of
                                  So that
                                     I think
                                          year.
                                             the
    15     answer is yes to that.
    16     · ·So
               · there would have already been cer
    17     in place, if that was the case, outside
    18     · ·Q.
               ·
               · Do
                 ·  you know off the top of your h
    19     you recall where the other money had co
    20     than Robert Harris, for the season one
    21     · ·A.
               ·
               · From
                 ·    Creative· Wealth.
                                I'm not sure who
    22     the -- nor did I know it was Robert at
    23     either.
               · So when he put ·
                                money
                                  But Creative
                                       in.
    24     Wealth is who we dealt
                            · So itwith.
                                    could have come
    25     from them, but I'm not sure which clien


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    ·1     were involved.
    ·2     · ·Q.
               ·
               · Before
                 ·      I bring up the next docume
    ·3     that you just testified that you weren'
    ·4     Jason Cloth had made that representatio
    ·5     Pathway to Robert Harris, that it had b
    ·6     for five seasons.
                     · But were you aware of Jason
    ·7     making that representation to any other
    ·8     · ·A.
               ·
               · Not
                 ·   at ·
                        all.
                          It's not accurate.
                                     · So I don't
    ·9     know why that would have been said.
    10     · ·Q.
               ·
               · Okay.
                 ·  · Take a look at this document
    11     just put on the screen and let me know
    12     reviewed
                  · Take
                    it.  your time.
    13     · ·A.
               ·
               · Are
                 ·   you able to make it a little
    14     bigger?
    15     · ·Q.
               ·
               · Yes.
                 · · That I ·
                            can.
                              Does that help, at al
    16     · ·A.
               ·
               · Perfect.
                 ·    · Thank you.
    17     · ·Q.
               ·
               · Okay.
                 ·  · So have you ever seen this do
    18     before?
    19     · ·A.
               ·
               · I
                 · have not.
    20     · ·Q.
               ·
               · Looks
                 ·     like an· e-mail.
                                If you look at the
    21     bottom e-mail, it's dated May 12, 2021
    22     Harris to Jason Cloth, CCing Sandy Schm
    23     · ·Do
               · you see that?
    24     · ·A.
               ·
               · Yes.
                 ·
    25     · ·Q.
               ·
               · Okay.
                 ·  · And it lists out -- it says y


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    ·1     budget at 5,823,777.
                       · And then it goes through a
    ·2     of the total budget ·
                               for
                                 Do you
                                    Pathway.
                                        see that?
    ·3     · ·A.
               ·
               · I
                 · do.
    ·4     · ·Q.
               ·
               · And
                 ·   then at the top, there's an e
    ·5     Jason Cloth, and three lines down, it s
    ·6     currently have interest at 15M· plus
                                           Do   for
    ·7     you understand 15M to mean 15 million?
    ·8     · ·A.
               ·
               · I
                 · do.
    ·9     · ·Q.
               ·
               · And
                 ·   around May of 2021, was it co
    10     say that there was interest for 15 mill
    11     show?
    12     · ·A.
               ·
               · We
                 ·  hadn't talked to anybody, as m
    13     earlier, about the sales at that
                                        · So point
    14     I'm not sure where Jason received that
    15     was not aware of it.
    16     · ·Q.
               ·
               · So
                 ·  in other words, I guess, is it
    17     to state that you did not specifically
    18     Cloth that there was interest for $15 m
    19     · ·A.
               ·
               · Did
                 ·   not.
    20     · ·Q.
               ·
               · And
                 ·   the rest of that sentence sta
    21     currently we have an interest at plus 1
    22     show, which means we have no worries ab
    23     principle plus fees plus preferred retu
    24     · ·Do
               · you see that?
    25     · ·A.
               ·
               · I
                 · do.


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    ·1     · ·Q.
               ·
               · Is
                 ·  it correct to say that in May
    ·2     there would be no worries about repayin
    ·3     plus fees plus preferred return?
    ·4     · ·A.
               ·
               · No.
                 · · As mentioned, we hadn't starte
    ·5     sales process formally ·
                                  atSo that
                                        that point.
                                              would
    ·6     have been early to make those statement
    ·7     · · · ·
                 MS.
                   · LEEKER:
                        · Can we -- I don't know if
    ·8     · ·said
               ·   this.
                    · But I would like to mark this
    ·9     · ·document
               ·       as Exhibit 5, please.
    10     · · · ·
                 (Exhibit
                   ·      5 was marked.)
    11     BY MS. LEEKER:
    12     · ·Q.
               ·
               · I'm
                 ·   going to bring up another doc
    13     The bottom is just a signature
                                 · I'm going
                                           line.
                                             to
    14     leave it kind of scrolled up
                                      · Review
                                        towards th
    15     that and once you've reviewed let me kn
    16     · ·A.
               ·
               · Okay.
                 ·
    17     · ·Q.
               ·
               · Have
                 ·    you ever seen this document
    18     · ·A.
               ·
               · I
                 · have not.
    19     · ·Q.
               ·
               · The
                 ·   top reads Wednesday,
                                        · And
                                           May 18,
    20     the subject is·Pathway.
                          And it's an e-mail from
    21     Jason Cloth to Robert Harris, CCing San
    22     Sanford Schmidt.
    23     · ·A.
               ·
               · Uh-huh.
                 ·
    24     · ·Q.
               ·
               · First
                 ·     line says, hi,
                                  · Aaron
                                       Robert.
                                          sent a
    25     very detailed creative outline
                                     · It was
                                           of the s


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    ·1     just too convoluted ·
                               with
                                 Here things.
                                       is the
    ·2     financial summary.
                      · Do you see that?
    ·3     · ·A.
               ·
               · I
                 · do.
    ·4     · ·Q.
               ·
               · Does
                 ·    Aaron refer to you?
    ·5     · ·A.
               ·
               · It
                 ·  would be, yeah.
    ·6     · ·Q.
               ·
               · It
                 ·  states, Aaron sent a very deta
    ·7     creative outline of
                             · Do
                                the
                                  you
                                    show.
                                      remember the
    ·8     creative outline this is referring to?
    ·9     · ·A.
               ·
               · I
                 · don't.
                      · Do you have a copy of it by
    10     chance?
    11     · ·Q.
               ·
               · Well,
                 ·     I'm not going to pull it up
    12     now.
    13     · ·But
               ·  my question for you would just b
    14     regularly send creative
                               · Is outlines?
                                    that a term of
    15     art?
    16     · ·A.
               ·
               · Sure.
                 ·  · We would have provided inform
    17     on the project, absolutely, and what we
    18     to do relative to sponsorship and strea
    19     and other.
                 · Yeah.
                      · We would have definitely sh
    20     information.
    21     · ·But
               ·  any of that also has a disclaime
    22     because there's no guarantees of any of
    23     It's all -- until it happens, it's all
    24     So yeah.
    25     · ·Q.
               ·
               · So
                 ·  you're saying your creative ou


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    ·1     would have a disclaimer on it?
    ·2     · ·A.
               ·
               · They
                 ·    usually
                           · They
                               do.should because at
    ·3     the end of the day, we can't guarantee
    ·4     Those would have been -- I don't know t
    ·5     to be accurate, what we're ·looking
                                       But we  at h
    ·6     would have definitely sent creative mat
    ·7     what's the right word, progress updates
    ·8     what we were· Yeah.
                         doing.
    ·9     · ·Q.
               ·
               · And
                 ·   would a creative outline or u
    10     you would send, would it include financ
    11     information?
    12     · ·A.
               ·
               · It
                 ·  would have some numbers for su
    13     · ·Q.
               ·
               · Is
                 ·  it fair to say that creative o
    14     would estimate potential revenue?
    15     · ·A.
               ·
               · Yes.
                 ·
    16     · ·And
               ·  if you note the date here, the e
    17     documents that you were showing me were
    18     This is May 2022, a· year
                                The show
                                     later.
                                         would have
    19     been much more
                        · Sales
                          mature.
                                process would have
    20     begun.
               · We were actively dealing with TNT
    21     point in time to get that
                                 · So deal
                                      theredone.
    22     definitely would have been updates that
    23     gone back and forth for sure.
    24     · · · ·
                 MS.
                   · LEEKER:
                        · Thank you.
                                · I would like to
    25     · ·mark
               ·   this document as Exhibit 6.


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    ·1     · · · ·
                 (Exhibit
                   ·      6 was marked.)
    ·2     BY MS. LEEKER:
    ·3     · ·Q.
               ·
               · Okay.
                 ·  · Next document, I'm going to s
    ·4     I'm going to zoom out ·for
                                   It's
                                      this
                                        just
                                           one.
                                             a
    ·5     little bit ·
                      bigger.
                        Let me know once you've rev
    ·6     this bottom portion.
                       · Let me know if you want me
    ·7     scroll?
    ·8     · ·A.
               ·
               · Scroll
                 ·      a little
                             · Just
                                  bit.
                                    in the red
    ·9     section right
                      · Okay.
                          now.
    10     · ·Q.
               ·
               · And
                 ·   then I'm going to just scroll
    11     top e-mail.
                  · So have you ever seen this docu
    12     before?
    13     · ·A.
               ·
               · I
                 · have not.
    14     · ·Q.
               ·
               · Okay.
                 ·  · And the top e-mail is dated J
    15     2022.
              · It's from Jason Cloth to Robert Har
    16     Sandy Schmidt.
    17     · ·Do
               · you see the top e-mail where it s
    18     the update, see below?
    19     · ·A.
               ·
               · Yes.
                 ·
    20     · ·Q.
               ·
               · And
                 ·   then in the below e-mail, the
    21     in black and text
                          · Doin
                               you
                                 red.
                                   see that?
    22     · ·A.
               ·
               · I
                 · do.
    23     · ·Q.
               ·
               · I'll
                 ·    represent to you that the te
    24     is the text from
                         · Would
                             Jason.
                                 that be -- would t
    25     be an okay assumption based on the cont


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    ·1     e-mail?
    ·2     · ·A.
               ·
               · Yes.
                 ·
    ·3     · ·Q.
               ·
               · Okay.
                 ·  · So at the bottom of the e-mai
    ·4     where the red portion starts, so you'll
    ·5     to direct you to where it says Bubbles
    ·6     million.
                · Do you see that?
    ·7     · ·A.
               ·
               · I
                 · do.
    ·8     · ·Q.
               ·
               · So
                 ·  the red portion states, both B
    ·9     Hayley are sold and toys have begun sel
    10     We have approximate 20M coming in very
    11     might be allocated
                           · Do
                              toyou
                                 this.
                                    see that?
    12     · ·A.
               ·
               · I
                 · do.
    13     · ·Q.
               ·
               · As
                 ·  of June 15, 2022, the date of
    14     e-mail, were both Bubbles and Hayley so
    15     · ·A.
               ·
               · No.
                 · · They would have had their Chin
    16     partners in place because their Chinese
    17     co-producing partners.
                        · They may have had a dome
    18     IVUS sale in place.
    19     · ·I·believe one of the two properties,
    20     deal in place with HBO, but because of
    21     merger, Warner merger with Discovery, e
    22     stalled, which is the same issue we ran
    23     Pathway, which I'm sure you'll
                                      · Butask
                                            I  me a
    24     don't believe that deal had come throug
    25     But the rest of the rights I do not bel


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    ·1     sold, and there were still a lot of rig
    ·2     needed to be sold to get recoupment com
    ·3     · ·Q.
               ·
               · So
                 ·  that touches on my ·
                                       next
                                         The questi
    ·4     second sentence says, we have approxima
    ·5     in very shortly.
                     · Was that true as of the date
    ·6     this e-mail, which was June 15, 2022?
    ·7     · ·A.
               ·
               · I'm
                 ·   not aware of where that 20 mi
    ·8     would have been referenced or how that
    ·9     been referenced.
    10     · ·Q.
               ·
               · So
                 ·  you personally did not tell Ja
    11     that Bubbles and Hayley were expected t
    12     million shortly at this time; is that r
    13     · ·A.
               ·
               · Never
                 ·     have, no.
    14     · ·Q.
               ·
               · Let's
                 ·     go up a couple lines to whe
    15     black it says Fables, ·
                                 and
                                   Do then
                                      you see
                                           1 MM.
    16     that?
    17     · ·A.
               ·
               · I
                 · do.
    18     · ·Q.
               ·
               · In
                 ·  red it states Fables and Gossa
    19     digital tokens being
                             · All
                                sold
                                   of now.
                                       that revenue
    20     will flow to investors.
                         · Do you see that?
    21     · ·A.
               ·
               · I
                 · do.
    22     · ·Q.
               ·
               · This
                 ·    revenue alone might be enoug
    23     recoup everyone.
                     · Absent that, I need the cred
    24     facility to open up to get ·everyone
                                       Without  rep
    25     it we are months away from delivering
                                        · Do     t


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    ·1     you see that?
    ·2     · ·A.
               ·
               · I
                 · do.
    ·3     · ·Q.
               ·
               · So
                 ·  at the time of this e-mail, wa
    ·4     correct to state that fables and Gossam
    ·5     digital tokens being sold now?
    ·6     · ·A.
               ·
               · Not
                 ·   on Fables.
                          · There was never a digit
    ·7     token sold on· Fables.
                          There was indeed an NFT,
    ·8     digital token or NFTs that were
                                         · We
                                            sold on
    ·9     definitely had been approached and went
    10     of looking at a digital token for Gossa
    11     Fables, but it didn't
                             · The happen.
                                    group we were
    12     working with in Dubai made such a -- di
    13     great job on the NFT ·
                                for
                                  So there
                                     Gossamer.
                                           was no
    14     reason to continue doing more
                                      · So
                                         work with
    15     there was never digital tokens created.
    16     · ·But
               ·  on the NFT side, we did release
    17     summer.
               · Would have been around June, July
    18     And fortunately, that was, you know, wh
    19     on that Blockchain role had already sta
    20     down and change.
                     · So we generated some revenue
    21     would not have gone directly to investo
    22     gone into the waterfall.
    23     · ·But
               ·  in the case of Gossamer, Gossame
    24     underfunded to BRON by Creative Wealth,
    25     small amount of money, which was under


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    ·1     dollars that the company earned from th
    ·2     actually went into the budget itself be
    ·3     not completed the financing
                                   · So on
                                         no the show
    ·4     tokens, but NFT revenue did go to Gossa
    ·5     · ·Q.
               ·
               · So
                 ·  let me break down a couple of
    ·6     that you ·
                    said.
                      So the first thing was Gossam
    ·7     underfunded, you
                        · What
                            said.
                               did you mean by Gos
    ·8     was underfunded?
    ·9     · ·A.
               ·
               · Creative
                 ·        Wealth Media Finance had
    10     commitment to fully fund that project,
    11     not done ·
                    that.
                      They were underfunded by many
    12     millions of dollars.
    13     · ·Q.
               ·
               · And
                 ·   what impact does that have on
    14     project?
    15     · ·A.
               ·
               · A
                 · lot of impact.
                           · We had to slow the
    16     process.
                · We had to search for and try and
    17     money to replace
                        · We them.
                              also had to let go of
    18     people because we weren't able to cover
    19     properly.
                · But its very impactful on a show
    20     doesn't have the proper financing in pl
    21     · ·Q.
               ·
               · You
                 ·   also stated that it's -- well
    22     paraphrase not directly, but you said s
    23     the -- that's it's not true the revenue
    24     investors because it would go
                                      · Can
                                         to a wate
    25     you explain what you mean by that?


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    ·1     · ·A.
               ·
               · On
                 ·  any of these shows, there's wh
    ·2     called a collection account agreement i
    ·3     Anybody who is a party to or beneficiar
    ·4     income relative to· So
                               a project.
                                  in the case of
    ·5     Robert, through Creative Wealth Media F
    ·6     would have been a party to that agreeme
    ·7     collection account agreement.
    ·8     · ·There
               ·    would have been monies that wo
    ·9     been due to them through a -- through t
    10     once a project had started ·
                                      toRight.
                                          earn reve
    11     But because the project was underfunded
    12     amount of money that was earned from th
    13     get used for the actual production, as
    14     dividends, because the production didn'
    15     financing in place that it needed to co
    16     forward.
    17     · ·Q.
               ·
               · And
                 ·   you're speaking about -- so t
    18     waterfall, this happens for each -- for
    19     Gossamer; correct?
    20     · ·A.
               ·
               · Every
                 ·     project, correct.
    21     · ·Q.
               ·
               · But
                 ·   the show that was underfunded
    22     Gossamer; is that right?
    23     · ·A.
               ·
               · That's
                 ·      right.
    24     · ·Q.
               ·
               · Okay.
                 ·  · So it's fair to say that Goss
    25     any revenue from Gossamer would not hav


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    ·1     investors; is that right?
    ·2     · ·A.
               ·
               · That
                 ·    is correct.
    ·3     · ·Q.
               ·
               · Would
                 ·     any revenue at the time fro
    ·4     have flown to the investors?
    ·5     · ·A.
               ·
               · There
                 ·     was no revenue from Fables
    ·6     time.
    ·7     · ·Q.
               ·
               · Has
                 ·   there been revenue from Fable
    ·8     date?
    ·9     · ·A.
               ·
               · No.
                 · · It got stuck in the BRON bankr
    10     It fell apart.
                    · Unfortunately, that show was
    11     few months away from -- few months-plus
    12     being completed, but BRON ran out of ru
    13     · ·Q.
               ·
               · So
                 ·  it's not one of the shows that
    14     continuing on with the third-party cont
    15     · ·A.
               ·
               · No.
                 · · There's no team in place curre
    16     that show.
                 · The hope is in the postsale of t
    17     process, which looks like -- well, whoe
    18     creditor who acquires it, we all know w
    19     but the hope is at that point in time,
    20     open to licensing to a third-party to c
    21     that's our· But
                       hope.
                           right now it's sitting o
    22     shelf.
               · Both projects are.
    23     · ·Q.
               ·
               · Thank
                 ·     you for clarifying.
    24     · ·And
               ·  going up one line in black, it s
    25     Grylls -- am I stating that correctly?


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    ·1     · ·A.
               ·
               · Bear
                 ·    Grylls, you're right.
    ·2     · ·Q.
               ·
               · Bear
                 ·    Grylls,
                           · And
                              1MM.
                                 then in red, it
    ·3     states Bear is selling
                                · In
                                   tothe
                                      Netflix.
                                         absent of
    ·4     the credit facility being available, we
    ·5     dollar sign, ·
                        inDoJuly.
                             you see that?
    ·6     · ·A.
               ·
               · I
                 · do.
                    · But I'm not sure where that i
    ·7     came from.
                 · We never had a deal with Netflix
    ·8     show.
    ·9     · ·Q.
               ·
               · So
                 ·  let me ask the question so the
    10     clear.
    11     · ·But
               ·  at this time, at the time this e
    12     sent in June of 2022, was there a deal
    13     even a potential deal in place for Bear
    14     sell to Netflix?
    15     · ·A.
               ·
               · No.
                 ·
    16     · ·Q.
               ·
               · Would
                 ·     it have been correct to say
    17     time that Bear Grylls would have recoup
    18     July of that year?
    19     · ·A.
               ·
               · No.
                 ·
    20     · ·Q.
               ·
               · Why
                 ·   is it that Bear Grylls would
    21     recouped money as of July?
    22     · ·A.
               ·
               · Well,
                 ·     it hadn't sold yet, number
    23     even when you make a sale, you don't ge
    24     you make delivery.
                      · Right.
                            · So you have to deliver
    25     show or put a financing structure in pl


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    ·1     to bring forward dollars for the commit
    ·2     like a facility, right, to client to tu
    ·3     forward, but that hadn't happened at th
    ·4     time.
              · There were many parties, Netflix in
    ·5     that were sent the show to potentially
    ·6     it, but there was no deal in place?
    ·7     · ·Q.
               ·
               · Would
                 ·     you have told Jason Cloth t
    ·8     was a potential deal in place with Netf
    ·9     Grylls?
    10     · ·A.
               ·
               · No.
                 · · I would have said that the sho
    11     being submitted to Netflix and Amazon a
    12     everybody ·else.
                      I would not have said that th
    13     deal in place.
    14     · ·Q.
               ·
               · Okay.
                 ·  · And going up to Monkey Man, s
    15     is one line up ·
                          inIt black.
                                says Monkey Man, 750
    16     And then in red it states, we delivered
    17     July ·
                31.
                  In the absence of the credit faci
    18     available, we will have, dollar
                                        · Do
                                           sign, i
    19     you see that?
    20     · ·A.
               ·
               · I
                 · do.
    21     · ·Q.
               ·
               · But
                 ·   this is now 2022; correct?
    22     · ·A.
               ·
               · Correct.
                 ·
    23     · ·Q.
               ·
               · I
                 · can scroll
                           · It's
                               up.June 15, 2022?
    24     · ·A.
               ·
               · The
                 ·   funds on Monkey Man, we alrea
    25     facility in·place.
                       The funds were returned to


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    ·1     Creative Wealth in December of 2021.
    ·2     · ·Q.
               ·
               · So
                 ·  let me break ·
                                 that
                                   So in
                                       down.
                                         June
    ·3     2022, there was a deal with Netflix; is
    ·4     · ·A.
               ·
               · Monkey
                 ·      Man,
                           · We
                             yeah.
                                had a deal prior t
    ·5     that.
              · Yeah.
    ·6     · ·Q.
               ·
               · And
                 ·   so BRON was delivering the sh
    ·7     Netflix on July 31; is that correct?
    ·8     · ·A.
               ·
               · No.
                 · · The show had -- the delivery d
    ·9     the show kept pushing and pushing, like
    10     it's a year-plus later, and we're deliv
    11     this month.
                  · So we had a lot of issues with
    12     and our director and postproduction pro
    13     · ·But
               ·  what we had done, based on the s
    14     had made to Netflix, was
                                 · 30a million
                                        big sale.
                                               plus
    15     sale.
              · We had gone to our facility at BRON
    16     and pulled for a facility and interim f
    17     don't remember the exact number, but X
    18     dollars, that we pulled forward from th
    19     monies were paid back to Creative Wealt
    20     extinguished their loan in full in the
    21     2021.
    22     · ·Q.
               ·
               · So
                 ·  Monkey Man -- so Creative Weal
    23     received its money back from Monkey Man
    24     2021?
    25     · ·A.
               ·
               · Correct.
                 ·


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    ·1     · ·Q.
               ·
               · Is
                 ·  it your understanding that tha
    ·2     was given back to the investors in Monk
    ·3     time?
    ·4     · ·A.
               ·
               · I'm
                 ·   not ·
                         sure.
                           I know that Jason was --
    ·5     that was Jason's
                        · We call.
                              pushed the money back
    ·6     CW.
             · I don't believe he pushed it back to
    ·7     clients,
                  · We
                    no.learned that after the fact
    ·8     course.
    ·9     · ·Q.
               ·
               · So
                 ·  do you have any idea where tha
    10     would have gone?
    11     · ·A.
               ·
               · I
                 · think that money was used to fi
    12     for him on a Warner Brothers
                                   · You situation.
                                         would
    13     have to ask him.
    14     · ·Q.
               ·
               · And
                 ·   was Creative Wealth paid back
    15     for the project Monkey Man?
    16     · ·A.
               ·
               · They
                 ·    were and they signed a disch
    17     · ·Q.
               ·
               · And
                 ·   do you recall approximately h
    18     money that was that Creative Wealth was
    19     Monkey Man?
    20     · ·A.
               ·
               · I
                 · don't.
                      · It was a percentage of righ
    21     Because when you borrow forward, you ta
    22     discounted amount from
                               · They
                                   thewould
                                       bank.have go
    23     all their money plus interest plus some
    24     participation.
                    · I don't know the exact number
    25     · ·Q.
               ·
               · Last
                 ·    question, so above Monkey Ma


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    ·1     black, says Ghostbusters ·Afterlife,
                                      In red it 1MM
    ·2     says, we need the BRON Comerica facilit
    ·3     this.
              · Sandy has the Sony statement showin
    ·4     back all of our, dollar sign,
                                     · This
                                          with
                                            will
                                               prof
    ·5     be sometime in
                       · DoJuly.
                            you see that?
    ·6     · ·A.
               ·
               · I
                 · do.
    ·7     · ·Q.
               ·
               · So
                 ·  as of June 15, 2022, was it co
    ·8     say that Creative Wealth had made back
    ·9     money on the Ghostbusters Afterlife pro
    10     · ·A.
               ·
               · This
                 ·    is where I have to qualify y
    11     early comment, Ms. Leeker, when you tal
    12     you referenced Creative -- when you're
    13     Creative Wealth, you're talking about C
    14     Finance.
                · Correct?
    15     · ·Afterlife,
               ·         as far as we know, we mea
    16     and everybody in our group, that that p
    17     project was funded by Creative Wealth M
    18     I was not aware that there -- until muc
    19     there were any private investors, Rober
    20     involved in that project.
    21     · ·On
               · the BRON side, we had built the t
    22     with Sony and monies came directly thro
    23     established through Creative Wealth Med
    24     that went direct to the Ghostbusters pr
    25     was -- we were just not privy to any ot


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    ·1     that Creative Wealth Media Finance may
    ·2     around that·movie.
                       That's a question you're go
    ·3     have to ask Jason and his team.
    ·4     · ·Q.
               ·
               · Okay.
                 ·  · So let me break that down a l
    ·5     bit more.
                · So BRON received money from Crea
    ·6     entity called Creative Wealth Lending;
    ·7     · ·A.
               ·
               · Creative
                 ·        Wealth Media Lending, bu
    ·8     didn't receive the
                          · Themoney.
                                money went directly
    ·9     the production from that entity, that C
    10     entity that was
                         · Went
                            set up.
                                directly to pay the
    11     Sony contribution for that movie.
    12     · ·Q.
               ·
               · What
                 ·    was BRON's role in that film
    13     · ·A.
               ·
               · The
                 ·   filmmakers of that movie is J
    14     Wright, a dear friend of mine, the one
    15     project together and got a role for BRO
    16     And important to note, that is not a BR
    17     movie.
               · That is a movie that is through a
    18     that BRON has with Creative Wealth, a v
    19     BRON Creative, which was used specifica
    20     for projects that BRON was not
                                        · But
                                           the prod
    21     projects that together the companies we
    22     exec producers and financiers.
    23     · ·So
               · in the case of Ghostbusters, I pu
    24     together with Sony, and Creative Wealth
    25     Creative Wealth Media Lending entity, f


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    ·1     · ·Q.
               ·
               · And
                 ·   you said that it was your und
    ·2     that Creative Wealth Media Lending was
    ·3     through private ·
                           investors.
                             Is that --
    ·4     · ·A.
               ·
               · It's
                 ·    not.
                      · It's backed Media Ventures
    ·5     Canada.
               · That's who funds Creative Wealth M
    ·6     Lending.
                · My understanding and my entire te
    ·7     understanding is that that entity, Medi
    ·8     who funded in full Ghostbusters.
                               · And if there are
    ·9     private money, Robert included, involve
    10     never seen that ·
                           paperwork.
                             We were not aware of i
    11     · ·Q.
               ·
               · What
                 ·    do you -- you said that it's
    12     understanding and BRON's understanding
    13     Wealth Media Lending was funded through
    14     · ·A.
               ·
               · Not
                 ·   sure what ·that
                                 Is that
                                     is. LIUNA?                                                 I
    15     don't know what --
    16     · ·Q.
               ·
               · Yes.
                 · · Can you spell that?
    17     · ·A.
               ·
               · LIUNA
                 ·     is L-I-U-N-A.
    18     · ·Q.
               ·
               · Yes.
                 · · Thank you.
    19     · ·A.
               ·
               · And
                 ·   LIUNA the labor pension fund,
    20     the version that they worked with is in
    21     think there's a U.S.
                             · But
                                side
                                   on too.
                                       the bigger
    22     studio movies, they were the ones that
    23     those bigger movies that BRON and Creat
    24     Media Lending.
    25     · ·Q.
               ·
               · What
                 ·    do you basing ·
                                    that
                                      How off
                                          do you
                                              of?


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    ·1     have the knowledge that Creative Wealth
    ·2     was funded by LIUNA?
    ·3     · ·A.
               ·
               · That's
                 ·      been their capital partner
    ·4     onset.
               · Since they started the company sev
    ·5     prior.
    ·6     · ·Q.
               ·
               · So
                 ·  it's your understanding that C
    ·7     Wealth Media Finance did not finance Gh
    ·8     that right?
    ·9     · ·A.
               ·
               · My
                 ·  understanding is Creative Weal
    10     Lending did finance in totality
                                      · If Ghostbu
    11     Jason and Creative Wealth Media Finance
    12     money for that, I don't know what their
    13     been, if or not, with ·
                                 Media
                                   I don't
                                        Lending.
                                           know if
    14     internally the companies do something.
    15     · ·But
               ·  we, as BRON, were not aware, and
    16     money we ever saw going to that project
    17     a liar in full, but came from Creative
    18     Lending entity.
    19     · ·Q.
               ·
               · Okay.
                 ·  · So back to the e-mail where t
    20     is in red, and we're talking about Ghos
    21     the red text says, Sandy has a Sony sta
    22     we've made back all of our money with p
    23     would be sometime in July.
    24     · ·Based
               ·    on your understanding
                                        · How
                                           -- well,
    25     about this.


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    ·1     · ·So
               · at this time, in June 15, 2022, h
    ·2     Wealth Media Lending made back all of i
    ·3     Ghostbusters?
    ·4     · ·A.
               ·
               · I'm
                 ·   not ·
                         sure.
                           I'm not sure to answer t
    ·5     They definitely would have received som
    ·6     coming through.
                    · I'm not sure if they got ever
    ·7     owed at that time.
    ·8     · ·Q.
               ·
               · So
                 ·  received some payments as of t
    ·9     from Ghostbusters?
    10     · ·A.
               ·
               · Correct.
                 ·
    11     · ·Q.
               ·
               · And
                 ·   had Creative Wealth Media Fin
    12     received any money for the project Ghos
    13     · ·A.
               ·
               · As
                 ·  I mentioned I don't know why t
    14     have.
              · Again, I'm not privy to how the rel
    15     worked between Media Lending and Media
    16     Ghostbusters.
    17     · ·But
               ·  as far as BRON was aware, as I m
    18     the only money that would have been due
    19     money that -- to recoup and then earn o
    20     Lending investment.
                       · But I'm not sure how -- if
    21     how that worked with any private people
    22     Creative Wealth.
    23     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · I think -- well, okay
    24     · ·I·don't know if I marked
                                     · But
                                        this
                                           ifexhibi
                                              I
    25     · ·have
               ·   not, this e-mail on the screen


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    ·1     · ·going
               ·    to be Exhibit Number 7.
    ·2     · · · ·
                 And
                   · we've been going for about an
    ·3     · ·20,
               ·  so I think it's a good time to t
    ·4     · ·break.
               ·  · Maybe ten minutes if that's oka
    ·5     · ·everybody?
               ·
    ·6     · · · ·
                 THE
                   · WITNESS:
                        · Sure.
    ·7     · · · ·
                 (Exhibit
                   ·      7 was marked.)
    ·8     · · · ·
                 (Brief
                   ·    recess was taken at 2:26 p
    ·9     · · · ·
                 (Back
                   ·   on the record at 2:40 p.m.)
    10     BY MS. LEEKER:
    11     · ·Q.
               ·
               · Okay.
                 ·  · Mr. Gilbert, to go circle bac
    12     couple of things we just
                                · For
                                    discussed.
                                      the project
    13     Ghostbusters, you stated that there was
    14     from Creative Wealth Media Lending, but
    15     Wealth Media Lending didn't pay
                                       · So BRON di
    16     how is it that you know there was the s
    17     · ·A.
               ·
               · We
                 ·  had copies
                             · We
                                of had
                                    it. copies of th
    18     wire and verification of the transfer.
    19     · ·Q.
               ·
               · And
                 ·   who did the wire go to direct
    20     · ·A.
               ·
               · It
                 ·  would have gone to whatever So
    21     in Colombia, Ghostbusters ·
                                     entity
                                       I don't
                                             they h
    22     have the exact name off the top of my h
    23     · ·Q.
               ·
               · Would
                 ·     it have been Kid Unknown Ho
    24     · ·A.
               ·
               · No.
                 · · Kid Unknown Holdings was the n
    25     wrong project, I think.


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    ·1     · ·Q.
               ·
               · But
                 ·   it would have been an entity
    ·2     specifically for Ghostbusters?
    ·3     · ·A.
               ·
               · Correct.
                 ·    · Which we did -- which BRON
    ·4     not control.
                  · It was controlled by Sony; cor
    ·5     · ·Q.
               ·
               · Earlier
                 ·       you alluded to this in th
    ·6     beginning of our conversation that ther
    ·7     creditor that will likely retain the as
    ·8     after the bankruptcy.
                        · Is that creditor Jason Cl
    ·9     · ·A.
               ·
               · It's
                 ·    not Jason Cloth as an indivi
    10     I don't think I'm allowed to
                                      · That's
                                        talk about
    11     still an active process in the court.
    12     · · · ·
                 MR.
                   · BAZIAN:
                        · Yes.
                            · Cameron for Aaron
    13     · ·Gilbert.
               ·   · He's not going to talk about a
    14     · ·the
               ·  bankruptcy proceedings or anythi
    15     · ·going
               ·    on with that or the sales proc
    16     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · We'll just reserve ou
    17     · ·rights
               ·     to the extent that becomes re
    18     · ·our
               ·  litigation.
                       · I understand your argument
    19     · ·the
               ·  moment that it's not relevant to
    20     · ·at
               · hand.
                   · But I just want to reserve tho
    21     · ·rights
               ·     in case that does -- we need
    22     · ·deposition
               ·         up for -- at a later time
    23     · · · ·
                 MR.
                   · BAZIAN:
                        · That's fine.
    24     · · · ·
                 THE
                   · WITNESS:
                        · Okay.
    25     BY MS. LEEKER:


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    ·1     · ·Q.
               ·
               · Okay.
                 ·  · Mr. Gilbert, did Mr. Cloth ev
    ·2     you that he needed money back from any
    ·3     projects to pay Mr. Harris and his enti
    ·4     specifically?
    ·5     · ·A.
               ·
               · No.
                 ·
    ·6     · ·Q.
               ·
               · And
                 ·   how regularly did you provide
    ·7     with sales updates?
    ·8     · ·A.
               ·
               · Somebody
                 ·        from our
                                · Depending
                                    group.  on the
    ·9     time of year and which projects we're t
    10     like those updates would usually happen
    11     basis, but, you know, sometimes more re
    12     there was, you know, substantive news t
    13     sometimes longer -- if holidays got in
    14     give or take, monthly there would be so
    15     that would happen.
    16     · ·Q.
               ·
               · And
                 ·   would those discussions take
    17     the phone or in writing?
    18     · ·A.
               ·
               · There
                 ·     would be a little
                                       · We
                                          bit of bo
    19     would often send an update on e-mail of
    20     on, and often there would be a phone co
    21     thereafter to discuss
                          · I knowit.
                                   -- and when I sa
    22     we, it's the collective
                           · I myself
                                   we.may not have
    23     been on those discussions.
    24     · ·Adam
               ·   Davis, who at the time was our
    25     senior business affairs counsel in-hous


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    ·1     the time, he used to do like a weekly c
    ·2     of the Creative Wealth team members and
    ·3     things.
               · Separately, Jason over the years g
    ·4     many of my team members, so he would ve
    ·5     reach out directly to others.
    ·6     · ·But
               ·  very often there would be a week
    ·7     monthly or monthly-plus kind of update,
    ·8     depending where we were in the producti
    ·9     · ·Q.
               ·
               · When
                 ·    Creative Wealth sent BRON mo
    10     it earmarked for a specific project eac
    11     · ·A.
               ·
               · Each
                 ·    time it was always earmarked
    12     specific project.
                     · One of the challenges that
    13     faced, BRON as a company, with Creative
    14     overall is that if Creative Wealth was
    15     project for $100, as an example, the pr
    16     often show up as $20, $25, $3, $18, unt
    17     that $100.
    18     · ·So
               · what we ended up having, we had a
    19     understanding in place with Creative We
    20     Finance, and there was documentation be
    21     companies about this is -- that essenti
    22     allowed to sort of -- monies would come
    23     production, but we were able to use the
    24     the other Creative Wealth productions,
    25     may have needed that
                           · And money.
                                  then we would


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    ·1     true-up everything well before producti
    ·2     completed.
    ·3     · ·That
               ·   was very normal for us over the
    ·4     projects that we did together, just bec
    ·5     nature of how Creative Wealth
                                   · It was
                                         funded
                                            very it
    ·6     rarely ever funded
                           · So
                              inwe
                                 full.
                                   had to sort of
    ·7     manage dollars that came in to make sur
    ·8     different productions were all getting
    ·9     paid.
    10     · ·Q.
               ·
               · So
                 ·  would there be an a Creative W
    11     bucket that money would go into, like f
    12     projects?
    13     · ·A.
               ·
               · Not
                 ·   exactly.
                        · So if money came into, l
    14     say, whatever BRON -- whatever -- whate
    15     If the money came into that project, we
    16     to that production; then we would inter
    17     show where the monies went, and we woul
    18     cross-reference back and then reconcile
    19     everything was closed in totality.
    20     · ·Because
               ·      in order for us to deliver a
    21     have to have the show audited, right, s
    22     delivery has to make sure that all thos
    23     are managed and dealt with and signed o
    24     auditor.
                · So before we ever delivered any s
    25     make sure everything got trued up and t


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    ·1     money, everything that was needed for t
    ·2     there.
               · I don't believe, per se, there was
    ·3     treasury account.
                     · I don't think.
                                · Essentially, there
    ·4     was just an understanding that as monie
    ·5     they would be used to manage whatever w
    ·6     the short term, and then they would be
    ·7     · ·CW
               · was -- or Creative Wealth Media F
    ·8     our only funder on many of those produc
    ·9     were dealing with one entity and had th
    10     understanding.
    11     · ·Q.
               ·
               · Were
                 ·    there any requirements for t
    12     Creative Wealth funds on
                                  · In
                                     each
                                       other
                                          project?
    13     words, did Creative Wealth put specific
    14     the money for, for example, Monkey Man
    15     for specifically within Monkey Man?
    16     · ·A.
               ·
               · No,
                 ·   not specifically within Monke
    17     They would have committed on a producti
    18     production would have provided
                                   · And the
                                          a budget
    19     monies that came into a production woul
    20     towards covering that
                             · If they
                                  budget.
                                       were
    21     temporarily used to cover a budget on a
    22     Creative Wealth production, again, ther
    23     be reconciliation done for delivery to
    24     every project had exactly what was need
    25     dollar.


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    ·1     · ·Q.
               ·
               · Would
                 ·     funds that came from Creati
    ·2     to BRON, would they ever be used for pu
    ·3     than production, preproduction, deliver
    ·4     postproduction?
    ·5     · ·A.
               ·
               · Not
                 ·   of their own -- just salary-r
    ·6     stuff associated with everything and so
    ·7     related.
                · They would be used for anything i
    ·8     regard, yes.
    ·9     · ·Q.
               ·
               · I'd
                 ·   like to just briefly go throu
    10     status of each of the
                              · I projects.
                                  know that we've
    11     touched on these four, at least Ghostbu
    12     Monkey Man, just so I can kind of have
    13     organized manner.
    14     · ·So
               · for Monkey Man, were you aware th
    15     Harris contributed $750,000 towards tha
    16     project?
    17     · ·A.
               ·
               · No,
                 ·   not initially.
                            · I was aware more
    18     recently, but not initially,
                               · We're never
                                         no. privy
    19     to who has money in the Creative Wealth
    20     projects until something goes sideways
    21     hear from them.
    22     · ·Q.
               ·
               · But
                 ·   you were -- well, so did Crea
    23     Creative Wealth made a loan to create t
    24     Monkey Man; is that right?
    25     · ·A.
               ·
               · That's
                 ·      right.


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    ·1     · ·Q.
               ·
               · And
                 ·   what is the status of this pr
    ·2     Monkey Man?
    ·3     · ·A.
               ·
               · It's
                 ·    completing delivery right no
    ·4     Netflix, but Netflix is completing a sa
    ·5     Universal.
                 · They're not going to be distribu
    ·6     movie.
               · Unfortunately, it's been a very to
    ·7     with our filmmaker on that show, and Ne
    ·8     decided they don't want ·
                                   toSosupport
                                        they'rehim.
    ·9     taking delivery, but then they have a d
    10     concluding with Universal to then distr
    11     worldwide thereafter.
    12     · ·Q.
               ·
               · Has
                 ·   Creative Wealth been paid bac
    13     the monies that it contributed to Monke
    14     · ·A.
               ·
               · I
                 · believe so, yes.
    15     · ·Q.
               ·
               · And
                 ·   I believe you previously prov
    16     date range.
                  · But do you know when that would
    17     been when Creative Wealth was paid back
    18     Man?
    19     · ·A.
               ·
               · It
                 ·  was towards the end of the sum
    20     2021.
              · I believe you should have ·
                                          those
                                            If  doc
    21     you don't, I'm sure they can be availab
    22     · ·Q.
               ·
               · Do
                 ·  you recall how much Creative W
    23     paid back for the project Monkey Man?
    24     · ·A.
               ·
               · The
                 ·   budget itself was gross 12, n
    25     10, I believe.
                    · So I think they would have be


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    ·1     back the entirety of the loan that they
    ·2     interest.
                · I do think they may have receive
    ·3     additional money on ·
                               top
                                 But of
                                      I don't
                                        that. have
    ·4     the exact number off my head.
    ·5     · ·Q.
               ·
               · I'm
                 ·   going to just pull up a docum
    ·6     quickly.
                · Might help refresh your· Let
                                           recollect
    ·7     me know once you review, and if you wou
    ·8     scroll so you can --
    ·9     · ·A.
               ·
               · So
                 ·  this is the payoff letter you
    10     referencing.
    11     · ·Q.
               ·
               · Okay.
                 ·  · So where in the payoff letter
    12     find the amount that was paid off.
    13     · ·A.
               ·
               · You
                 ·   scroll down a little bit.
    14     · ·Q.
               ·
               · Yes.
                 ·
    15     · · · ·
                 MR.
                   · BAZIAN:
                        · Kelsey, was this document
    16     · ·produced
               ·       in this case?
    17     · · · ·
                 MS.
                   · LEEKER:
                        · Yes.
                            · It was produced by Ad
    18     · ·Davis.
               ·
    19     · · · ·
                 THE
                   · WITNESS:
                        · Davids.
    20     · · · ·
                 MS.
                   · LEEKER:
                        · Davids, thank you.
    21     · · · ·
                 THE
                   · WITNESS:
                        · No problem.
    22     · · · ·
                 MR.
                   · BAZIAN:
                        · It was produced by Adam
    23     · ·Davids,
               ·      you said?
    24     · · · ·
                 MS.
                   · LEEKER:
                        · Yes.
                            · Pursuant to the
    25     · ·subpoena.
               ·


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    ·1     · · · ·
                 MR.
                   · BAZIAN:
                        · Was that document sent to
    ·2     · · · ·
                 THE
                   · WITNESS:
                        · Sorry?
    ·3     · · · ·
                 MS.
                   · LEEKER:
                        · I'm not ·
                                  sure.
                                    I can check on
    ·4     · ·that
               ·   and send it to you if it wasn't
    ·5     · · · ·
                 MR.
                   · BAZIAN:
                        · I don't recall receiving
    ·6     · ·So
               · I mean, I guess it's possible tha
    ·7     · ·it,
               ·  but I think I would have
                                      · I'm noticed
    ·8     · ·just
               ·   going to, you know, object to t
    ·9     · ·that
               ·   it hasn't been produced, and I
    10     · ·an
               · opportunity to review this docume
    11     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
    12     · · · ·
                 THE
                   · WITNESS:
                        · Looks like that's the pa
    13     · ·amount.
               ·  · I can't confirm that ·100
                                          It  perce
    14     · ·looks
               ·    like that's ·
                                the
                                  And amount.
                                       I think I saw
    15     · ·earlier
               ·      that Jason had signed off on
    16     · ·know,
               ·    confirming the receipt of doll
    17     BY MS. LEEKER:
    18     · ·Q.
               ·
               · So
                 ·  this page of the document is p
    19     well, it's labeled schedule two,
                                        · It payoff
    20     states, as you see herein, the payoff a
    21     mean $9,932,617.10.
    22     · ·Does
               ·   this refresh your recollection
    23     much Creative Wealth was paid back for
    24     Monkey Man?
    25     · ·A.
               ·
               · It's
                 ·    in that· Again,
                               range. if that's wha


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    ·1     it sates, then I'm sure that's the numb
    ·2     · ·Q.
               ·
               · Okay.
                 ·  · And the date of this document
    ·3     is called a payoff letter, addressed to
    ·4     Wealth Media Finance and Comerica Bank,
    ·5     this letter is July
                             · Do
                                23,
                                  you
                                    2021.
                                      see that?
    ·6     · ·A.
               ·
               · Yes.
                 ·
    ·7     · ·Q.
               ·
               · Does
                 ·    that refresh your recollecti
    ·8     when approximately Creative Wealth was
    ·9     · ·A.
               ·
               · I
                 · said end of· summer.
                                Probably August.
                                          · If
    10     this letter came in July, likely money
    11     moved shortly thereafter.
                          · So likely would have be
    12     August of 2021.
    13     · ·Q.
               ·
               · Okay.
                 ·  · And are you aware of what Jas
    14     Cloth did with this approximately $9 mi
    15     was given back to him, given back to Cr
    16     for the project Monkey Man?
    17     · ·A.
               ·
               · I
                 · believe there was direction giv
    18     counsel to move it to Warner Brothers m
    19     don't have any more detail
                                  · I'm than
                                         not sure.
                                             that.
    20     · ·Q.
               ·
               · Direction
                 ·         given to who?
    21     · ·A.
               ·
               · One
                 ·   of the -- like somebody
                                       · He  at BR
    22     was -- there was direction to us from J
    23     the monies that were due to him to a Wa
    24     matter, and he was to deal with these d
    25     directly, is what we were told, that he


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    ·1     manage this.
                  · If I recall at ·
                                   the
                                     But time.
                                          I don't
    ·2     really -- this was all dealt with throu
    ·3     counsel.
                · I don't remember exactly what tha
    ·4     like.
    ·5     · ·Q.
               ·
               · And
                 ·   just so I understand.
                                · You said I think
    ·6     two different· things.
                          One that it was directed
    ·7     to Warner Brothers matter, and two that
    ·8     to him to deal with individually.
    ·9     · ·A.
               ·
               · Sorry.
                 ·   · No.
                         · I didn't say the latter.
    10     said the former one, which is that CW w
    11     due these moneys, and these funds would
    12     Creative Wealth.
                     · And Jason directed the monie
    13     to manage a Warner matter, but I don't
    14     details of that, nor how he was plannin
    15     to his clients.
                    · I don't have any of that deta
    16     · ·Q.
               ·
               · Do
                 ·  you know who would have the de
    17     that Warner Brothers matter and the dir
    18     those funds to the Warner Brothers matt
    19     · ·A.
               ·
               · Our
                 ·   counsel would ·have
                                    It's that.
                                         possible
    20     Adam Davids, who may be on this call, m
    21     that ·
                is.
                  But if not, I would hope that we
    22     that in our records, if you don't have
    23     information.
    24     · ·Q.
               ·
               · As
                 ·  to the project Young Bear Gryl
    25     you aware Mr. Harris contributed 1 mill


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    ·1     towards that project?
    ·2     · ·A.
               ·
               · No.
                 ·
    ·3     · ·Q.
               ·
               · Were
                 ·    you aware he contributed any
    ·4     · ·A.
               ·
               · I
                 · learned well after the fact but
    ·5     · ·Q.
               ·
               · That's
                 ·      right.
                         · You said you're not priv
    ·6     who contributes to the Creative Wealth
    ·7     of the projects; correct?
    ·8     · ·A.
               ·
               · Correct.
                 ·
    ·9     · ·Q.
               ·
               · What
                 ·    is the status of the project
    10     Bear Grylls?
    11     · ·A.
               ·
               · The
                 ·   Young Bear Grylls, similar to
    12     was unfortunately underfunded.
                             · Got stalled in the
    13     production.
                  · First of two movies is pretty m
    14     completed, and the second movie is tryi
    15     completed shortly ·
                             thereafter.
                               And I know that Sand
    16     Schmidt has been working with the produ
    17     film, Nigel Stone, to help him get some
    18     order to finish off the shows.
    19     · ·But
               ·  the financing that was provided
    20     Wealth to Young Bear Grylls was not suf
    21     for them to finish ·
                              the
                                They
                                   funding.
                                     were
    22     underfunded by around 2 million plus, a
    23     unfortunately that stalled the completi
    24     shows.
    25     · ·Q.
               ·
               · Was
                 ·   Creative Wealth the sole fund


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    ·1     Young Bear Grylls?
    ·2     · ·A.
               ·
               · Yes.
                 · · They were.
                           · Pardon ·me.
                                     Minus tax
    ·3     credits, that were in turn financed out
    ·4     So there was some interim financing of
    ·5     touch credits in UK, but I believe othe
    ·6     they funded the balance.
    ·7     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · And I'd like to just
    ·8     · ·mark
               ·   this document on the screen, th
    ·9     · ·letter,
               ·      the July 23, 2021 payoff let
    10     · ·Exhibit
               ·    · And
                       8. I'll take it off the scre
    11     · · · ·
                 (Exhibit
                   ·      8 was marked.)
    12     BY MS. LEEKER:
    13     · ·Q.
               ·
               · So
                 ·  you said that Young Bear Gryll
    14     underfunded, and that Creative Wealth w
    15     funder, minus the tax credits
                                   · Was it
                                         in the UK
    16     typical that Creative Wealth projects -
    17     Creative Wealth was the sole source of
    18     typical for those projects to be underf
    19     · ·A.
               ·
               · I
                 · wouldn't say·typical.
                                I wouldn't go as
    20     far to say typical.
                       · It definitely happened ove
    21     last few years.
                    · I think things arrived a litt
    22     late but arrived.
                     · In the last few years of CO
    23     all, and obviously the company's relati
    24     changed dramatically.
                        · We haven't done any busin
    25     with them since
                        · But
                            2021.
                              over the last several


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    ·1     years was definitely more normal to see
    ·2     · ·Q.
               ·
               · Do
                 ·  you have an estimate as to how
    ·3     times there was a film that was underfu
    ·4     Creative Wealth?
                     · Was it more than five?
    ·5     · ·A.
               ·
               · I
                 · think so, yes.
    ·6     · ·Q.
               ·
               · Was
                 ·   it more than ten?
    ·7     · ·A.
               ·
               · I
                 · don't think so.
    ·8     · ·Q.
               ·
               · Okay.
                 ·  · So between five and ten?
    ·9     · ·A.
               ·
               · I
                 · believe so.
    10     · ·Q.
               ·
               · Okay.
                 ·  · You said that the businesses
    11     BRON stopped doing business with Creati
    12     about 2021.
    13     · ·A.
               ·
               · Yes.
                 ·
    14     · ·Q.
               ·
               · Why
                 ·   was that?
    15     · ·A.
               ·
               · Let's
                 ·     just say that, you know, th
    16     underfunded.
                  · There's a lot of tension that
    17     happening between the
                               · Jason
                                  companies.
                                       had announce
    18     to us his interest to do other things a
    19     relationship with another
                               · And that's
                                      party.when a
    20     lot of the noise started happening arou
    21     the private investors, Robert included,
    22     became too evident that there was a lot
    23     here.
    24     · ·So
               · we just -- it didn't make sense f
    25     party to continue.
                      · We didn't do anything with


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    ·1     Creative Wealth Media Finance from that
    ·2     think it was March, I believe
                                    · I believe
                                          March 202
    ·3     around that time was the
                                · Maybe
                                    lastthe
                                         deal.
                                            summer
    ·4     of 2021, forgive
                       · It was
                             me. around that
                                         · But time.
    ·5     up until that we were involved with the
    ·6     which was Creative Wealth Media Lending
    ·7     believe is the first time we saw any mo
    ·8     Creative Wealth entity since that summe
    ·9     · ·Q.
               ·
               · And
                 ·   when did you see money from C
    10     Wealth Lending?
    11     · ·A.
               ·
               · Well,
                 ·     they are the DIP lender, so
    12     process in Canada began that funded tha
    13     the DIP lender was Creative Wealth Medi
    14     · ·Q.
               ·
               · I
                 · understand.
                         · Okay.
                              · As to Fables, what
    15     the status of this project?
    16     · ·A.
               ·
               · It's
                 ·    almost completed.
                              · But unfortunately
    17     it's not completed.
                       · It's sort of sitting right
    18     on a shelf, and it's part of the assets
    19     being credited against the various
                                         · So BRON
    20     right now it's sitting.
    21     · ·My
               · hope is that once all the court s
    22     with BRON and the process of the sale i
    23     that there's as conversation to have ab
    24     the property out and getting it complet
    25     third party.
                  · I have several third parties w


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    ·1     interested in
                       · But
                          that.
                             as it stands right now
    ·2     we're waiting for the BRON process to b
    ·3     · ·Q.
               ·
               · So
                 ·  Creative Wealth was an investo
    ·4     Fables; is that correct?
    ·5     · ·A.
               ·
               · Other
                 ·     than tax credits, they're t
    ·6     investor in Fables.
    ·7     · ·Q.
               ·
               · Was
                 ·   this project underfunded?
    ·8     · ·A.
               ·
               · No.
                 ·
    ·9     · ·Q.
               ·
               · And
                 ·   has Creative Wealth, at any t
    10     paid back any money for the project Fab
    11     · ·A.
               ·
               · Not
                 ·   yet.
                      · It hasn't been completed ye
    12     · ·Q.
               ·
               · As
                 ·  to the project Gossamer, what
    13     status of this project.
    14     · ·A.
               ·
               · A
                 · little further behind in the pr
    15     process.
                · But the Gossamer business model w
    16     little different than
                             · There's
                                  Fables.
                                       been two
    17     levels of Gossamer game launched into t
    18     universe through Epic Games, so that is
    19     Those two levels are there now.
    20     · ·And
               ·  the business model around that p
    21     to get those -- get the assets, get the
    22     the Fortnite world and build up the NFT
    23     build up the music, and build up some o
    24     products before we go to market with th
    25     · ·The
               ·  film , the selling market around


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    ·1     very competitive ·right
                              So we now.
                                     wanted to have
    ·2     lot of irons in the proverbial fire bef
    ·3     a broadcast ore distributor with it for
    ·4     show a lot of awareness and branding an
    ·5     of it.
    ·6     · ·So
               · it's launched -- two levels on th
    ·7     game are launched into
                               · The
                                   Fortnite.
                                     movie is about
    ·8     50, 60 percent completed.
                          · There was an NFT launch
    ·9     that took place, as we talked about ear
    10     there were active music
                                 · We
                                    initiatives.
                                      had a deal
    11     with Monarch Music, which is formerly E
    12     recording deal with Timbaland to over s
    13     · ·So
               · all the pieces had to come togeth
    14     status of the production for the film i
    15     probably about somewhere between 30 and
    16     to maybe a little bit more, to complete
    17     · ·Q.
               ·
               · So
                 ·  Creative Wealth provided finan
    18     Gossamer; is that correct?
    19     · ·A.
               ·
               · They
                 ·    did.
                      · But not -- unfortunately,
    20     all of the financing.
    21     · ·Q.
               ·
               · Was
                 ·   this project underfunded?
    22     · ·A.
               ·
               · It
                 ·  was.
    23     · ·Q.
               ·
               · And
                 ·   was Creative Wealth the sole
    24     · ·A.
               ·
               · They
                 ·    were.
    25     · ·Q.
               ·
               · --
                 ·  funder .


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    ·1     · ·A.
               ·
               · Yes.
                 · · Other than tax credits they w
    ·2     · ·Q.
               ·
               · Other
                 ·     than tax credits.
    ·3     · ·Is
               · the way the agreements between Cr
    ·4     Wealth and BRON were set up, is it so t
    ·5     Wealth would be paid back from the sale
    ·6     NFTs, as well as from the film?
    ·7     · ·A.
               ·
               · Revenue
                 ·       from NFTs would typically
    ·8     waterfall because there was a breach, m
    ·9     the money hadn't been in place in full
    10     the show.
                · The NFT revenues were used just
    11     continue getting the show completed.
    12     · ·But
               ·  in a normal situation, had the s
    13     properly funded,
                        · They
                             yes.
                               would have -- those
    14     monies, any revenues sitting outside wo
    15     to the waterfall, to the benefit of all
    16     But, again, we had the approval of CW t
    17     the budget because we needed to, and it
    18     underfunded at the time.
    19     · ·Q.
               ·
               · So
                 ·  has Creative Wealth been paid
    20     monies for the project Gossamer from NF
    21     other source?
    22     · ·A.
               ·
               · No,
                 ·   not yet.
    23     · ·Q.
               ·
               · Bubbles,
                 ·        what is the status of th
    24     Bubbles?
    25     · ·A.
               ·
               · For
                 ·   a 100 percent accurate answer


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    ·1     need to talk to Ken Faier of ·Epic
                                         For  Story
    ·2     the last six months, I haven't been rea
    ·3     candidly, so I'm· not
                             I believe
                                 sure. that the
    ·4     production is completed or being comple
    ·5     · ·I·do know that, I believe, on one of
    ·6     not both -- some of the airing of certa
    ·7     already started in Asia, and I do know
    ·8     and his team, has a very special team,
    ·9     sales, so they may have started to deli
    10     markets.
    11     · ·I·just don't know about the stage to
    12     I'm not sure.
    13     · ·Q.
               ·
               · And
                 ·   Creative Wealth funded Bubble
    14     correct?
    15     · ·A.
               ·
               · They
                 ·    did.
                      · They did.
                              · They funded that
    16     particular project directly.
    17     · ·Q.
               ·
               · Directly
                 ·        with Epic?
    18     · ·A.
               ·
               · They,
                 ·     meaning it went directly in
    19     production.
                  · Wasn't a BRON production contro
    20     Epic Story ·Media.
                        It wasn't a BRON-produced s
    21     Same thing with Haley and the Hero Hear
    22     · ·Q.
               ·
               · Was
                 ·   Creative Wealth the sole sour
    23     funds for Bubbles, if you know?
    24     · ·A.
               ·
               · Yes,
                 ·    they ·were.
                            Outside of tax credits,
    25     yes.


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    ·1     · ·I'm
               ·  sorry.
                    · Excuse ·me.
                              That's not accurate.
    ·2     Pardon me.
    ·3     · ·There
               ·    was a Chinese partner in place
    ·4     both of those shows that did contribute
    ·5     financing to the
                          · I'm
                             budget.
                                sorry.
                                  · I just don't
    ·6     have that info on the top
                                  · They're
                                      of my head.
    ·7     definitely in the financing plan, which
    ·8     for you, definitely had money from tax
    ·9     also from, I believe it was, a Chinese
    10     invested, I believe, X amount of the sh
    11     acquired, I believe, certain distributi
    12     China for their investment in the show.
    13     · ·Q.
               ·
               · To
                 ·  the extent that you know, was
    14     underfunded?
    15     · ·A.
               ·
               · It
                 ·  was.
    16     · ·Q.
               ·
               · Even
                 ·    with the Chinese partner?
    17     · ·A.
               ·
               · Correct.
                 ·    · If the Chinese partner deli
    18     their portion, the amount that Creative
    19     accumulated was underfunded.
    20     · ·Q.
               ·
               · Okay.
                 ·  · Which means the project as a
    21     was underfunded; is that right?
    22     · ·A.
               ·
               · Yes.
                 ·
    23     · ·Q.
               ·
               · Has
                 ·   Creative Wealth been paid bac
    24     monies from the project Bubbles?
    25     · ·A.
               ·
               · No.
                 · · The shows have not -- I don't


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    ·1     so, no.
    ·2     · ·Q.
               ·
               · Right.
                 ·   · To the best of your knowledg
    ·3     · ·A.
               ·
               · Yes.
                 ·
    ·4     · ·Q.
               ·
               · And
                 ·   you touched on this, Haley an
    ·5     Hearts was similarly an Epic Studios
                                        · Did   pr
    ·6     Creative Wealth also pay the production
    ·7     Haley and the Hero Hearts?
    ·8     · ·A.
               ·
               · Yes,
                 ·    they funded.
                           · There was a deal in
    ·9     place directly with the production comp
    10     show, and unfortunately it was also und
    11     · ·Q.
               ·
               · What
                 ·    is the status of Haley and t
    12     Hearts?
    13     · ·A.
               ·
               · I
                 · think similar to
                                 · Ken
                                    Bubbles.
                                       Faier has
    14     done his best to finance that or the op
    15     hole in the production cycle through th
    16     revenues from other
                           · I think
                               things.
                                     they've
    17     continued the financing
                             · So I of
                                     don't
                                       it. know
    18     exactly.
    19     · ·We
               · can get an update from them, whic
    20     hard to do, but I assume that they're m
    21     into certain markets and the sales cont
    22     around the ·world.
                        I'm not sure.
    23     · ·Q.
               ·
               · To
                 ·  the best of your knowledge, ha
    24     Wealth been paid back any monies that i
    25     to Haley and the Hero Hearts?


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    ·1     · ·A.
               ·
               · I
                 · don't believe
                             · Because
                                  so.  I think
    ·2     there's still that open issue of underf
    ·3     has to be addressed.
    ·4     · ·Q.
               ·
               · Is
                 ·  it correct to say that if a pr
    ·5     underfunded, that Creative Wealth would
    ·6     back until the project was fully funded
    ·7     · ·A.
               ·
               · Yes.
                 · · Because you need to fully fun
    ·8     project in order to deliver a project.
    ·9     · ·Q.
               ·
               · So
                 ·  any revenues that an underfund
    10     makes goes back into the production, so
    11     complete the project; is that right?
    12     · ·A.
               ·
               · That's
                 ·      how it was
                                · Yes.
                                    set up.
    13     · ·I·want to be ·
                           careful.
                             I don't know exactly h
    14     Epic Story Media did that, so we have t
    15     Faier to get an exact breakdown of how
    16     projects worked.
    17     · ·Q.
               ·
               · And
                 ·   then we discussed earlier the
    18     Pathway, and I believe that you said th
    19     had been ·
                    made.
                      But what is the status now as
    20     Pathway?
    21     · ·A.
               ·
               · Pathway,
                 ·        unfortunately, is dead,
    22     I don't know how it gets revived
                                        · The at thi
    23     nature of the show is that it was follo
    24     players as they were in their first sea
    25     Ignite in the G League and heading towa


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    ·1     draft.
               · So the show crescendoed around the
    ·2     see which of these players would have g
    ·3     drafted.
                · Season one was, as mentioned, Jal
    ·4     and others, Daishen Nix, who was a star
    ·5     State, and others was a very good year.
    ·6     · ·But
               ·  we had done a deal with TNT, whi
    ·7     by the Warner Media
                           · Warner
                                world.
                                    Media and
    ·8     Discovery merged a year ·
                                   and
                                     Andanot
                                          half ago.
    ·9     dissimilar to what happened to us on so
    10     shows, we had major issues getting thin
    11     there.
               · In fact, Epic Story Media had one
    12     shows cancelled there, as well.
    13     · ·There
               ·    was a, sort of, a freeze order
    14     acquisitions, any new commissions out o
    15     group for months and months
                                   · Andand months.
    16     unfortunately, you know, we kept hearin
    17     coming, the deal was coming, ·and
                                         And it nev
    18     the show basically became dated.
    19     · ·We
               · self-financed a second
                                  · BRON season.
                                         put up
    20     its own money to finance the production
    21     second season.
                    · So we shot the·footage.
                                     We did not
    22     -- we were hoping still to have that TN
    23     and shot the footage hoping that if we
    24     deal-- a risk on our part, but shot the
    25     knowing that if we closed off with TNT,


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    ·1     able to make that second season,
                                    · Delayedas wel
    ·2     and delayed, so we never ended up editi
    ·3     footage.
    ·4     · ·For
               ·  that footage, the second season
    ·5     completed, there would still be monies
    ·6     so, but unfortunately so much time has
    ·7     all dated· Probably
                      now.     a small place for th
    ·8     content to go
                       · Like
                          into.
                              AVOD or SVOD kind of
    ·9     and make a little bit
                              · But
                                  of it's
                                      money.
                                          not really
    10     in place to kind of earn the revenues w
    11     because unfortunately the clock never s
    12     · ·Q.
               ·
               · So
                 ·  if I wanted to go watch season
    13     season two of Pathway, I would not be a
    14     that right?
    15     · ·A.
               ·
               · No.
                 · · Right now you can find it on n
    16     and YouTube.
    17     · ·Q.
               ·
               · Is
                 ·  that just season one?
    18     · ·A.
               ·
               · Just
                 ·    season
                           · Season
                              one.  two was never
    19     completed.
                 · And season one is two
                                      · They
                                          specials.
    20     were seven episodes originally shot, bu
    21     to receive it as two edited down episod
    22     and that's what's available.
    23     · ·Q.
               ·
               · Did
                 ·   Creative Wealth receive any m
    24     from Pathway?
    25     · ·A.
               ·
               · No.
                 ·


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    ·1     · ·Q.
               ·
               · And
                 ·   then finally, Ghostbusters Af
    ·2     unlike some of the projects in this cas
    ·3     Ghostbusters Afterlife actually was del
    ·4     released two years ago; is that right?
    ·5     · ·A.
               ·
               · Yes.
                 ·
    ·6     · ·Q.
               ·
               · And
                 ·   the project was released in N
    ·7     2021; is that correct?
    ·8     · ·A.
               ·
               · Sounds
                 ·      right.
                         · I don't remember the exa
    ·9     date.
              · But that sounds right.
    10     · ·Q.
               ·
               · And
                 ·   when was this film actually s
    11     edited?
               · When was this film made, Ghostbust
    12     · ·A.
               ·
               · 2019.
                 ·  · And it was delivered -- I thi
    13     was delivered end of 2019
                                   · Film
                                     or early
                                          was 2020
    14     supposed to come out, I believe, July o
    15     because of COVID, it got pushed until t
    16     year.
    17     · ·Q.
               ·
               · And
                 ·   Ghostbusters was a theatrical
    18     is that right?
    19     · ·A.
               ·
               · Correct.
                 ·
    20     · ·Q.
               ·
               · And
                 ·   it was successful, you made m
    21     Ghostbusters; correct?
    22     · ·A.
               ·
               · We
                 ·  haven't received any money, bu
    23     was money earned on Ghostbusters.
                               · Yes.
                                   · Hard for me
    24     to say successful because the movie sho
    25     6, 700 million dollars, and it does 200


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    ·1     because of COVID and people not attendi
    ·2     So yes, the money, the project earned e
    ·3     recoup its investment and make a return
    ·4     wouldn't put it in the successful
                                     · Should categ
    ·5     have done five times that amount.
    ·6     · ·Q.
               ·
               · You
                 ·   said that it earned enough to
    ·7     its investment, but BRON hadn't
                                      · Why receive
    ·8     hadn't BRON received any money?
    ·9     · ·A.
               ·
               · Tied
                 ·    up in litigation around Ghos
    10     of other individuals also looking for p
    11     in that particular
                          · Where,
                               movie.
                                   again, our
    12     understanding was it was funded
                                    · So notby LIUN
    13     privy to what happened between Creative
    14     Lending and Media Finance, ·
                                      including
                                        There   Ro
    15     was a litigation that started around th
    16     others that delayed· everything.
                                Everything got held
    17     · ·Q.
               ·
               · So
                 ·  going back, you mentioned that
    18     Ghostbusters was delivered in late 2019
    19     2020; is that right?
    20     · ·A.
               ·
               · I
                 · believe so, yeah.
    21     · ·Q.
               ·
               · Were
                 ·    you aware that Robert Harris
    22     in this project in late 2019?
    23     · ·A.
               ·
               · No,
                 ·   not at
                          · As
                             all.
                               mentioned, we didn't
    24     know any private money was in that proj
    25     · ·Q.
               ·
               · Is
                 ·  there a reason that a film wou


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    ·1     still seeking investors at the time tha
    ·2     this time that it was delivered?
    ·3     · ·A.
               ·
               · I
                 · don't see why ·it
                                  Thewould.
                                      only thing I
    ·4     would say is depending -- and I don't r
    ·5     exact -- let me rephrase that.
    ·6     · ·No.
               ·· CW would have funded full well be
    ·7     I'm not ·
                   sure.
                     But as I mentioned, I'm not pr
    ·8     how Creative Wealth Media Finance and M
    ·9     operate.
                · Perhaps Media Lending was trying
    10     just don't· Maybe
                       know. they were trying to of
    11     some of the·money.
                       I don't know.
    12     · ·But
               ·  I don't know why any new money w
    13     the production because it
                                   · But
                                     was I
                                         completed
                                           don't
    14     know behind the scenes of the CW, what
    15     been involved
                     · I'm
                         in.
                           not sure.
    16     · ·Q.
               ·
               · I
                 · appreciate
                            · Let
                               that.
                                  me ask a better
    17     question.
                · I think that's my fault.
    18     · ·So
               · you said that -- so Ghostbusters
    19     funding.
                · When did Ghostbusters complete it
    20     as far as your understand?
    21     · ·A.
               ·
               · I
                 · wish I could look up the start
    22     that show.
                 · It would have completed funding
    23     began or early on in the production
                                      · So     pro
    24     sometime, I would guess, in 2019, but I
    25     and should double-check that.


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    ·1     · ·Q.
               ·
               · Thank
                 ·     you.
                       · Was BRON specifically seek
    ·2     funding at the end of 2019 for Ghostbus
    ·3     · ·A.
               ·
               · BRON,
                 ·     no.
    ·4     · ·Q.
               ·
               · So
                 ·  to the extent you're aware, Gh
    ·5     did not need any more funding in late 2
    ·6     2020?
    ·7     · ·A.
               ·
               · Not
                 ·   that I'm aware.
    ·8     · ·Q.
               ·
               · And
                 ·   we discussed this previously,
    ·9     Creative Wealth Lending was paid back a
    10     monies that it contributed to Ghostbust
    11     correct?
    12     · ·A.
               ·
               · I'm
                 ·   not positive they've gotten b
    13     their money yet because of the legal is
    14     surrounding, and the monies were direct
    15     sheriff's accounts, and some of those m
    16     pulled.
               · So I know there's been money that
    17     received.
                · That would have ·
                                  done
                                    But that.
                                        I'm not
    18     privy if on their books, if
                                     · I they
                                          don't
                                              recoup
    19     know.
    20     · ·Q.
               ·
               · Is
                 ·  it fair to say that some money
    21     to Creative Wealth Lending from Ghostbu
    22     · ·A.
               ·
               · 100
                 ·   percent.
    23     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · Can we take a
    24     · ·five-minute
               ·          break to check my notes
    25     · ·sure
               ·   I have everything, and unless I


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    ·1     · ·something,
               ·         I'll wrap up.
    ·2     · · · ·
                 MR.
                   · BAZIAN:
                        · Great.
    ·3     · · · ·
                 Why
                   · don't we ·do
                               I was
                                  ten.
                                     going to ask
    ·4     · ·for
               ·  a break in ·between.
                              Might as well do that
    ·5     · ·now.
               ·
    ·6     · · · ·
                 (Brief
                   ·    recess was taken at 3:17 p
    ·7     · · · ·
                 (Back
                   ·   on the record at 3:33 p.m.)
    ·8     · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · Mr. Gilbert, just two
    ·9     · ·more
               ·   questions.
    10     BY MS. LEEKER:
    11     · ·Q.
               ·
               · So
                 ·  as to Ghostbusters, has BRON r
    12     money recoupment of Ghostbusters?
    13     · ·A.
               ·
               · No.
                 · · As mentioned, the monies that
    14     in for that, those monies were -- there
    15     money come through, but it still hasn't
    16     Creative Wealth, I believe,
                                 · We have
                                        in full.
                                           not --
    17     let me back up.
    18     · ·BRON
               ·   has not received any dividends
    19     royalties from Ghostbusters because of
    20     around it and everything that was locke
    21     up because of the different lawsuits an
    22     sheriff's office that ·
                                 were
                                   So I've
                                       involved.
                                           not --
    23     as I mentioned earlier, I'm not sure if
    24     recouped in full or not because of that
    25     · ·And
               ·  if they are not recouped in full


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    ·1     wouldn't have seen any
                                · Right.
                                  dollars
                                      · The yet.
                                            way
    ·2     that BRON worked in that situation is t
    ·3     venture between BRON and Creative Wealt
    ·4     percent of the participation
                                      · So
                                         on CW,
                                             those s
    ·5     they're lender, LIUNA, in this case, wo
    ·6     recouped their money in full
                                     · Once
                                         with inter
    ·7     they recouped their money in full with
    ·8     the other profit of every dollar that c
    ·9     would get to· So
                         split.
                            50 cents to BRON, 15 ce
    10     Creative Media Finance, and that has no
    11     · ·Q.
               ·
               · So
                 ·  you said that Creative Wealth
    12     has received money back; is that correc
    13     · ·A.
               ·
               · Yes.
                 ·
    14     · ·Q.
               ·
               · Do
                 ·  you know if it's more than $5
    15     · ·A.
               ·
               · Oh,
                 ·   it is for sure.
    16     · ·Q.
               ·
               · Do
                 ·  you know if it is more than $1
    17     · ·A.
               ·
               · I
                 · believe so, but I'm
                                    · I not
                                        think
                                            sure.
                                              --
    18     again, these are very easy to get numbe
    19     but I don't have them privy.
    20     · ·Q.
               ·
               · Okay.
                 ·  · I understand.
                              · Then BRON owns a
    21     percentage of Epic Story Media; is that
    22     · ·A.
               ·
               · BRON
                 ·    Ventures owns 25 percent of
    23     Media; correct.
                    · Or it -- it did until this pr
    24     Those assets, like all of our assets, a
    25     · ·Q.
               ·
               · So
                 ·  I understand.
                           · So the status is that


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    ·1     BRON, at the time it went into bankrupt
    ·2     percent of Epic Media, Epic Story Media
    ·3     right?
    ·4     · ·A.
               ·
               · That's
                 ·      right.
    ·5     · · · ·
                 MS.
                   · LEEKER:
                        · Thank you.
                                · I don't have any
    ·6     · ·further
               ·      questions at this time, pend
    ·7     · ·line
               ·   of question.
    ·8     · · · ·
                 MR.
                   · BAZIAN:
                        · Good afternoon, Mr. Gilbe
    ·9     · ·My
               · name is Samuel Bazian from Herric
    10     · ·I·represent Creative Wealth Media Fi
    11     · ·and
               ·  Jason Cloth in this action.
    12     · · · ·
                 I ·
                   do not have very many questions
    13     · ·but
               ·  I'll tell you upfront, I'm hopin
    14     · ·minutes
               ·      or
                       · I'm
                          so.going to show you four
    15     · ·documents
               ·        so I don't have
                                      ·Ia just
                                          lot for
    16     · ·want
               ·   to tell you that right off the
    17     · · · · · CROSS-EXAMINATION
                     · · ·
    18     BY MR. BAZIAN:
    19     · ·Q.
               ·
               · I
                 · believe earlier you had testifi
    20     you had never had a call with Jason Clo
    21     Harris.
               · Did I hear that correctly?
    22     · ·A.
               ·
               · I
                 · said I don't recall having a ca
    23     them directly on a ·discussion.
                                It may have happene
    24     but I don't ·
                       recall.
                         No.
    25     · ·Q.
               ·
               · I
                 · just want to make
                                · It'ssure.
                                       possible


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    ·1     you have had such phone calls with Mr.
    ·2     Cloth, it's just you don't recall sitti
    ·3     right?
    ·4     · ·A.
               ·
               · If
                 ·  it did happen, I don't know wh
    ·5     would have happened.
                       · I only met Robert maybe tw
    ·6     years ago.
                 · And at that time, I don't think
    ·7     mess had been discovered
                             · So, again,
                                     yet. it's
    ·8     possible, but maybe Robert can help you
    ·9     I don't recall.
    10     · ·Q.
               ·
               · Did
                 ·   you have discussions directly
    11     Harris but without Mr. Cloth on the pho
    12     · ·A.
               ·
               · I
                 · had because Sandy, who worked w
    13     Creative Wealth.
                     · Sandy had reached out to me
    14     asked me to speak with his friend and c
    15     Yes.
    16     · ·Q.
               ·
               · What
                 ·    did you speak about?
    17     · ·A.
               ·
               · We
                 ·  talked about the various inves
    18     that Robert had and where they were and
    19     Pathway to others, we spoke about where
    20     and he was trying to confirm informatio
    21     received.
    22     · ·Q.
               ·
               · Did
                 ·   Mr. Harris ever express to yo
    23     felt that something was awry with his i
    24     · ·A.
               ·
               · Yes.
                 ·
    25     · ·Q.
               ·
               · And
                 ·   what do you recall about that


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     ·1    · ·A.
               ·
               · Again,
                 ·      paraphrasing it,
                                     · He but yeah.
     ·2    definitely was not happy with ·where
                                           He   thi
     ·3    hadn't received information that he was
     ·4    from CW, and he and Sandy had been told
     ·5    things that hadn't happened in the time
     ·6    they were ·told.
                      So they certainly started rea
     ·7    out to myself and my team to try to the
     ·8    information that they had heard.
     ·9    · ·Q.
               ·
               · I'm
                 ·   sorry didn't mean to cut you
     10    · ·A.
               ·
               · Just
                 ·    on the status of different
     11    productions.
                  · Yes.
     12    · ·Q.
               ·
               · Do
                 ·  you recall how long ago that p
     13    was that you're referring to?
     14    · ·A.
               ·
               · Well,
                 ·     when I met Robert and Sandy
     15    gosh, was like 2021,
                            · I don't
                                 Robert.
                                      even remember
     16    I don't remember.
                     · The initial conversations w
     17    have been shortly before a meeting that
     18    that was in California.
                         · I'm sorry.
                                 · I don't remember
     19    the date of
                     · It
                       that.
                          was sometime
                                   · I would
                                        ago.
     20    guess it's a year and a half to years a
     21    · ·Q.
               ·
               · Okay.
                 ·  · And how many times have you m
     22    Mr. Harris?
     23    · ·A.
               ·
               · In
                 ·  person, just the one time.
     24    · ·Q.
               ·
               · How
                 ·   long was that meeting for?
     25    · ·A.
               ·
               · Maybe
                 ·     45 minutes, half an hour, s


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     ·1    like that.
                 · Came and visited me at my office
     ·2    · ·Q.
               ·
               · Who
                 ·   was present at that meeting?
     ·3    · ·A.
               ·
               · Just
                 ·    one of my other BRON colleag
     ·4    with me and then Sandy
                                · That's
                                   and Robert.
                                         it.
     ·5    · ·Q.
               ·
               · Do
                 ·  you have any e-mail communicat
     ·6    Mr. Harris in advance of or after this
     ·7    · ·A.
               ·
               · I'm
                 ·   sure I do.
     ·8    · ·Q.
               ·
               · Did
                 ·   Mr. Harris, at that time, inf
     ·9    that he intended to file a lawsuit agai
     10    Wealth and Mr. Cloth?
     11    · ·A.
               ·
               · He
                 ·  definitely spoke
                                   · Yes.
                                      about it.
     12    · ·Q.
               ·
               · What
                 ·    do you recall about that?
     13    · ·A.
               ·
               · Just
                 ·    that that was an angle they
     14    looking to pursue because they haven't
     15    get the information that they were look
     16    · ·Q.
               ·
               · Did
                 ·   he ever, at that time, say to
     17    he believed he was defrauded?
     18    · ·A.
               ·
               · I
                 · don't recall having that kind o
     19    discussion.
     20    · ·Q.
               ·
               · Did
                 ·   he say that he believed there
     21    breach of contract?
     22    · ·A.
               ·
               · Again,
                 ·      I'm not sure what words we
     23    all I know is they were definitely frus
     24    timing and with clarity of information,
     25    really where the conversation mostly wa


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     ·1    · ·Q.
               ·
               · What
                 ·    is the last time that you sp
     ·2    Mr. Harris?
     ·3    · ·A.
               ·
               · It
                 ·  probably would have been just
     ·4    this legal action
                           · Istarted.
                               think I heard from h
     ·5    or heard from Sandy that this was going
     ·6    place.
               · I think that's probably the last t
     ·7    · ·Q.
               ·
               · So
                 ·  you don't believe you've spoke
     ·8    Harris in the last year; is that fair t
     ·9    · ·A.
               ·
               · I
                 · don't recall if
                                · But
                                    we if
                                        did.
                                          we did,
     10    it wasn't -- I think it was just a matt
     11    I don't think there was any specifics a
     12    legal case, if
                        · But
                          at all.
                              I don't ·
                                      recall.
                                        Because
     13    the last six months, BRON hasn't been,
     14    operational.
                  · And the many months before it
     15    being operational, basically just chaos
     16    and my team trying to get things closed
     17    · ·So
               · if we did talk, it was minor, and
     18    didn't get into a ton, but I don't reca
     19    · ·Q.
               ·
               · Have
                 ·    you ever spoken with Robert
     20    attorney, Ms. Leeker, that's on this Zo
     21    · ·A.
               ·
               · No.
                 · · I have not.
     22    · ·Q.
               ·
               · Have
                 ·    you ever --
     23    · ·A.
               ·
               · I
                 · believe she was in touch just t
     24    time for ·
                    this.
                      I don't think we had a conver
     25    outside of· I
                       that.
                         don't believe so.


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     ·1    · ·Q.
               ·
               · Have
                 ·    you ever spoken with somebod
     ·2    David Jonelis?
     ·3    · ·A.
               ·
               · I
                 · don't know that name.
     ·4    · ·Q.
               ·
               · Do
                 ·  you recall speaking with anybo
     ·5    other than Ms. Leeker, from her firm?
     ·6    · ·A.
               ·
               · No.
                 ·
     ·7    · ·Q.
               ·
               · When
                 ·    is the last time you spoke t
     ·8    Schmidt?
     ·9    · ·A.
               ·
               · Been
                 ·    several ·months.
                               I don't remember
     10    exactly, but it's been probably sometim
     11    summer.
     12    · ·Q.
               ·
               · Did
                 ·   you speak to him about Jason
     13    · ·A.
               ·
               · Sure.
                 ·
     14    · ·Q.
               ·
               · At
                 ·  that time?
     15    · ·A.
               ·
               · More
                 ·    than likely.
                           · Yeah.
                                · That was often
     16    the conversation.
     17    · ·Q.
               ·
               · Do
                 ·  you recall what you discussed?
     18    · ·A.
               ·
               · I'm
                 ·   sure he was just expressing h
     19    frustration of the process and what was
     20    obviously concerned about now BRON ente
     21    bankruptcy protection process, which it
     22    then going into
                        · I sales.
                             think I'm sure it was
     23    about how he could potentially -- or ho
     24    best protect himself and
                                  · I'm
                                     hissure
                                         clients.
                                             that
     25    was part of the conversation.


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     ·1    · ·And,
               ·   obviously, because of the statu
     ·2    were in, there's only so much· And
                                          that I co
     ·3    most of the time, it got to a point whe
     ·4    just direct Sandy to our counsel becaus
     ·5    didn't feel comfortable answering quest
     ·6    the status of the process
                                  · And
                                      weover
                                         werethe
                                              in.
     ·7    last many months, he's only ever dealt
     ·8    not with me.
     ·9    · ·Q.
               ·
               · You
                 ·   had testified earlier that CW
     10    many different films that BRON
                                      · Didhad
                                            I  prod
     11    hear that correctly?
     12    · ·A.
               ·
               · Absolutely.
                 ·
     13    · ·Q.
               ·
               · Can
                 ·   you just explain to me, in ge
     14    terms, what the difference was between
     15    BRON and Creative Wealth?
     16    · ·A.
               ·
               · Creative
                 ·        Wealth was finding money
     17    arranging capital, and BRON was handlin
     18    creative, and in some cases, physically
     19    shows, and other cases arranging for an
     20    and overseeing third parties who were p
     21    more of an exec ·producer.
                            We would call BRON the
     22    creative and business side, and CW was
     23    side of the projects we worked on toget
     24    · ·Q.
               ·
               · Is
                 ·  it fair to say that BRON had t
     25    knowledge of the status of productions


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     ·1    progressing?
     ·2    · ·A.
               ·
               · Sure.
                 ·
     ·3    · ·Q.
               ·
               · And
                 ·   Creative Wealth would regular
     ·4    out to BRON in weekly phone calls so th
     ·5    update on the status of those productio
     ·6    · ·A.
               ·
               · Not
                 ·   necessarily
                               · But
                                  weekly.
                                     there would be
     ·7    communication between companies for sur
     ·8    updates, yes.
     ·9    · ·Q.
               ·
               · So
                 ·  how did Creative Wealth get th
     10    information concerning what these produ
     11    to at any given time?
     12    · ·A.
               ·
               · We
                 ·  had our head of sales that wou
     13    a sheet.
                · Go to them on a monthly or bimont
     14    and we would essentially send updates o
     15    activities, production activities, and
     16    needed it, we would get on a call and d
     17    · ·Q.
               ·
               · Were
                 ·    there times when Jason Cloth
     18    call you and ask you about the status o
     19    production?
     20    · ·A.
               ·
               · Sure.
                 ·
     21    · ·Q.
               ·
               · Do
                 ·  you know, let's say in 2021,
     22    approximately how often you and Jason C
     23    speak on the phone concerning the statu
     24    productions?
     25    · ·A.
               ·
               · Very
                 ·    rarely because he and I were


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     ·1    getting along by that ·
                                 point
                                   So '21
                                        in was
                                            time.
     ·2    already a time when our relationship ha
     ·3    much severed.
                   · So definitely there were conve
     ·4    in 2021, absolutely, but it wasn't on a
     ·5    often basis.
                  · He ended up dealing with other
     ·6    colleagues of BRON, Steven Thibault, an
     ·7    would get his updates through a weekly,
     ·8    biweekly meeting that different lawyers
     ·9    CW would have.
     10    · ·Q.
               ·
               · During
                 ·      those meetings or discussi
     11    your colleagues at BRON, do you know if
     12    was discussed was the status of when th
     13    would be sold and delivered?
     14    · ·A.
               ·
               · Sure.
                 ·
     15    · ·Q.
               ·
               · In
                 ·  terms of there were discussion
     16    your colleagues or several other form,
     17    when these films would actually produce
     18    · ·A.
               ·
               · Sure.
                 ·  · You know, and when there were
     19    changes to that or when something happe
     20    we've had a million things that have go
     21    way and COVID being
                             · But
                               the when
                                   first.
                                        something
     22    would change, we update
                               · These
                                    that
                                       are
                                         too.
                                           updates
     23    that would also come to ·CW
                                    They
                                       in had
                                           writing.
                                              the
     24    ability wherever they could to package
     25    it to their clients.


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     ·1    · ·Q.
               ·
               · Do
                 ·  you know if all of the phone c
     ·2    Jason Cloth had with you or your collea
     ·3    would have been memorialized in writing
     ·4    · ·A.
               ·
               · No.
                 · · I don't think it would have be
     ·5    don't believe
                     · But
                         so.
                           based on what I'm readi
     ·6    today during this deposition or what I'
     ·7    rather, like I can tell you when certai
     ·8    would have said or
                            · That
                               not said.
                                   is very easy for
     ·9    me to speak to.
     10    · ·But
               ·  no.
                  · I don't believe every time tha
     11    was a conversation that it would be dup
     12    writing,
                  · But
                    no. I wouldn't
                                · I know.
                                    have a very
     13    good sense of what I did and didn't say
     14    · ·Q.
               ·
               · You
                 ·   testified earlier that Creati
     15    would make loans to BRON Studio in conn
     16    the production of certain motion pictur
     17    fair?
     18    · ·A.
               ·
               · They
                 ·    would make loans to holding
     19    to production companies that were estab
     20    purpose of making those shows, yes.
     21    · ·Q.
               ·
               · Those
                 ·     were established by BRON St
     22    · ·A.
               ·
               · Correct,
                 ·        or BRON Digital or other
     23    would make loans directly to production
     24    BRON -- not -- in the context of produc
     25    not to a BRON Studios
                              · Itdirectly.
                                   would go to a


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     ·1    production entity established for the f
     ·2    show.
     ·3    · ·Q.
               ·
               · Okay.
                 ·  · But those entities would be
     ·4    affiliated and controlled by BRON?
     ·5    · ·A.
               ·
               · Yes.
                 ·
     ·6    · ·Q.
               ·
               · Okay.
                 ·  · When those loans were made fo
     ·7    Creative Wealth to those entities, how
     ·8    loans documented, if you know?
     ·9    · ·A.
               ·
               · The
                 ·   loan would be documented as a
     10    went into the production.
                          · And any of the mature
     11    productions, it would have been collect
     12    management agreement put in place, as w
     13    agreement, which stipulates the waterfa
     14    what.
              · So there would be a loan agreement,
     15    security agreement, and other documents
     16    promissory note and things that are all
     17    closing process on a per project basis,
     18    happen between Creative Wealth and BRON
     19    · ·We
               · were never privy to documentation
     20    Wealth had with their
                             · We clients.
                                   only saw our
     21    paperwork with
                       · Sothem.
                            every instance, these s
     22    almost every instance would be collecti
     23    agreements in place, the loan agreement
     24    security agreements, all the
                                     · Toterms
                                          the  of t
     25    benefit of Creative Wealth, would all b


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     ·1    in that CAMA agreement, i.e. that would
     ·2    waterfall where the recoupment
                                     · How position
                                           they
     ·3    earn back their money,
                               · Soet
                                    that's
                                      cetera.
                                           how that
     ·4    would work on a per project basis.
     ·5    · ·Q.
               ·
               · Those
                 ·     agreements memorializing th
     ·6    between Creative Wealth and the entitie
     ·7    actually produce the films, did those a
     ·8    contain deadlines by which the loans ne
     ·9    repaid?
     10    · ·A.
               ·
               · They
                 ·    may,· There's
                            yes.    also language i
     11    there for if there's an extension, or i
     12    different language in there in the even
     13    go past including some default language
     14    there, as ·well.
                      Like additional penalties if
     15    went further.
                   · Yes, it would detail the timel
     16    those.
     17    · ·We
               · were not, however, privy to any,
     18    earlier, documentation between Creative
     19    their clients.
                    · So we were only privy to the
     20    that we had between ourselves and Creat
     21    and assuming they had the same terms be
     22    themselves and their
                             · We clients.
                                   haven't seen that
     23    documentation.
     24    · ·Q.
               ·
               · And
                 ·   I just want to focus on , you
     25    agreements between Creative Wealth and


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     ·1    understand you can't really testify abo
     ·2    you don't know.
     ·3    · ·A.
               ·
               · Correct.
                 ·
     ·4    · ·Q.
               ·
               · I
                 · just want to limit it to that.
     ·5    · ·Why
               ·  would you assume, though, that t
     ·6    between agreements --
                               · Let
                                  withdrawn.
                                     me say it
     ·7    properly.
     ·8    · ·Why
               ·  would you assume that the terms
     ·9    agreements between Creative Wealth and
     10    would be similar to the terms between C
     11    and BRON?
     12    · ·A.
               ·
               · It's
                 ·    a fairly easy assumption to
     13    With the exception of building and marg
     14    side for the interest cost, but the ter
     15    of the loan.
                  · Number one, the terms and the
     16    that Creative Wealth would get.
     17    · ·So
               · as an example, if Creative Wealth
     18    investing in a show and they put $100 i
     19    that show would give them 30 percent of
     20    of the show, right, they would have ter
     21    that would dictate to them on the inter
     22    would earn.
                  · Like they make their money back
     23    interest and how that 30 percent would
     24    · ·Now,
               ·   that those same terms should be
     25    in an agreement between CW and their cl


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     ·1    the exception of, I assume, that agreem
     ·2    to whatever portion of that 100 dollars
     ·3    put in.
               · So if there were four clients that
     ·4    $25 each for the $100, each of their cl
     ·5    represent a back interest based on what
     ·6    Creative Wealth and those investors had
     ·7    back end participation.
     ·8    · ·But
               ·  the terms and the amount that wo
     ·9    through the waterfall, I would assume s
     10    same because that's what needs to get p
     11    and their clients.
     12    · ·Q.
               ·
               · I
                 · see.
                     · Okay.
                          · Did Jason ever ask you w
     13    BRON was going to be paying ·back
                                         In  those
     14    other words, did he ever say, you know,
     15    date is coming up or the time by which
     16    pay something back is coming up?
     17    · ·A.
               ·
               · Sorry.
                 ·   · Finish your question.
                                    · I apologize.
     18    · ·Q.
               ·
               · No.
                 · · I just want to make sure my qu
     19    is clear.
     20    · ·I'm
               ·  just wondering if there were tim
     21    Jason would reach out to you and say, h
     22    under our loan agreement
                                  · What
                                     is due
                                         is the
                                            soon.
     23    status of repayment?
     24    · ·A.
               ·
               · Absolutely.
                 ·      · For sure that question wi
     25    get asked.
                 · Absolutely.
                          · But that question would


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     ·1    be covered in the sessions when we're u
     ·2    status of production.
                        · So when we talk about the
     ·3    status of production, the status of the
     ·4    physical delivery, the status of, you k
     ·5    itself, all of that information is part
     ·6    answer to the question you just posed.
     ·7    · ·So
               · we would be talking about that ve
     ·8    regularly, and Jason and his team would
     ·9    what's what because they would know whe
     10    going to market.
                     · They would know how many sho
     11    getting delivered.
                      · They would have that inform
     12    We would talk about ·
                               itYes.
                                   for sure.
     13    · ·Q.
               ·
               · And
                 ·   to date, have all of those lo
     14    repaid?
     15    · ·A.
               ·
               · No,
                 ·   of course not.
     16    · ·Q.
               ·
               · Why
                 ·   do you say of course not?
     17    · ·A.
               ·
               · We
                 ·  just talked about, for the las
     18    hours, about several projects that are
     19    Right.
               · And that haven't entered the sales
     20    yet.
             · So if they're not completed, they'r
     21    very obviously they're not going to hav
     22    · ·Q.
               ·
               · Well,
                 ·     I know it might be obvious
     23    just want to make sure that I understan
     24    · ·A.
               ·
               · I'm
                 ·   sorry.
                       · Go ahead.
     25    · ·Q.
               ·
               · And
                 ·   I appreciate you're giving a


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     ·1    information.
                  · I think maybe there are just s
     ·2    assumptions because you know this busin
     ·3    · ·A.
               ·
               · If
                 ·  I could clarify better, let me
     ·4    · ·Q.
               ·
               · No.
                 · · Your answer is
                                 · I fine.
                                     want to
     ·5    explain why I'm asking the question bec
     ·6    follow-up with that.
     ·7    · ·You
               ·  had testified that, you know, th
     ·8    wouldn't have been repaid because those
     ·9    generated sufficient
                             · So revenue.
                                   is it your positi
     10    that they don't need to be repaid, unle
     11    generates sufficient
                             · I don't
                                 revenue?
                                       want to put
     12    words in your
                       · Imouth.
                           want to make sure I
     13    understand the way this works.
     14    · ·A.
               ·
               · The
                 ·   nature of this work is -- aga
     15    loans didn't come directly to BRON Stud
     16    to a company established for the purpos
     17    that individual show or· Right.
                                    shows
                                        · So
                                           plural.
                                             the
     18    loan agreements would be with
                                     · And that
                                            there
                                                enti
     19    would be default language in there in t
     20    things went ·
                       longer.
                         But that entity doesn't ha
     21    ability to earn revenue.
     22    · ·So
               · if you had a movie ·like
                                      Okay.
                                          a Telly.
     23    Movie made years ago, there would have
     24    productions that was
                            · Andset
                                  only
                                     up.
                                       at the point
     25    in time when revenue comes back from th


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     ·1    postdelivery of that show, would money
     ·2    waterfall to begin recouping to Creativ
     ·3    therefore, their clients.
     ·4    · ·So
               · again, on shows that we've talked
     ·5    that are not completed and have not ent
     ·6    process, those instances, there wouldn'
     ·7    revenue to generate because those sales
     ·8    made yet.
     ·9    · ·Q.
               ·
               · Are
                 ·   you aware of whether the agre
     10    between Creative Wealth and these BRON
     11    contained terms saying that the source
     12    for these loans would be from revenues
     13    these different projects?
     14    · ·A.
               ·
               · I
                 · assume there's certain language
     15    for sure.
                · There's also, as we discussed, a
     16    collection account on each of those pro
     17    stipulates where all the revenue is com
     18    why.
             · It doesn't stipulate -- it only bre
     19    revenue streams that would go to that p
     20    show.
              · So my assumption would be that betw
     21    various agreements that that language w
     22    somewhere, between the loan agreement o
     23    collection agreement or other, you know
     24    · ·Q.
               ·
               · How
                 ·   long have you been in the fil
     25    for?


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     ·1    · ·A.
               ·
               · BRON
                 ·    was almost 14 years old, and
     ·2    how long I was in the film industry.
     ·3    · ·Q.
               ·
               · Have
                 ·    you ever heard of the concep
     ·4    loan to a production company would only
     ·5    repaid if the film generated sufficient
     ·6    repay that loan?
     ·7    · ·A.
               ·
               · There's
                 ·       no guarantee from the par
     ·8    company.
                · BRON was never a guarantor
                                       · We  of tha
     ·9    never, in the history of BRON, signed a
     10    of any of the monies that came into pro
     11    · ·Q.
               ·
               · Sorry.
                 ·   · Sorry to cut ·
                                    you
                                      I realize
                                         off.
     12    from the answer that was
                                · I'm
                                    not
                                      not
                                        clear.
                                          asking
     13    for you.
                · I'm asking in the industry, wheth
     14    have heard of this concept
                                · I'm not
                                       before.
                                          talking
     15    to BRON specifically.
                        · So I just want my questio
     16    be clear for the record.
     17    · ·A.
               ·
               · Absolutely
                 ·          is the
                               · It's
                                    case.
                                      the whole
     18    reason that the industry is set up as i
     19    each individual company· Each
                                    -- pardon me.
     20    individual IP would have its own separa
     21    company.
                · It's on separate production
                                        · So itcompa
     22    can be properly audited, properly
                                     · So    track
     23    absolutely.
                  · That's exactly how the things w
     24    this space.
     25    · ·Q.
               ·
               · So,
                 ·   again, just to be clear for t


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     ·1    you have heard the concept that a loan
     ·2    be used towards the production of film
     ·3    to be repaid, unless the film generated
     ·4    revenue to repay that loan; correct?
     ·5    · ·A.
               ·
               · I
                 · wouldn't use the term not neede
     ·6    repaid, but it wouldn't have the abilit
     ·7    It would continue to have a lien agains
     ·8    property, if it was outstanding monies
     ·9    can do anything with a project that was
     10    · ·The
               ·  investors in the case of CW, the
     11    often, if not always, have security reg
     12    the project.
                  · That security would not be rel
     13    until they were paid off in full with t
     14    So very normal that that process could
     15    long time.
                 · Yes.
     16    · ·Q.
               ·
               · But,
                 ·    again, my specific question
     17    you heard of the concept, though, that
     18    agreements contain language saying that
     19    not be repaid unless the film generated
     20    revenue?
     21    · ·A.
               ·
               · I'm
                 ·   not sure if that exact langua
     22    contained.
                 · But what would have been contain
     23    what revenue streams would have gone to
     24    recoupment of a loan.
     25    · ·So
               · ideally it would, I assume, accom


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     ·1    same thing, but I don't believe the lan
     ·2    have necessarily been written as you st
     ·3    think more so it would have been writte
     ·4    revenue lines will all go towards the w
     ·5    towards recoupment of some show until i
     ·6    in full with interest.
                        · That's plus, plus, plus.
     ·7    That language I ·
                           would
                             But the
                                  see.
                                     way you phrase
     ·8    it, I'm not sure.
     ·9    · · · ·
                 MR.
                   · BAZIAN:
                        · That's fair.
                                 · I realize you
     10    · ·don't
               ·    have an agreement in front of
     11    · · · ·
                 Okay.
                   · · I'm just going to show you a
     12    · ·document
               ·       here.
     13    · · · ·
                 (Exhibit
                   ·      CW-1 was marked.)
     14    BY MR. BAZIAN:
     15    · ·Q.
               ·
               · All
                 ·   right.
                       · Mr. Gilbert, do you see my
     16    screen?
               · I am showing you what I have marke
     17    Exhibit CW-1.
     18    · ·A.
               ·
               · Okay.
                 ·
     19    · ·Q.
               ·
               · Do
                 ·  you see that in front of you?
     20    · ·A.
               ·
               · I
                 · do.
     21    · ·Q.
               ·
               · I'm
                 ·   going to blow that up so you
     22    it.
             · Scroll to the· bottom.
                              I'll represent to you
     23    these were documents that were produced
     24    Just for the record, the Bates
                                        · And
                                           range is
     25    then I'm including the attachments to t


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     ·1    · ·A.
               ·
               · Okay.
                 ·
     ·2    · ·Q.
               ·
               · It
                 ·  ends CW2616.
                          · I'm going to go back to
     ·3    e-mail.
               · You can see it's an e-mail from Ad
     ·4    to Jason Cloth, copying various individ
     ·5    Studios, including
                         · Do you
                               you.
                                  see that e-mail?
     ·6    · ·A.
               ·
               · I
                 · do.
     ·7    · ·Q.
               ·
               · Okay.
                 ·  · That e-mail dated May 27, 202
     ·8    hi, Jason, attached is a proposed inves
     ·9    both clean and compared
                                 · It
                                    to might
                                        Gossamer.
                                             be
     10    helpful to walk through the waterfall t
     11    · ·And
               ·  feel free to read this e-mail if
     12    like.
              · My question is just going to be on
     13    e-mail at the top of the chain, which h
     14    attachments.
                  · Do you see that?
     15    · ·A.
               ·
               · Yes.
                 ·
     16    · ·Q.
               ·
               · At
                 ·  the top of the e-mail, it says
     17    Jason, here is a revised investor term
     18    red lining against the draft sent yeste
     19    version.
                · I've discussed these changes with
     20    they have approved, as well.
     21    · ·You
               ·  had testified earlier that Adam
     22    worked for BRON Studios for a period of
     23    · ·A.
               ·
               · He
                 ·  did.
     24    · ·Q.
               ·
               · And
                 ·   did Adam Davids draft investo
     25    sheets for Creative Wealth to provide t


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     ·1    investors?
     ·2    · ·A.
               ·
               · I
                 · don't believe he did ·
                                        that
                                          It direc
     ·3    may have happened from·time
                                  At points
                                       to time.
                                            Jason
     ·4    didn't have investors -- excuse me, did
     ·5    counsel.
                · But there was a very much like a
     ·6    agreement that we use.
     ·7    · ·I·think in this instance, again, BRO
     ·8    working with the producers in the team
     ·9    Grylls, you know, exec producers, and w
     10    that.
              · The agreement I believe Adam would
     11    would have been an agreement between Yo
     12    Grylls entity and Creative Wealth, not
     13    Creative Wealth and clients.
     14    · ·So
               · in that instance because we were
     15    producers, and working with Young Bear
     16    that's what you're about to show me, th
     17    sense for Adam to be working with Young
     18    on that term sheet.
     19    · ·Q.
               ·
               · To
                 ·  be clear, I'm not trying to tr
     20    · ·A.
               ·
               · I
                 · wasn't implying.
     21    · ·Q.
               ·
               · This
                 ·    is a -- this is the first at
     22    here.
     23    · ·A.
               ·
               · Okay.
                 ·
     24    · ·Q.
               ·
               · Says
                 ·    term sheet financing for ani
     25    trilogy entitled Young
                                · Had
                                  BearCreative
                                       Grylls.


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     ·1    Wealth Finance Corp.· YBG
                                 at the
                                     Commercial
                                        top.    LTD
     ·2    and investor.
     ·3    · ·Is
               · it your understanding that invest
     ·4    referring to one of Creative Wealth Med
     ·5    clients?
     ·6    · ·A.
               ·
               · I
                 · believe so, yes.
     ·7    · ·Q.
               ·
               · And
                 ·   do you see how it has differe
     ·8    sections on loan, interest rate, term,
     ·9    · ·A.
               ·
               · Uh-huh.
                 ·
     10    · ·Q.
               ·
               · Here
                 ·    it has a source of repayment
     11    · ·A.
               ·
               · Uh-huh.
                 ·
     12    · ·Q.
               ·
               · That
                 ·    source of repayment section
     13    loan, inclusive of the facilitation fee
     14    interest, and the net profit participat
     15    be recouped from gross receipts generat
     16    project, if any, in accordance with the
     17    defined gross receipts as defined herei
     18    · ·Have
               ·   you ever seen that language bef
     19    agreement?
     20    · ·A.
               ·
               · I
                 · don't remember.
                           · I assume that type of
     21    agreement, that type of language is alm
     22    agreement.
                 · I'm not positive if· it's
                                        But Iexact.
     23    think the spirit of that is probably in
     24    agreement.
                 · Yes.
     25    · ·Q.
               ·
               · What
                 ·    do you believe the spirit of


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     ·1    be?
     ·2    · ·A.
               ·
               · Basically
                 ·         stating that where the
     ·3    coming from to go towards recoupment of
     ·4    that the loan has to cover the cost of
     ·5    and also the facilitation
                             · Just breaking
                                     fee.    that
     ·6    out.
     ·7    · ·Q.
               ·
               · And
                 ·   is it your understanding, bas
     ·8    this, that repayment of the loan memori
     ·9    would be dependent on whether this proj
     10    gross receipts, if any?
     11    · · · ·
                 MS.
                   · MCCORD:
                        · Objection to the form to
     12    · ·extent
               ·     it calls for a legal conclusi
     13    · · · ·
                 I ·
                   mean, you can't ask him how to
     14    · ·a·legal document.
     15    · · · ·
                 MR.
                   · BAZIAN:
                        · I can ask him what his
     16    · ·understanding
               ·            of that is, if he's se
     17    · ·before.
               ·  · I'm not asking for a legal opi
     18    BY MR. BAZIAN:
     19    · ·Q.
               ·
               · I
                 · understood you're not a lawyer,
     20    Gilbert.
                · I'm just asking you for what your
     21    understanding of this provision would b
     22    · ·A.
               ·
               · My
                 ·  understanding would be that, y
     23    the revenues that would go towards reco
     24    loan for project would come from the va
     25    streams associated with that particular


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     ·1    Yes.
     ·2    · ·Q.
               ·
               · Have
                 ·    you ever seen this type of l
     ·3    an agreement between Creative Wealth an
     ·4    entity?
     ·5    · ·A.
               ·
               · Yes.
                 ·
     ·6    · ·Q.
               ·
               · So
                 ·  do you recall it being your
     ·7    understanding at the time that you saw
     ·8    and agreement, that BRON would only nee
     ·9    loan referenced in the agreement, if th
     10    generated sufficient gross receipts?
     11    · ·A.
               ·
               · Yes.
                 · · And just a reminder that any
     12    agreement like this was entered into, i
     13    into directly with the company that own
     14    to the project.
                    · It wasn't entered into with B
     15    Studios.
     16    · ·So
               · if it was entered on a movie like
     17    Survivor, it would have been the Surviv
     18    waterfall and its revenue streams that
     19    been recouping
                        · Monies
                          monies.to recoup wouldn'
     20    have come from other productions or oth
     21    · · · ·
                 MR.
                   · BAZIAN:
                        · Okay.
                             · Let me show you anoth
     22    · ·document.
               ·    · This one is Exhibit
                                     · And CW-2.
                                           for
     23    · ·the
               ·  record, it's Bates stamped CW765
     24    · ·7671.
               · · I'll represent to you that this
     25    · ·document
               ·       that's been produced in thi


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     ·1    · ·It's
               ·   actually two agreements back to
     ·2    · · · ·
                 The
                   · first one is term sheet finan
     ·3    · ·BRON
               ·   Digital series entitled Fables,
     ·4    · ·project.
               ·   · And then on page 7, it is a Cr
     ·5    · ·Wealth
               ·     Media Finance participation a
     ·6    · ·Both
               ·   of these agreements are between
     ·7    · ·Wealth
               ·     and Robert Scot Building Vent
     ·8    · · · ·
                 (Exhibit
                   ·      CW-2 was marked.)
     ·9    BY MR. BAZIAN:
     10    · ·Q.
               ·
               · Have
                 ·    you ever seen this agreement
     11    · ·A.
               ·
               · No.
                 ·
     12    · ·Q.
               ·
               · Do
                 ·  you know if this agreement is
     13    in form as the draft agreement that we
     14    in CW-1?
     15    · ·A.
               ·
               · You
                 ·   would have to compare one-to-
     16    to see, but it looks like they're very
     17    documents, you
                       · Essentially
                           know.     on the -- thes
     18    go -- these term sheets are the predece
     19    form.
              · So you have a term sheet that we wo
     20    place with CW, and CW would have a term
     21    place with their clients, and then ever
     22    go to long form thereafter.
     23    · ·Q.
               ·
               · Going
                 ·     to share another document.
     24    · ·A.
               ·
               · That
                 ·    document you just showed as
     25    looking at it, this is really important


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     ·1    that document would not have been draft
     ·2    representative.
                    · So the document that was in p
     ·3    between CW and Robert Harris or any oth
     ·4    BRON did not draft those
                                 · Those
                                     agreements.
                                         were
     ·5    drafted and edited by Creative Wealth a
     ·6    · ·Q.
               ·
               · How
                 ·   do you know that?
     ·7    · ·A.
               ·
               · Because
                 ·       we never
                             · We would
                                   do.  give a for
     ·8    but then CW would be responsible for de
     ·9    their client.
                   · So we never saw the final vers
     10    We didn't edit nor negotiate with
                                         · We final
     11    are not privy to that process.
     12    · ·Q.
               ·
               · This
                 ·    e-mail we looked at in CW-1,
     13    e-mail in the chain Adam Davids attache
     14    investment term
                        · In
                           sheet.
                             response, Jason Cloth
     15    writes on May 27, 2020 at 4:11 p.m., su
     16    doesn't make much
                          · The
                              sense.
                                guys putting up the
     17    capital here are professional
                                   · You're
                                         investors
     18    going to see, we are next to last to ge
     19    · ·I'm
               ·  just showing you this because th
     20    and forth correspondence between yourse
     21    Cloth and Adam
                        · And
                          Davids.
                              then the last e-mail
     22    we looked at on this exhibit was, hi, J
     23    a revised investor term sheet.
     24    · ·So
               · does this refresh you recollectio
     25    whether BRON was involved in investor t


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     ·1    · ·A.
               ·
               · No.
                 · · I think it's the same
                                      · Again,
                                            thing.
     ·2    we had agreements in place between
                                      · I'm   ours
     ·3    not privy to what Adam or legal counsel
     ·4    with them directly.
                       · My understanding is we wou
     ·5    for the deal between BRON and Creative
     ·6    either way, the form would have been pu
     ·7    edited for a client.
     ·8    · ·So
               · there may have been a form that w
     ·9    information that we help on a term shee
     10    have gone.
                 · I think you have to track here i
     11    whatever Adam sent and then look at wha
     12    Robert, and are those two documents the
     13    · ·So
               · what Adam would have sent was a f
     14    what would have worked with what BRON w
     15    done.
              · Or was doing,· rather.
                               And what Jason and CW
     16    would have sent to their clients, that
     17    have come directly from BRON, and we ne
     18    opportunity to make ·
                               any
                                 But changes.
                                      it's very
     19    possible that the form was shared, yes.
     20    · · · ·
                 MR.
                   · BAZIAN:
                        · So back to Exhibit 3.                                                  I
     21    · ·believe
               ·      I -- maybe I didn't
                                    · Exhibit
                                           read
                                              3 it.
     22    · ·is
               · Bates stamped CW8493· This
                                       through
                                            is 8501
     23    · ·just
               ·   another agreement.
                            · This one is for
     24    · ·Pathway.
               ·
     25    · · · ·
                 (Exhibit
                   ·      CW-3 was marked.)


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     ·1    BY MR. BAZIAN:
     ·2    · ·Q.
               ·
               · If
                 ·  we start at the beginning, it'
     ·3    e-mail from
                     · It's
                        you.to Adam Davids dated Ap
     ·4    4:37 p.m.
                · The subject is Pathway stuff one
     ·5    You write last two are the
                                  · Andterm
                                        thensheet.
                                             Adam
     ·6    Davids responds to you
                                · Hey,
                                  at 5:31
                                       ALG.
                                          p.m.
                                             I
     ·7    assume Adam referred to you as ALG?
     ·8    · ·A.
               ·
               · Yes.
                 · · Sometimes.
     ·9    · ·Q.
               ·
               · He
                 ·  writes here's the CWMF agreeme
     10    few tweaks Word doc with all the bells
     11    Investor doc to
                         · And
                            follow.
                               Adam then follows up
     12    April 28, 2021, at 2:46 p.m., and he wr
     13    and here's the investor agreement with
     14    edits, with subsequents added back in t
     15    conform to the new
                           · Just
                              CW AGNT.
                                  providing as a W
     16    doc because Jason will need to provide
     17    info, Adam.
     18    · ·And
               ·  then the final e-mail at the top
     19    the one that I want to ask you about, i
     20    the attachment to Jason Cloth ·on
                                           Do April
     21    you see that?
     22    · ·A.
               ·
               · Uh-huh.
                 ·
     23    · ·Q.
               ·
               · So
                 ·  I just want to confirm, the at
     24    here is an investor term sheet memo fin
     25    first season of the series ·
                                      entitled
                                        Is your Pat


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     ·1    understanding that this is a term sheet
     ·2    prepared initially by Adam Davids for J
     ·3    provide to Creative Wealth clients?
     ·4    · ·A.
               ·
               · No.
                 · · Initially -- well, again, we w
     ·5    provide a copy of the agreement between
     ·6    If Adam was helping Jason or sending hi
     ·7    he could use with his investor, just to
     ·8    everything, that all the terms were the
     ·9    could have, should have happened or may
     10    happened.
                · Pardon me.
     11    · ·But,
               ·   again, ultimately, what ended u
     12    the investor and ended up getting execu
     13    investor would have been between CW and
     14    clients.
                · So not privy.
                          · Again, same comment, bes
     15    way to look is go to look at what Adam
     16    at what Robert signed and will those tw
     17    the same?
                · That will answer the question yo
     18    getting at.
     19    · ·Q.
               ·
               · If
                 ·  they are substantively identic
     20    you would say that BRON did prepare the
     21    sheet?
     22    · · · ·
                 MS.
                   · MCCORD:
                        · Object to ·form.
                                     Facts not in
     23    · ·evidence.
               ·
     24    · ·A.
               ·
               · I'm
                 ·   saying their form would have
     25    shared, but Jason would have dealt with


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     ·1    finalized the form
                           · He
                              hewould
                                 used.have finaliz
     ·2    the form.
                · So, again, we were not privy to
     ·3    versions, and honestly, even this didn'
     ·4    lot of the ·shows.
                        But if there was some help
     ·5    Adam gave him at this time, it would ha
     ·6    to help the process move more
                                     · But efficient
                                            he
     ·7    would have given a form, and ultimately
     ·8    been CW responsibility for final execut
     ·9    get it executed to clients.
     10    · ·Q.
               ·
               · Earlier
                 ·       you had been asked about
     11    green lighting or ·green
                              Do youlit.
                                     remember that?
     12    · ·A.
               ·
               · Yes.
                 ·
     13    · ·Q.
               ·
               · Have
                 ·    you ever used that term to s
     14    BRON had green lit certain project?
     15    · ·A.
               ·
               · Yeah.
                 ·  · But, again, BRON would only h
     16    green lit a project if it had the finan
     17    and the commitments
                             · Right.
                                to ·
                                   doSo so.
                                         if I ever
     18    used the term green lit to something wa
     19    and others signed off on it and it was
     20    production.
     21    · ·Q.
               ·
               · Have
                 ·    you ever used it to mean tha
     22    prepared to produce the show pending re
     23    sufficient financing.
     24    · ·A.
               ·
               · I'm
                 ·   sure, you know , but again, I
     25    think I would have used the term green


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     ·1    context.
                · BRON may have approved, like, eve
     ·2    our side, but the agreement was once th
     ·3    was committed.
     ·4    · ·Q.
               ·
               · Well,
                 ·     are you sure that you never
     ·5    have used the term green lit in that wa
     ·6    · · · ·
                 MS.
                   · MCCORD:
                        · Objection as ·
                                       toAsked
                                           form.
     ·7    · ·and
               ·  answered.
     ·8    · · · ·
                 MR.
                   · BAZIAN:
                        · I didn't ask that questio
     ·9    · ·A.
               ·
               · Am
                 ·  I sure that·I
                                I'm
                                  -- not
                                      no. sure, but
     10    I'm saying to you that in the context o
     11    what green light means, it means a proj
     12    approved on all levels to go
                                     · What
                                         to product
                                            I'm
     13    suggesting, unless we have the financin
     14    use the term green light.
     15    BY MR. BAZIAN:
     16    · ·Q.
               ·
               · Generally,
                 ·          if a project is green
     17    that mean that funding has already been
     18    finance the production of the project?
     19    · ·A.
               ·
               · It
                 ·  would to have to have been com
     20    yes.
     21    · ·Q.
               ·
               · So
                 ·  once a TV show is green lit, t
     22    need to get additional funding to make
     23    happen; right?
     24    · ·A.
               ·
               · Again,
                 ·      depending on how that show
     25    place financially.
                      · There still may be -- like


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     ·1    may have approvals, but there still mig
     ·2    paperwork to finalize.
                        · So if you look at a fina
     ·3    plan on a TV series that may have multi
     ·4    like a show I talked about earlier, Kin
     ·5    nine buyers around the world that all c
     ·6    upfront that we had
                             · So
                                the
                                  it bank.
                                      was green
     ·7    lighted.
                · It was committed
                              · But to.
                                    until all the
     ·8    paperwork was done, it's not going to s
     ·9    spending money.
                    · Right.
                          · That's essentially how t
     10    works.
     11    · ·Q.
               ·
               · Earlier
                 ·       you had been asked questi
     12    statements that were allegedly made con
     13    green lighting of several seasons
                                      · Do you
                                             of Pa
     14    recall that?
     15    · ·A.
               ·
               · I
                 · do.
                    · Yes.
     16    · ·Q.
               ·
               · If
                 ·  Pathway was green lit for five
     17    would it have been necessary to then ob
     18    from Mr. Harris for Pathway?
     19    · ·A.
               ·
               · Actually,
                 ·         it was not green lit fo
     20    seasons.
                · That's not something my team or I
     21    said.
              · And we were -- that first season wa
     22    and we needed to get it to a level of c
     23    order to go to market
                               · At
                                  to the
                                      sell
                                         time
                                           it. that
     24    CW was putting the financing in place f
     25    there were zero
                        · Zero
                           sales.
                               commissions.
                                    · Nothing


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     ·1    was green lit on the show
                                  · Only
                                      at the
                                         whentime.
                                              all
     ·2    the money came in place, was committed
     ·3    making the show, knowing we would have
     ·4    later ·on.
                   So there was never a situation w
     ·5    was a five season commitment.
     ·6    · ·Q.
               ·
               · My
                 ·  question was slightly
                                      · If differen
                                            it
     ·7    had been green lit for five seasons, th
     ·8    have been no need to get financing for
     ·9    from that?
     10    · ·A.
               ·
               · Depending
                 ·         on the production.
                                  · Depending on
     11    the production financing
                              · You're
                                     needs.
                                       probably
     12    right in that statement, especially giv
     13    company was that you're dealing with, l
     14    Warner.
               · If they had green lighting, it mor
     15    likely financed the entirety
                                    · Again,
                                         of the sho
     16    that was never in place.
     17    · ·Q.
               ·
               · If
                 ·  it was -- why would they have
     18    the entirety of the show, if it had bee
     19    for five seasons?
     20    · · · ·
                 MS.
                   · MCCORD:
                        · Objection to
                                     · Calls
                                        form. for
     21    · ·speculation.
               ·
     22    · · · ·
                 MR.
                   · BAZIAN:
                        · Maybe I asked the questio
     23    · ·backwards.
               ·
     24    BY MR. BAZIAN:
     25    · ·Q.
               ·
               · Why
                 ·   would they have financed the


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     ·1    their own if it had been green lit for
     ·2    · ·A.
               ·
               · Sorry.
                 ·   · Who is they?
     ·3    · ·Q.
               ·
               · I
                 · think it's a TNT and someone el
     ·4    · ·A.
               ·
               · We
                 ·  were making the show and looki
     ·5    the show.
                · So we were talking to different
     ·6    and different buyers, TNT being one of
     ·7    that's the group that put up their hand
     ·8    want to buy
                    · They
                        it. were a great partner bec
     ·9    they had shows in the NBA and Shaq and
     10    Kenny that was a lead in for the show.
     11    · ·And
               ·  if the show was green lit by TNT
     12    Netflix or Amazon or somebody, and they
     13    going to do five seasons, no,· The
                                          you're no
     14    third party money would not be needed,
     15    never the case.
     16    · ·Q.
               ·
               · Okay.
                 ·  · That's fair.
                             · Just a couple of
     17    questions ·left.
                      I realize that I've broken my
     18    promise, and I've gone over.
     19    · · · ·
                 MR.
                   · BAZIAN:
                        · I'm just going to show yo
     20    · ·more
               ·   document.
                       · This is the last
                                      · This
                                           one.
                                             is
     21    · ·CW-4
               ·   that I've marked, and this one
     22    · ·pages.
               ·  · It's Bates stamped CW8296 and a
     23    · ·of
               · 8297.
                   · This is a document.
                                 · It's an e-mail
     24    · ·that
               ·   you had sent to Jason Cloth on
     25    · ·2021,
               ·    subject line Pathway numbers.


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     ·1    · · · ·
                 (Exhibit
                   ·      CW-4 was marked.)
     ·2    BY MR. BAZIAN:
     ·3    · ·Q.
               ·
               · You
                 ·   write, let me know if you hav
     ·4    questions.
                 · Do you recall this e-mail?
     ·5    · ·A.
               ·
               · Not
                 ·   specifically.
                           · Do you have the
     ·6    attachment?
     ·7    · ·Q.
               ·
               · Yes.
                 · · I'm going to show ·it
                                        I'mto you.
     ·8    first asking if you remember just this
     ·9    before I show you the attachment.
     10    · ·A.
               ·
               · I
                 · don't specifically, no.
     11    · ·Q.
               ·
               · Up
                 ·  above, you're not copied on th
     12    forwarding of your e-mail in
                                      · But
                                         the Mr.
                                              attach
     13    Cloth writes, here's the waterfall of t
     14    based on minimum guarantees.
                            · Let me show you the
     15    attachment.
     16    · ·A.
               ·
               · This
                 ·    is not a document from any t
     17    party.
               · This was a document that
                                        · Can
                                           BRON draf
     18    you scroll down on the document?
     19    · ·Q.
               ·
               · That's
                 ·      the end of it.
     20    · ·A.
               ·
               · That's
                 ·      the end
                              · Okay.
                                 of ·it.
                                     So this is a
     21    document that BRON drafted to show what
     22    look like, if it went into
                                   · It
                                      five
                                        was seasons
     23    very, very clear that these ·were
                                         It was
                                             projec
     24    very clear these were
                               · And
                                  estimates.
                                     in fact, it
     25    says right there underneath the top cat


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     ·1    estimated waterfall, you know, meaning
     ·2    just projections on what kind of revenu
     ·3    be needed in order to earn those kinds
     ·4    So the way that we sent it to Jason was
     ·5    context.
                · The way he presented it to client
     ·6    apparently, was a little bit different.
     ·7    · ·Q.
               ·
               · My
                 ·  question is going to be who pr
     ·8    this document?
     ·9    · ·A.
               ·
               · My
                 ·  finance team would have prepar
     10    · ·Q.
               ·
               · And
                 ·   for what purpose was it prepa
     11    · ·A.
               ·
               · To
                 ·  look at what the numbers need
     12    us to kind of generate a certain kind o
     13    the show, and how that money would need
     14    between distribution, sales, hopefully
     15    sponsorship, and
                         · This
                             other.
                                is really just to s
     16    what the break even
                             · This
                                would
                                    is be.
                                        why that
     17    specific category is scared
                                   · It shows
                                        like it
                                              the
                                                is.
     18    amount of money that would be needed to
     19    even on that first show and
                                    · It's
                                        then
                                           just
                                             to ear
     20    necessary to see where your milestones
     21    · ·Q.
               ·
               · Why
                 ·   was that something that you b
     22    Jason needed to know about?
     23    · ·A.
               ·
               · We
                 ·  do this on almost· We
                                       every
                                          break
                                             show.
     24    out what we think we're going to genera
     25    needed to generate.
                       · It's part of our sales pro


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     ·1    and finance process to sort of see what
     ·2    target in order to properly return back
     ·3    · ·Q.
               ·
               · Is
                 ·  this information you believe w
     ·4    something that Jason needs to know when
     ·5    potential clients to raise funds?
     ·6    · ·A.
               ·
               · Again,
                 ·      what this document is doin
     ·7    knew you were going to show
                                     · What
                                        thisthis
                                             docume
     ·8    document is doing is showing what kind
     ·9    potential here, is possible here based
     10    generating certain amounts of revenue.
     11    · ·If
               · you go back to -- can you flip ba
     12    last -- ·
                   yeah.
                     That e-mail.
                            · So here is the
     13    waterfall, the NBA series based on mini
     14    the streamers have been throwing around
     15    show.
              · So this is a waterfall, yes, of the
     16    true.
              · Based on BRON's estimate on what wo
     17    needed in order for us to generate thes
     18    It's not based on numbers that we heard
     19    (inaudible).
                  · That's incorrect.
     20    · ·Q.
               ·
               · Now
                 ·   I'm showing you
                                   · Just
                                     documents.
                                          the
     21    last couple for
                       · Counsel
                            you. had earlier asked
     22    what the status of several of the films
     23    of recouping the investments.
                             · I think it would be
     24    I just wanted to be clear·for
                                     I think
                                         the recor
     25    I'm just going to run through all of th


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     ·1    projects and just ask you if Creative W
     ·2    any revenue from these films.
     ·3    · ·A.
               ·
               · Sure.
                 ·
     ·4    · ·Q.
               ·
               · I
                 · know you had been asked these q
     ·5    before, I ·
                     think.
                       It will just be to make it t
     ·6    here.
              · So I'm just going to run through th
     ·7    with you.
     ·8    · ·For
               ·  Ghostbusters, did Creative Wealt
     ·9    any revenue?
     10    · ·A.
               ·
               · Creative
                 ·        Wealth Media Lending def
     11    did receive some
                          · Irevenue.
                              don't know exact amou
     12    because, as we talked about earlier, th
     13    that were pulled because of other
                                        · But legal
     14    yes, Creative Wealth has received money
     15    Ghostbusters.
                   · Creative Wealth Media.
     16    · ·Q.
               ·
               · I
                 · believe you said on Monkey Man,
     17    Wealth received everything that --
     18    · ·A.
               ·
               · Creative
                 ·        Wealth was paid in full
     19    interest and some premium on Monkey Man
     20    · ·Q.
               ·
               · How
                 ·   about on Fables?
     21    · ·A.
               ·
               · No.
                 · · Fables, per our conversation e
     22    had not gone to market for ·sales
                                       Still as
                                             in of
     23    the process of being completed when BRO
     24    sideways.
     25    · ·Q.
               ·
               · And
                 ·   Bubbles, Creative Wealth hasn


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     ·1    received anything yet?
     ·2    · ·A.
               ·
               · On
                 ·  Bubbles and Haley and the Hero
     ·3    those are the two projects with Epic St
     ·4    Both were underfunded by Creative Wealt
     ·5    the productions were
                             · That
                                 delayed.
                                    being COVID.                                                 I
     ·6    don't know.
                  · I don't believe there's been an
     ·7    recoupment left.
     ·8    · ·I·think the producers, Epic Story Me
     ·9    use their own capital to go to complete
     10    productions.
                  · I think they've done that or a
     11    that.
              · I'm not sure the status ·of
                                         I know
                                            recoupme
     12    the sales process is very active right
     13    · ·Q.
               ·
               · And
                 ·   Young Bear Grylls, Creative W
     14    hasn't received any?
     15    · ·A.
               ·
               · Young
                 ·     Bear Grylls was also a proj
     16    Creative Wealth was set to fund full, a
     17    underfunded and, therefore, the project
     18    production.
                  · Because it was under financing
     19    right now the first movie
                                   · The
                                      is completed.
                                         second
     20    movie is coming on being
                                · I'm
                                    completed.
                                      told Q1 of
     21    next year.
     22    · ·I·think there's new money coming in
     23    essentially take the position of -- CW
     24    underfunded, and I believe they worked
     25    or are working that through with Creati


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     ·1    step back and security
                             · I don't
                                   again.
                                       know how tha
     ·2    changes in lieu of their now notice of
     ·3    don't know how that
                           · Butworks.
                                 I do know that the
     ·4    were steps made to complete that show a
     ·5    properly into the world to sell it.
     ·6    · ·Q.
               ·
               · But
                 ·   just to be clear, again, I ap
     ·7    the background.
                    · I just want to make
                                     · Creative
                                           sure.
     ·8    Wealth hadn't received revenue from tha
     ·9    because it hasn't been delivered yet; c
     10    · ·A.
               ·
               · Right.
                 ·
     11    · ·Q.
               ·
               · Okay.
                 ·  · And it's the same answer for
     12    Pathway; correct?
     13    · ·A.
               ·
               · Pathway,
                 ·      · There
                          no.   hasn't been any re
     14    received on Pathway.
                       · The first season, the two
     15    specials that aired on TNT were suppose
     16    offer for them that we were waiting for
     17    unfortunately it got swallowed up in th
     18    Warner/Discovery transaction and
                                        · So never
     19    no.
             · There's been no revenue coming in on
     20    · ·Q.
               ·
               · And
                 ·   Gossamer, is that the same an
     21    · ·A.
               ·
               · Gossamer
                 ·        was unfortunately underf
     22    Creative Wealth, which definitely delay
     23    production.
                  · We switched
                             · Initially,
                                 it.      was suppos
     24    to be a TV series, which we switched it
     25    Because of the lack of capital, we had


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     ·1    couldn't produce the same·length
                                     But we of tim
     ·2    have, as I mentioned, delivered the two
     ·3    levels, and there was some other things
     ·4    built around the show.
     ·5    · ·But
               ·  no.
                  · CW has not received ·
                                        revenue
                                          I'm   ye
     ·6    not sure the amount of the
                                   · I underfunding
                                        think it
     ·7    was close to 4 million plus dollars.
     ·8    · · · ·
                 MR.
                   · BAZIAN:
                        · I have no further questio
     ·9    · ·this
               ·   time.
                    · And I do appreciate your time
     10    · ·thank
               ·    you very much.
     11    · · · ·
                 THE
                   · WITNESS:
                        · No worries.
                                 · Anything else on
     12    · ·the
               ·  other side?
     13    · · · ·
                 MS.
                   · LEEKER:
                        · I have three follow-up
     14    · ·questions.
               ·    · It will take five minutes.
     15    · · · ·
                 THE
                   · WITNESS:
                        · No problem.
     16    · · · · · REDIRECT
                     · · ·    EXAMINATION
     17    BY MS. LEEKER:
     18    · ·Q.
               ·
               · You
                 ·   said in 2021 the relationship
     19    yourself and Jason Cloth
                               · Why did
                                     soured.
                                         the
     20    relationship sour at this time?
     21    · ·A.
               ·
               · Well,
                 ·     we had been grossly underfu
     22    bunch of projects, and it was hellish,
     23    helping in any way, shape, or form, one
     24    · ·And
               ·  two, he was not properly keeping
     25    and two folks, Sandy, who represented h


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     ·1    We were getting just a ton of incoming
     ·2    investors, like Robert, who were lookin
     ·3    information.
                  · Just a lot of tension between
     ·4    parties at that point
                             · Maybe
                                 in time.
                                     because of th
     ·5    lack of money, B, because of the influx
     ·6    And then obviously what we were hearing
     ·7    calls was very different from ·
                                         what
                                           So we u
     ·8    there was a lot of challenges beginning
     ·9    Yes.
     10    · ·Q.
               ·
               · You
                 ·   said that what you were heari
     11    calls was different than your
                                      · Can
                                          understan
                                            you
     12    explain -- can you give an example of t
     13    · ·A.
               ·
               · I'll
                 ·    give one example, which is o
     14    something like a Ghostbusters.
                             · We were getting cal
     15    from investors, more than one, who were
     16    they had an investment in Ghostbusters,
     17    were not understanding how or why, beca
     18    understanding that Creative Wealth Medi
     19    funded that project in full.
     20    · ·So
               · getting calls from third parties,
     21    the one group that ended up with a majo
     22    ended up blocking those funds for us, t
     23    or from CW Comerica.
                       · That all happened and was
     24    surprise to us because, again, we had t
     25    LIUNA, only Creative Wealth Media Lendi


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     ·1    financiers, and apparently there was ot
     ·2    in that show, as an example.
     ·3    · ·Q.
               ·
               · Are
                 ·   you aware of any instances in
     ·4    Jason Cloth raised more money than the
     ·5    budgets called for, even though those p
     ·6    underfunded?
     ·7    · ·A.
               ·
               · Unfortunately,
                 ·              during the last ye
     ·8    had hired an outside firm not on this c
     ·9    an outside firm to help us with an inve
     10    because we had been contacted by a numb
     11    and some government groups, as well, le
     12    looking for information.
     13    · ·So
               · we hired an outside firm because
     14    getting so much -- so many questions co
     15    and we, essentially -- I think I mentio
     16    We started to direct those calls from -
     17    calls to counsel.
                     · It was just impossible for
     18    manage them at that
                           · There
                                point.
                                   was so many of
     19    them.
              · That's why I said that.
     20    · ·Yes.
               · · Did I answer
                             · What
                                you?was your questio
     21    I'm sorry.
                 · I lost my train of thought.
     22    · ·Q.
               ·
               · Well,
                 ·     I think that's the start of
     23    answer.
               · I asked if you're aware of any ins
     24    where that happened.
     25    · ·A.
               ·
               · Yes.
                 · · We've learned through that pr


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     ·1    receiving all that documentation direct
     ·2    counsel from the various clients from S
     ·3    Suraj and between the two of them, we s
     ·4    know, our counsel was privy to a lot of
     ·5    agreements they had entered into, and w
     ·6    that, yes, there were many projects tha
     ·7    overfunded.
     ·8    · ·Q.
               ·
               · You
                 ·   said many projects.
                               · So was
     ·9    Ghostbusters one of those projects?
     10    · ·A.
               ·
               · Ghostbusters
                 ·            was one of those pro
     11    yes.
     12    · ·Q.
               ·
               · And
                 ·   you said there were many proj
     13    were underfunded.
                     · But my question is, were yo
     14    of any projects that were underfunded w
     15    Cloth raised more money than the projec
     16    for?
     17    · ·A.
               ·
               · There
                 ·     were several projects that
     18    with clients showed that there was an o
     19    yet the amount of money that came to th
     20    was an underfunding, yes.
     21    · ·Q.
               ·
               · How
                 ·   many cases did you find where
     22    the case?
     23    · ·A.
               ·
               · I
                 · don't know exactly but several.
     24    · ·Q.
               ·
               · Any
                 ·   of the projects we are discus
     25    today?


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     ·1    · ·A.
               ·
               · Yes.
                 ·
     ·2    · ·Q.
               ·
               · Which
                 ·     ones in addition to Ghostbu
     ·3    · ·A.
               ·
               · Pathway,
                 ·        Young Bear Grylls, Hayle
     ·4    Hero Hearts, Bubbles
                           · I believe
                                Hotel. that's it.
     ·5    saw some reference to MGM, if I saw on
     ·6    as well.
                · Was Robert involved with MGM?
     ·7    · ·Q.
               ·
               · Yes.
                 ·
     ·8    · ·A.
               ·
               · That
                 ·    would be also in that catego
     ·9    because MGM, like with Ghostbusters, we
     10    was only funded by Creative Wealth Medi
     11    · ·Q.
               ·
               · Was
                 ·   Jason Cloth a managing partne
     12    Creative Corp.?
     13    · ·A.
               ·
               · Was
                 ·   he a BRON Creative
                                   · He was
                                         Corp.?
                                            a
     14    director.
                · I don't know if the term was man
     15    director, but he was a director of BRON
     16    Corp., yes.
     17    · ·Q.
               ·
               · What
                 ·    time period?
     18    · ·A.
               ·
               · Oh,
                 ·   boy.
                      · Started back when we did ou
     19    first of the bigger
                           · Probably
                                shows. like 2016, 20
     20    Something like that.
     21    · ·Q.
               ·
               · And
                 ·   when did he stop being a dire
     22    · ·A.
               ·
               · Resigned
                 ·        earlier this year.
     23    · ·Q.
               ·
               · Did
                 ·   Jason Cloth hold any other po
     24    any other BRON entities?
     25    · ·A.
               ·
               · He
                 ·  was a board member of parent c


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     ·1    BRON Creative.
                    · And important to note, that c
     ·2    that BRON Creative company was set up s
     ·3    for the financing group that deals with
     ·4    doing.
               · Again, where BRON handled the crea
     ·5    business side, and he handled the finan
     ·6    We had a very clear agreement in place
     ·7    company could be bound, meaning one of
     ·8    or Joel Guralnick, my chief legal offic
     ·9    time, or Stephen Thibault, our chief co
     10    officer at the time, one or the three o
     11    together had to sign any document that
     12    BRON Creative.
                    · Unfortunately, they have seen
     13    learned several BRON Creative documents
     14    the fact that we were not aware of that
     15    signed.
     16    · ·Q.
               ·
               · That
                 ·    had been signed by Jason Clo
     17    · ·A.
               ·
               · Correct.
                 ·
     18    · ·Q.
               ·
               · Were
                 ·    there any documents that fal
     19    this category related to projects that
     20    about today?
     21    · ·A.
               ·
               · Yes.
                 ·
     22    · ·Q.
               ·
               · Which
                 ·     projects?
     23    · ·A.
               ·
               · Ghostbusters
                 ·            would have been in t
     24    category.
                · And probably only MGM,
                                     · Theas
                                           other
                                             well.
     25    projects weren't -- I don't believe wer


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     ·1    through BRON Creative.
                        · The other projects were
     ·2    through Creative Wealth financing throu
     ·3    entity.
     ·4    · ·Q.
               ·
               · So
                 ·  you mentioned that there was a
     ·5    was a document that was signed on behal
     ·6    Cloth where you would have needed to si
     ·7    Jason Thibault.
                    · What kind of document?
     ·8    · ·A.
               ·
               · Well,
                 ·     either myself or Joel or St
     ·9    would have had to sign
                                · We've
                                   with just
                                        Jason.
                                             been
     10    privy to some documents during that dis
     11    process where BRON Creative had signed
     12    investors that we were unaware of.
     13    · ·Q.
               ·
               · Were
                 ·    any of these documents with
     14    Harris?
     15    · ·A.
               ·
               · I'm
                 ·   not ·
                         sure.
                           I don't . . .
     16    · ·Q.
               ·
               · Okay.
                 ·  · And then my last question is
     17    looked at a document earlier that Mr. B
     18    you.
             · It was a projected waterfall for th
     19    Pathway.
                · Do you remember that?
     20    · ·A.
               ·
               · Yes.
                 ·
     21    · ·Q.
               ·
               · Does
                 ·    a projected waterfall have a
     22    do with whether a series is green lit?
     23    · ·A.
               ·
               · No.
                 · · Totally different
                                    · The
                                        things.
     24    waterfall is showing who the various pa
     25    would be and order of how revenue would


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     ·1    come ·
                in.
                  Green light would have to be agre
     ·2    all the different parties that
                                      · But
                                          are with
     ·3    no.
             · The waterfall is separate from the g
     ·4    process.
     ·5    · · · ·
                 MS.
                   · LEEKER:
                        · Okay.
                             · Thank you.
                                     · I have no
     ·6    · ·further
               ·      questions.
     ·7    · · · ·
                 THE
                   · WITNESS:
                        · Okay.
                             · Anything else.
     ·8    · · · ·
                 MS.
                   · LEEKER:
                        · We can conclude the
     ·9    · ·deposition.
               ·
     10    · · · ·
                 Unless
                   ·    you have anything further,
     11    · · · ·
                 MR.
                   · BAZIAN:
                        · I have nothing further.
     12    · · · ·
                 MS.
                   · MCCORD:
                        · Read.
     13    · · · ·
                 (Thereupon,
                   ·         the following proceed
     14    · ·concluded
               ·        at 4:37 p.m.)
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25


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     ·1    ·    ·   ·   ·   ·   ·CERTIFICATE
                                  · · ·                    OF   OATH

     ·2

     ·3    THE      STATE       OF   FLORIDA          )

     ·4    COUNTY         OF    MIAMI-DADE            )

     ·5

     ·6

     ·7

     ·8

     ·9    ·    ·   · I,
                       · ·THERESA            RUST,        the    undersigned           a

     10    certify          that     AARON        GILBERT,           remotely         ap

     11    me    and      was    duly       sworn         on   the    5th     day     of

     12    2023.

     13    ·    ·   · Signed
                       · ·           this      5th     day      of   December         20

     14

     15

     16

     17 · ·         ·   ·   ·   ·____________________________
                                  · · ·
     · · ·· ·       ·   ·   ·   ·THERESA
                                  · · ·   RUST, RPR
     18 · ·         ·   ·   ·   ·Notary
                                  · · · Public - State of Flo
     · · ·· ·       ·   ·   ·   ·Commission
                                  · · ·      No. #GG145788
     19 · ·         ·   ·   ·   ·Expires:
                                  · · · October 25, 2025

     20

     21

     22

     23

     24

     25


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     ·1    ·    ·   ·    ·   · CERTIFICATE
                                · · ·                 OF      REPORTER

     ·2

     ·3    THE      STATE         OF   FLORIDA        )

     ·4    COUNTY         OF      MIAMI-DADE          )

     ·5

     ·6    ·    ·   ·    ·
                         I,· Theresa          Rust,       Florida         Professi

     ·7    Reporter,              certify       that      I   was     authorized

     ·8    stenographically                   report        the     remote        depo

     ·9    AARON         GILBERT,         pages       1   through         144,        tha

     10    the      transcript            was     requested,            and      that

     11    is    a   true         and   complete          record        of    my      ste

     12    notes.

     13    ·    ·   ·    ·
                         I ·
                           further            certify         that    I   am     not    a

     14    employee,              attorney,         or    counsel         of     any    o

     15    nor      am    I   a   relative          or    employee          of    any

     16    parties'           attorney          or    counsel         connected

     17    action,           nor   am     I   financially             interested

     18    action.

     19

     20    ·    ·   ·    ·
                         DATED
                           ·           this   5th     day     of     December          20

     21

     22

     23 · ·         ·    ·   ·    ·____________________________
                                    · · ·
     · · ·· ·       ·    ·   ·    ·Theresa
                                    · · ·  Rust, RPR
     24

     25


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     ·1    January         3,    2023

     ·2
     · · CAMERON
          ·      M. MCCORD, ESQUIRE
     ·3  cmccord@joneswalden.com

     ·4  AARON GILBERT
     · · IN
          · RE:
             · ROBERT SCOT V. CREATIVE                                WEALTH
     ·5  CASE NO.:
                · 23-CV-80282-ROSENBERG
     · · TYPE
          ·    OF PROCEEDING:
                       · DEPOSITION
     ·6  DATE: 12.5.23

     ·7  The transcript of the above proceeding
     · · available
          ·        and requires signature by the
     ·8
     · · Please
          ·     e-mail fl.production@lexitaslega
     ·9  access to a read-only PDF transcript an
     · · errata
          ·     sheet via computer or use the er
     10 that is located at the back of the tran

     11 Once completed, please print, sign, and
     · · e-mail
          ·     address listed below for distrib
     12 parties.

     13 If you are in need of assistance, pleas
     · · Lexitas
          ·      at 888-811-3408.
     14
     · · If
          · the witness does not read and sign t
     15 within a reasonable amount of time, the
     · · transcript
          ·         may be filed with the Clerk
     16
     · · If
          · the witness wishes to waive his/her
     17 please have the witness sign in the bla
     · · bottom
          ·     of this letter and return to the
     18 address listed below.

     19    Very      truly       yours,

     20
     · · Theresa
          ·      Rust, RPR
     21 Lexitas
     · · fl.production@lexitaslegal.com
          ·
     22
     · · I·do hereby waive my signature.
     23

     24 _______________________________
     · · AARON
          ·    GILBERT
     25
     · · Job
          ·  No. 336517


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     ·1 · · · · · · ·   ERRATA
                          · · · SHEET
     · · ··DO
            ·  NOT WRITE ON TRANSCRIPT - ENTER CHA
     ·2 · · · IN· RE:
                   · ROBERT SCOT V. CREATIVE WEALTH
     · · ·· · · ·CASE
                   · · NO. 23-CV-80282-ROSENBERG
     ·3 · · WITNESS:
              ·    · AARON GILBERT
                             · TAKEN:
                                   · 12/5/2023

     ·4
     · · PAGE
          · · ·
              LINE
                · · CHANGE
                    ·   · · · REASON
                               · ·   FOR CHANGE
     ·5 _______________________________________

     ·6    _______________________________________

     ·7    _______________________________________

     ·8    _______________________________________

     ·9    _______________________________________

     10    _______________________________________

     11    _______________________________________

     12    _______________________________________

     13    _______________________________________

     14    _______________________________________

     15    _______________________________________

     16    _______________________________________

     17    _______________________________________

     18    _______________________________________

     19    _______________________________________

     20    _______________________________________

     21 · · Under
             ·    penalties of perjury, I declar
     · · have
          ·   read the foregoing document and th
     22 stated in it are true.

     23 _______________
                     · ____________________________
                       ·
     · · ·· · Date
               · · · · AARON
                        · ·  GILBERT
     24
     · · Job
          ·    No. 336517
     25 Fl.production@lexitaslegal.com


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     ·1    ·    ·   · I,
                       · ·Aaron         Gilbert,           do    hereby        declar

     ·2    under         penalty       of     perjury         under       the     laws

     ·3    of    California            that       I   have      read      the     fore

     ·4    that      I    have       made     such      corrections             as    no

     ·5    ink,      initialed            by    me,     or    attached          heret

     ·6    testimony             as   contained           herein,         as    corre

     ·7    correct.

     ·8    ·    ·   · Executed
                       · ·              this       _____       day     of    _______

     ·9 at _______________, _________________.
     · · ·· · ·City
                · · · · · ·State
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